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                                EXHIBIT B (contd.)

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     Exhibit 1 –
 Transcript of August
  31, 2021 Hearing
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               Exhibit 2 –
              Declaration of
               Alex Jones
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                                   CAUSE NO. D-1-GN-18-001835

   NEIL HESLIN,                                      §          IN THE DISTRICT COURT OF
                                                     §
                      Plaintiff,                     §
                                                     §
   v.                                                §             TRAVIS COUNTY, TEXAS
                                                     §
   ALEX E. JONES, INFOWARS, LLC,                     §
   FREE SPEECH SYSTEMS, LLC; AND                     §
   OWEN SHROYER                                      §
                                                     §
                      Defendants,                    §              459th JUDICIAL DISTRICT


                               DECLARATION OF ALEX JONES

         I, Alex Jones, hereby declare as follows:

    1.   I am more than twenty-one (21) years of age, have never been convicted of a felony, and
         am capable of making this declaration on behalf of myself and as an authorized
         representative of the corporate Defendants, Free Speech Systems, LLC (“Free Speech
         Systems”) and Infowars, LLC (“Infowars”) (Alex Jones, Free Speech Systems, and
         Infowars are collectively referred to herein as “Defendants”). All factual matters stated
         herein are within my personal knowledge and are true and correct.

    2.   I am the sole member and manager of Free Speech Systems, and I am the sole member and
         manager of Infowars.

    3.   Throughout this litigation, Free Speech Systems, Infowars, and myself individually have
         strived to produce all documents which are responsive to Plaintiff, Neil Heslin’s, discovery
         requests, to the extent such documents exist and are in my possession, care, custody, and
         control or within the possession, care, custody, and control of Free Speech Systems and/or
         Infowars.

    4.   In March 2019, in response to Plaintiff’s discovery requests that were issued by Court order
         following Defendants’ filing of a motion to dismiss pursuant to the Texas Citizens
         Participation Act (“TCPA”), Defendants produced almost 80,000 pages worth of
         documents to Plaintiff, Scarlett Lewis, in Cause No. D-1-GN018-006623; Scarlett Lewis
         v. Alex Jones, et al; In the 459th Judicial District of Travis County, Texas.

    5.   In November, 2019, counsel for Defendants at the time, Michael Burnett, entered into a
         Rule 11 Agreement with Plaintiff in this case whereby the production in the Lewis matter
         was deemed to likewise be production in this case.

    6.   In addition, Defendants produced an additional set of documents of approximately 600
         pages which Defendants believed were also responsive to Plaintiff’s discovery requests.
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                                  CAUSE NO. D-1-GN-18-001835

   NEIL HESLIN,                                  §            IN THE DISTRICT COURT OF
                                                 §
                     Plaintiff,                  §
                                                 §
                                                 §
   v.                                            §               TRAVIS COUNTY, TEXAS
                                                 §
                                                 §
   ALEX E. JONES, INFOWARS, LLC,                 §
   FREE SPEECH SYSTEMS, LLC; AND                 §
   OWEN SHROYER                                  §
                                                 §
                     Defendants,                 §                459th JUDICIAL DISTRICT

    [PROPOSED] ORDER ON DEFENDANTS, FREE SPEECH SYSTEMS, LLC’S AND
  INFOWARS, LLC’S, MOTION FOR RECONSIDERATION OF COURT’S RULING OF
     DEFAULT JUDGMENT ON PLAINTIFF’S SECOND MOTION FOR CONTEMPT
           UNDER RULE 215 AND MOTION FOR DEFAULT JUDGMENT

        On this day, came to be heard Defendants, Free Speech Systems, LLC’s and Infowars,

 LLC’s, Motion for Reconsideration of the Court’s Order Granting a Liability-Default Judgment

 on Plaintiff’s Second Motion for Contempt Under Rule 215 and Motion for Default Judgment.

 The Court, having considered the Motion, Plaintiff’s response thereto, along with the arguments

 of counsel, finds that Defendants’ Motion should be GRANTED, and upon further consideration,

 Plaintiff’s request for default judgment as to Defendants, Free Speech Systems, LLC and Infowars,

 LLC, is hereby DENIED. It is therefore ORDERED that Plaintiff’s Second Motion for Contempt

 Under Rule 215 and Motion for Default Judgment are hereby DENIED in all respects except to

 the extent monetary sanctions were previously awarded to Plaintiff based on said motions.

 SIGNED ON THIS THE _______ DAY OF _______________, 2022.


                                                     ____________________________________
                                                     HONORABLE JUDGE MAYA GUERRA
                                                     GAMBLE
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 APPROVED AS TO FORM
 AND ENTRY REQUESTED:

 REEVES LAW, PLLC

 By:    /s/ Bradley J. Reeves______________
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 Austin, TX 78701
 brad@brtx.law
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 ATTORNEY FOR DEFENDANTS




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                                CAUSE NO. D-1-GN-18-001835                          D-1-GN-18-001835
                                                                                      Nancy Rodriguez
  NEIL HESLIN,                                §           IN THE DISTRICT COURT OF
                                              §
                   Plaintiff,                 §
                                              §
                                              §
  v.                                          §               TRAVIS COUNTY, TEXAS
                                              §
                                              §
  ALEX E. JONES, INFOWARS, LLC, FREE          §
  SPEECH SYSTEMS, LLC, AND OWEN               §
  SHROYER                                     §
                                              §               459th JUDICIAL DISTRICT
                  Defendants,                 §

                                CAUSE NO. D-1-GN-18-001842

  LEONARD POZNER AND                          §           IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA,                       §
                                              §
                   Plaintiff,                 §
                                              §
  v.                                          §               TRAVIS COUNTY, TEXAS
                                              §
  ALEX E. JONES, INFOWARS, LLC, AND           §
  FREE SPEECH SYSTEMS, LLC,                   §
                                              §
                  Defendants,                 §               459th JUDICIAL DISTRICT

                                CAUSE NO. D-1-GN-18-006623

  SCARLETT LEWIS,                             §           IN THE DISTRICT COURT OF
                                              §
                   Plaintiff,                 §
                                              §
  v.                                          §               TRAVIS COUNTY, TEXAS
                                              §
  ALEX E. JONES, INFOWARS, LLC, AND           §
  FREE SPEECH SYSTEMS, LLC,                   §
                                              §
                  Defendants,                 §               459th JUDICIAL DISTRICT

                      DEFENDANTS’ MOTION TO EXCLUDE
               PLAINTIFFS’ EXPERTS, FRED ZIPP AND BECCA LEWIS

        Defendants, Free Speech Systems, LLC; Infowars, LLC; Alex Jones; and Owen Shroyer,
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 move to exclude Plaintiffs designated experts, Fred Zipp and Becca Lewis, and would respectfully

 show unto the Court as follows:

                                          I.      BACKGROUND

         These defamation and intentional infliction of emotional distress cases arise out of

 statements allegedly made by Defendants, either individually or on their behalf or for which

 Defendants are otherwise vicariously liable, arising out of the Sandy Hook tragedy in Newtown,

 Connecticut. Throughout their petitions, Plaintiffs cite to numerous alleged defamatory video

 broadcasts and articles from Defendants that go as far back as January 2013, despite Plaintiffs not

 filing suit until April, 2018 at the earliest.

         To attempt to bolster their claims, Plaintiffs have designated two (2) liability experts to

 support their contentions: (1) Fred Zipp of the University of Texas School of Journalism; and (2)

 Becca Lewis of the Stanford University Department of Communication. See Exs. 1, 2, and 3,

 Plaintiffs’ Second Supplemental Designation of Experts.

         In their expert designations, Plaintiffs have disclosed that Mr. Zipp will testify about:

                 the standards of care in news reporting, and he will opine on how
                 those standards were recklessly disregarded in this case. [He] will
                 oping that Defendants ignored elementary precautions in
                 journalism. [He] will also opine that Defendants entertained serious
                 doubts about the accuracy of their statements. [He] will analyze the
                 facts and circumstances of the publications which show that
                 Defendants were motivated by a desire to avoid the truth and to
                 inflict harm on Plaintiff.

 Id. at 3.

         Plaintiffs have further disclosed that Ms. Lewis is an “academic researcher in the field of

 media technologies and online discourse, with a focus on media manipulation and disinformation.”

 Id. at 6. Plaintiffs’ designation discloses that they anticipate Ms. Lewis will testify in that she:




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                will offer her expertise on digital political subcultures, internet
                celebrity, and online news platforms. [She] will testify about
                InfoWars’ cultural footprint and role in the online media ecosystem.
                [She] will opine that Defendants’ actions were a substantial factor
                in the spread of false facts about the Sandy Hook shooting.

 Id. at 6.

         As the Court is well aware, while Defendants continue to contend the incorrect decision

 was made, the Court has entered default judgments against Defendants as to liability due to alleged

 discovery misconduct. Consequently, neither of these liability-based experts designated by

 Plaintiffs are necessary or otherwise should be allowed to testify, since the Court has determined

 that liability has been established. Moreover, Ms. Lewis’s proposed testimony is completely

 unnecessary and not germane to any aspect of Plaintiffs’ underlying claims. Plaintiffs have sued

 for defamation and intentional infliction of emotional distress claiming that Defendants made false

 statements about them and otherwise intentionally caused them emotional harm with these

 statements. The concept of a “cultural footprint” and opinion testimony that Defendants’ actions

 “were a substantial factor” in the spread of allegedly false facts about Sandy Hook has nothing to

 do with whether the statements were defamatory nor whether they were intentionally made to

 cause Plaintiffs’ emotional harm or distress. Instead, Ms. Lewis’s proposed testimony is nothing

 more than an attempt by Plaintiffs to further prejudice the Court and the jury to inflate their

 damages claims, despite Ms. Lewis having no ability or expertise to enable her to testify as to any

 aspect of Plaintiffs’ damages.

         For the reasons set forth herein, if the Court does not reconsider its prior default-judgment

 rulings as to Defendants to allow these cases to proceed to trial on their full merits to a jury,

 Defendants request the Court grant this motion and exclude Fred Zipp and Becca Lewis from

 testifying as expert witnesses for Plaintiffs.



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                                II.     ARGUMENTS AND AUTHORITIES

        Whether an expert is qualified is, under Rule 104(a), a preliminary question to be decided

 by the trial court. Gammill v. Jack Williams Chevrolet, Inc., 972 S.W.2d 713, 718 (Tex. 1998). If

 a motion to exclude expert testimony is filed, the party offering the expert testimony bears the

 burden of showing the testimony is admissible. E.I. du Pont de Nemours & Co. v. Robinson, 923

 S.W.2d 549, 557 (Tex. 1995). “The offering party must demonstrate that the witness possess[es]

 special knowledge as to the very matter on which he proposes to give an opinion.” Gammill, 927

 S.W.2d at 718.

         Rule 702 of the Texas Rules of Evidence governs the admission of expert testimony and

 provides:


                  If scientific, technical, or other specialized knowledge will assist the
                  trier of fact to understand the evidence or to determine a fact in issue,
                  a witness qualified as an expert by knowledge, skill, experience,
                  training, or education, may testify thereto in the form of an opinion
                  or otherwise.

 TEX. R. EVID. 702; see also Robinson, 923 S.W.2d at 554. Stated differently, “Rule 702 contains

 three requirements for the admission of expert testimony: (1) the witness must be qualified; (2) the

 proposed testimony must be ‘scientific . . . knowledge’ and (3) the testimony must ‘assist the trier

 of fact to understand the evidence or to determine a fact in issue.’” Robinson, 923 S.W.2d at 556.

 In Robinson, the seminal Texas Supreme Court case pertaining to expert witness testimony, the

 Texas Supreme Court held that “in addition to showing an expert is qualified, Rule 702 requires

 the proponent to show that the expert’s testimony is relevant to the issues in the case and is based

 upon a reliable foundation.” Id. Moreover, even if these experts’ opinions are generally admissible,

 they should be excluded because the probative value of any such opinions if far outweighed by its

 unfair prejudice and is otherwise a needless presentation of cumulative evidence. See TEX. R. EVID.


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 403. Whether expert testimony is required and should be presented to a jury is a question of law

 for the Court. FFE Transp. Servs., Inc. v. Fulgham, 154 S.W.3d 84, 90 (Tex. 2004).

        In this case, Mr. Zipp and Ms. Lewis should be excluded from testifying because given the

 default judgments on liability: (1) their opinions and testimony are not relevant; (2) the subjects

 upon which Mr. Zipp and Ms. Lewis intend to provide testimony are by and large not topics that

 require expert testimony because they can easily be comprehended by a layperson, rendering their

 testimony entirely unnecessary; and (3) their opinions are further unnecessary because they are

 simply intended to bolster the already-determined liability of Defendants and would serve to do

 nothing more than further prejudice the jury against Defendants or to otherwise present prejudicial

 cumulative evidence of Defendants’ liability which is wholly unnecessary given the Court’s

 default-judgment rulings. As such, Defendants request the Court grant this motion and exclude

 Mr. Zipp and Ms. Lewis as experts in these cases.

 A.     Mr. Zipp’s and Ms. Lewis’s testimony should be excluded because their testimony is
        not relevant.

        The Court should also exclude Mr. Zipp and Ms. Lewis as expert witnesses because their

 opinions are not relevant to the remaining issues to be decided at trial. An expert’s testimony is

 relevant if it assists the fact finder in determining an issue or in understanding the evidence. TEX.

 R. EVID. 702.

        Here, Mr. Zipp’s proposed testimony as to the standards of care in news reporting, whether

 those standards were “recklessly disregarded” by Defendants, whether Defendants “ignored

 elementary precautions in journalism,” and whether “Defendants entertained serious doubts about

 the accuracy of their statements” have no relevance to these proceedings given the liability default

 judgments. See Exs. 1, 2, and 3 at p. 3. There is no relevance or need for Mr. Zipp to testify about




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 applicable standards of care, whether those standards were disregarded, or otherwise because the

 Court has deemed those in favor of Plaintiffs as part of the Court’s liability default judgments.

        By the same token, Ms. Lewis’s testimony should be excluded because her designated

 opinions have no relevance to the underlying claims in this lawsuit. For example, her expertise on

 digital political subcultures, internet celebrity, and online news platforms, testimony about

 InfoWars’ cultural footprint and role in the online media ecosystem, and unreliable opinion

 testimony that Defendants’ actions were a substantial factor in the spread of false facts about the

 Sandy Hook shooting have nothing to do with whether statements made were defamatory or were

 otherwise intentionally made to inflict emotional distress. These opinions lack any reliable

 foundation and otherwise do nothing to assist the trier of fact. Rather, Ms. Lewis’s opinions are

 largely prejudicial and are simply because she says so, without any true evidentiary support. But

 an “expert’s simple ipse dixit is insufficient to establish a matter; rather, the expert must explain

 the basis of his statement to link his conclusions to the facts.” Earle v. Ratliff, 998 S.W.2d 882,

 890 (Tex. 1999) (citing Gammill, 972 S.W.2d at 726–27).

        Mr. Zipp’s and Ms. Lewis’s purported expert opinions are nothing but speculation and

 conjecture, and “[o]pinions which are purely speculative or conjectural in their nature should be

 excluded.” Earle, 998 S.W.3d at 890 (citing UMC, Inc. v. Coonrod Elec. Co., 667 S.W.2d 549,

 559 (Tex. App.—Corpus Christi 1983, writ ref’d n.r.e.)); see also Naegeli Transp. v. Gulf

 Electroquip, Inc., 853 S.W.2d 737, 741 (Tex. App.—Houston [14th Dist.] 1993, no writ) (citing

 Ochs v. Martines, 789 S.W.2d 949, 958 (Tex. App.—San Antonio 1990, writ denied) (“Expert

 testimony cannot be based upon mere guess or speculation, but must have a proper factual basis.”).

        Because these experts; opinions lack any sort of reliable foundation, are otherwise purely

 speculative, and have no relevance to the remaining issues in this case, Mr. Zipp’s and Ms. Lewis’s



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 opinions are not relevant evidence and should be excluded by the Court. Defendants’ motion

 should be granted.



 B.     Mr. Zipp and Ms. Lewis should be excluded as an expert because the subject matter
        of his testimony is of such a nature to be within the experience or capability of an
        ordinary layperson and is thus unnecessary in this case.

        Mr. Zipp’s and Ms. Lewis’s testimony should be excluded because their testimony will not

 assist the trier-of-fact in determining alleged damages if the liability default judgments are left in

 place. Simply because “a witness has knowledge, skill, expertise, or training does not necessarily

 mean that the witness can assist the trier-of-fact.” In re Commitment of Bohannan, 388 S.W.3d at

 304. Expert testimony “assist[s] the trier-of-fact when the expert’s knowledge and experience on

 a relevant issue are beyond that of the average juror and the testimony helps the trier-of-fact

 understand the evidence or determine a fact issue.” Id. “Where, as here, the issue involves only

 general knowledge and experience rather than expertise, it is within the province of the jury to

 decide.” GTE Sw., Inc., v. Bruce, 998 S.W.2d 605, 620 (Tex. 1999); see also Kmart Corp. v.

 Honeycutt, 24 S.W.3d 375, 360 (Tex. 2000) (“When the jury is equally competent to form an

 opinion about the ultimate fact issue or the expert’s testimony is within the common knowledge

 of the jury, the trial court should exclude the expert’s testimony.”); see also Coastal Chem., Inc.

 v. Brown, 35 S.W.3d 90, 98 (Tex. App.—Houston [14th Dist.] 2001, pet. denied) (“It is error,

 however, to admit expert testimony on an issue if no specialized or technical knowledge is

 necessary.”).

        Much of the subject matter of Mr. Zipp’s and Ms. Lewis’s opinions and testimony—

 ultimately whether something was defamatory or intentionally done to inflict emotional distress

 and whether those statements were spread in some way—does not require an expert. An ordinary



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 layperson can easily and competently understand the facts of this case and determine whether any

 such statements were defamatory or intentionally made to inflict emotional distress and whether

 they were done so with the requisite degree of culpability to establish something like an entitlement

 to punitive damages. The ordinary laypeople of the jury will undoubtedly be able to make their

 own analysis of the facts as presented to them at trial and make the requisite determinations of

 those claims. Mr. Zipp’s and Ms. Lewis’ opinions and testimony are merely an attempt by Plaintiff

 to confuse the jury by offering unnecessary “expert” testimony regarding these alleged defamatory

 statements by Defendants about Plaintiffs, when those issues have already been determined by the

 Court’s liability default judgments.

        Any layperson of ordinary intelligence can see, hear, and analyze the facts and evidence in

 this case to understand and determine whether and to what degree of culpability Defendants should

 face for these alleged statements in the context of determining any damages award. Mr. Zipp’s and

 Ms. Lewis’s opinions and testimony do not in any way assist the trier-of-fact with understanding

 the evidence in this case or in determining any fact issues. As such, Mr. Zipp and Ms. Lewis should

 be excluded as experts.

 C.     Mr. Zipp and Ms. Lewis should be excluded as experts because the probative value
        of their testimony, if any, is clearly outweighed by the danger of unfair prejudice and
        needlessly presenting cumulative evidence to the jury.

        Given the liability default judgments in this case, it is clear that even the testimony of Mr.

 Zipp and Ms. Lewis is otherwise admissible, they should be excluded as experts because their

 designated areas of testimony has little probative value, and to the extent there is any probative

 value, that is “substantially outweighed by a danger of one or more of the following: unfair

 prejudice . . . or needlessly presenting cumulative evidence.” TEX. R. EVID. 403. Factors in

 considering whether evidence’s probative value is outweighed by a risk of unfair prejudice



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 “include the probative value of the evidence, the potential of the evidence to impress the jury in

 some irrational way, the time needed to develop the evidence, and the proponent’s need for the

 evidence.” See In re Commitment of Stuteville, 463 S.W.3d 543, 555 (Tex. App.—Houston [1st

 Dist.] 2015, pet. denied) (quoting In re Commitment of Anderson, 392 S.W.3d 878, 882 (Tex.

 App.—Beaumont 2013, pet. denied)).

        Because the Court has granted default judgments on liability, it is clear that any testimony

 or opinions by these supposed experts would do nothing but to further inflame the jury, confuse

 them with irrelevant issues, or would otherwise simply be unnecessary cumulative evidence that

 has the sole purpose of prejudicing the jury as much as possible, since these opinions are wholly

 unnecessary to assist in any finding of liability. Consequently, the Court should exclude Mr. Zipp

 and Ms. Lewis as experts in these matters.

                                              PRAYER

        WHEREFORE, Defendants, Free Speech Systems, LLC; Owen Shroyer; Alex Jones; and

 Infowars, LLC; respectfully request that the Court grant this motion and exclude Fred Zipp and

 Becca Lewis as expert witnesses at the time of trial of this case, and for such other and further

 relief to which Defendants may be justly entitled.



 Dated: January 3, 2022.


                                              Respectfully submitted,

                                              By:    /s/ Bradley J. Reeves
                                              Bradley J. Reeves
                                              Texas Bar No. 24068266
                                              brad@brtx.law
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                                              Telephone: (512) 827-2246
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                                              ATTORNEY FOR DEFENDANTS



                              CERTIFICATE OF CONFERENCE

        The undersigned counsel for Defendants has previously conferred with counsel for Plaintiff
 regarding this Motion, and counsel for Plaintiff has indicated Plaintiff is opposed to this Motion.

                                              /s/ Bradley J. Reeves
                                              Bradley J. Reeves



                                    CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served by the method
 indicated below upon all counsel of record and interested parties in accordance with the Texas
 Rules of Civil Procedure on January 3, 2022.

 Mark Bankston                                via electronic service
 William Ogden
 FARRAR & BALL, LLP
 1117 Herkimer Street
 Houston, TX 77008

                                                 /s/ Bradley J. Reeves
                                              Bradley J. Reeves




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                                                                                                Velva L. Price
                                                                                                District Clerk
                                                                                               Travis County
                                                                                            D-1-GN-18-001835
                                    D-1-GN-18-006623                                          Nancy Rodriguez

  SCARLETT LEWIS                                   §                 IN DISTRICT COURT OF
    Plaintiff                                      §
                                                   §
  VS.                                              §               TRAVIS COUNTY, TEXAS
                                                   §
  ALEX E. JONES, INFOWARS, LLC,                    §
  AND FREE SPEECH SYSTEMS, LLC,                    §                    98th DISTRICT COURT
    Defendants                                     §



        PLAINTIFF’S SECOND SUPPLEMENTAL DESIGNATION OF EXPERTS


 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Scarlett Lewis, Plaintiff, and files this his Second Supplemental

 Designation of Expert Witnesses and in supplementation of all prior discovery requests requesting

 identification of fact and expert witnesses, as follows:

                                                  I.

        Plaintiff’s Non-Retained Medical Experts

        Ira Israel
        Psychotherapist
        And Custodians of Medical and Billing Records
        12304 Santa Monica Blvd., Ste. 219
        Los Angeles, California 90025
        (310) 430-5150

        David Grand, Ph.D.
        And Custodians of Medical and Billing Records
        2415 Jerusalem Ave.
        New York, New York 11710

        Laurie Patton, M.A.
        And Custodians of Medical and Billing Records
        1919 South 40th Street, Ste. 312
        Lincoln, Nebraska 68502
        (402) 475-5069

        Michael Crouch, LCSW
        And Custodians of Medical and Billing Records
                                                  -1-
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        999 Summer Street
        Stamford, Connecticut 06905
        (203) 961-1152

        All medical care providers listed above may testify regarding matters contained in their
        records and depositions. Their observations, diagnosis, opinions, prognosis, facts, physical
        and clinical examinations, and tests done, reviewed or relied upon are incorporated herein
        by reference. This includes opinions regarding Plaintiff’s pain, mental anguish, medical
        care, medical expenses, limitations, physical impairment, or any other medical issue in this
        case. The Custodians of Records will authenticate the records.

        Plaintiff is unaware of the general substance of these experts’ mental impressions and
        opinions, as they are treating physicians and custodians of records. However, presumably
        the general substance of these experts’ impressions and opinions would be as contained in
        their respective records.


        Plaintiff’s Retained Experts

        Fred Zipp
        University of Texas School of Journalism
        300 W Dean Keeton St
        Austin, TX 78712
        (512) 471-1845

        Mr. Zipp is a former newspaper editor and journalism professor. He will offer his expertise
        concerning the standards of care in news reporting, and he will opine on how those
        standards were recklessly disregarded in this case. Mr. Zipp will opine that Defendants
        ignored elementary precautions in journalism. Mr. Zipp will also opine that Defendants
        entertained serious doubts about the accuracy of their statements. Mr. Zipp will analyze the
        facts and circumstances of the publications which show that Defendants were motivated
        by a desire to avoid the truth and to inflict harm on Plaintiff. Materials reviewed by Mr.
        Zipp are being produced as SANDY HOOK-000001-000642. Mr. Zipp has also reviewed
        the March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition of Alex
        Jones, the November 26, 2019 deposition of Free Speech Systems, and the November 27,
        2019 deposition of Paul Watson. Mr. Zipp has also reviewed the YouTube video clips
        described in his affidavits submitted in response to Defendants’ TCPA Motions. Mr. Zipp
        has also reviewed the videos produced as SH VIDEO 13, consisting of Megyn Kelly’s
        profile of Alex Jones, and SH VIDEO 14, consisting of Anderson Cooper’s Interview with
        Veronique De La Rosa. Mr. Zipp has also reviewed Plaintiff’s petition. Mr. Zipp has also
        reviewed Plaintiff’s discovery requests and Defendants’ responses. Mr. Zipp’s curriculum
        vitae is attached hereto as Exhibit “1.”

        In addition to the materials described above, Mr. Zipp has viewed the following videos or
        portions thereof:




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      Title                                          Date                Produced as

  1   Connecticut School Massacre Looks Like         December 14, 2012   SH VIDEO 1
      False Flag Says Witnesses

  2   Creepy Illuminati Message in Batman            December 17, 2012   F2mRuEhmoGA
      Movie Hints at Sandy Hook School

  3   Sandy Hook 2nd Shooter Cover-Up                December 19, 2012   6W6b-voc-Ds

  4   Sandy Hook Father Remembers Fallen             December 19, 2012   8cZkHDHl6nQ
      Hero

  5   Lower Part of Gotham Renamed "Sandy            December 21, 2012   Fus1FpQiU-Q
      Hook" in Dark Knight Film

  6   Callers React to Foreign Media Pushing         January 4, 2013     SH VIDEO 2
      Total Gun Confiscation

  8   Prof. Claims Sandy Hook Massacre MSM January 10, 2013              D8GxrKJDSL8
      Misinformation

  9   Sandy Hook AR-15 Hoax? Still No                January 15, 2013    Oo74myC3bqY
      School Surveillance Footage

  10 Clearing Up Some Disinfo on Sandy               January 18, 2013    SH VIDEO 3
     Hook Massacre with James Tracy

  11 Why People Think Sandy Hook is a Hoax           January 27, 2013    tM5ZdO-IgEE

  12 Dr. Steve Pieczenik: Sandy Hook was A           March 27, 2013      5EfyD7Wu5fQ
     Total False Flag!

  13 Crisis Actors Used at Sandy Hook!               April 1, 2013       shQSVhS0hLw
     Special Report

  14 Obama Gun Grab Psyop                            April 9, 2013       SH VIDEO 4

  15 Shadow Govt Strike Again                        April 16, 2013      SH VIDEO 5

  16 Sandy Hook Police Ordered to Stand              November 23, 2013   xP9fhKUaudo
     Down?

  17 Sandy Hook Investigator Stonewalled and February 20, 2014           oGpWtqdiSCY
     Threatened



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  18 Sandy Hook, False Narratives Vs. The          March 14, 2014       esIvAO2aIlw
     Reality

  19 Revealed: Sandy Hook Truth Exposed            May 9, 2014          _rSLOYCHNdw

  20 Sandy Hook "Officials" Caught In              May 13, 2014         MH6hmI1h-iQ
     Coverup And Running Scared

  21 Bombshell: Sandy Hook Massacre Was A May 13, 2014                  x2a1FwYEZS4
     DHS Illusion Says School Safety Expert

  22 Sandy Hook Deaths Missing From FBI            September 25, 2014   A2Z0zUZBn7k
     Report

  23 Sandy Hook Film Censorship Efforts            December 12, 2014    4T8_WYzH5SM
     Backfire

  24 The Ultimate Sandy Hook Debate As The         December 12, 2014    6aK0P-WxjU8
     2nd Anniversary Looms

  25 Will Bushmaster Lawsuit Reveal Sandy          December 16, 2014    BFyDqDLAcLQ
     Hook Hoax?

  26 Lawsuit Could Reveal Truth About Sandy December 27, 2014           kK8CnIBA928
     Hook Massacre

  27 America the False Democracy                   December 28, 2014    SH VIDEO 6

  28 Why We Accept Govt Lies                       January 13, 2015     SH VIDEO 7

  29 Title Unknown – Video discussing              February 12, 2015    SH VIDEO 8
     HONR Network

  30 New Bombshell Sandy Hook Information          March 4, 2015        _7ib5WkULBY
     In-Bound

  31 New Sandy Hook Questions Arise from           May 29, 2015         5cll79t7Mrw
     FOIA Hearing

  32 Sandy Hook: The Lies Keep Growing             May 29, 2015         Ml3KVj2nVRA

  33 School Administrator Exposes Sandy            May 29, 2015         SO8Xb-t4nT4
     Hook Stonewall

  34 Official Claims DHS Involved in Sandy         June 4, 2015         BWsbyH2Wa0E
     Hook


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  35 Govt is Manufacturing Crises                   July 7, 2015               SH VIDEO 9

  36 Retired FBI Agent Investigates Sandy           July 7, 2015               jCOe3qIgyFA
     Hook: MEGA MASSIVE COVER UP

  37 The Fight for Freedom of Information in        July 8, 2015               l0miXJ-djeA
     Sandy Hook

  38 Alex Jones Final Statement on Sandy            November 18, 2016          MwudDfz1yAk
     Hook

  39 Hunt for Wikileaks Source Begins               March 8, 2017              SH VIDEO 10

  40 Sandy Hook Vampires Exposed                    April 22, 2017             rUn1jKhWTXI

  41 Media Refuses To Report Alex Jones’            June 13, 2017              kf2F7RxJ9e4
     Real Statements On Sandy Hook

  42 Zero Hedge Discovers Anomaly In Alex           June 26, 2017              SH VIDEO 11
     Jones Hit Piece

  43 JFK Assassination Documents To DROP            October 26, 2017           SH VIDEO 12
     Tonight

  44 Watch as Megyn Kelly Opens Old                 April 20, 2018             uQkAJykqyeo
     Wounds Of Sandy Hook Victims



        Becca Lewis
        Stanford University, Department of Communication
        Building 120, Room 110
        450 Jane Stanford Way
        Stanford, CA 94305
        (650) 723-1941

        Ms. Lewis is an academic researcher in the field of media technologies and online
        discourse, with a focus on media manipulation and disinformation. Ms. Lewis will offer
        her expertise on digital political subcultures, internet celebrity, and online news platforms.
        Ms. Lewis will testify about InfoWars’ cultural footprint and role in the online media
        ecosystem. Ms. Lewis will opine that Defendants’ actions were a substantial factor in the
        spread of false facts about the Sandy Hook shooting. Materials reviewed by Ms. Lewis are
        being produced as SANDY HOOK-000643-002142. Ms. Lewis has also reviewed the
        March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition of Alex Jones,
        and the November 27, 2019 deposition of Paul Watson. Ms. Lewis has also reviewed the
        June 26, 2017 video entitled “Zero Hedge Discovers Anomaly In Alex Jones Hit Piece”
        and the April 22, 2017 video entitled “Sandy Hook Vampires Exposed.” Ms. Lewis has
        also reviewed FSSTX-082669-082812; FSSTX-085731-FSSTX-086492; FSSTX-086569-
                                                  -5-
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        FSSTX-086583; FSSTX-086588-FSSTX-086589. Ms. Lewis has also reviewed Plaintiff’s
        petition. Ms. Lewis has also reviewed Plaintiff’s discovery requests and Defendants’
        responses. Ms. Lewis’ curriculum vitae is attached as Exhibit “2.”


        Dr. Roy Lubit
        165 West End Ave #3k
        New York, NY 10023
        (917) 846-7829

        Dr. Lubit is a forensic psychiatrist with expertise in the impact of stress and emotional
        trauma. Dr. Lubit will testify about Plaintiffs’ mental injury and the psychological stresses
        involved from Defendants’ false statements and denial of Plaintiffs’ trauma. Dr. Lubit will
        opine that Defendants’ actions were a substantial factor in Plaintiffs’ severe mental anguish
        and continuing grief. Dr. Lubit will testify about his evaluation of Plaintiff. Dr. Lubit will
        also review any medical records produced in this suit. Dr. Lubit’s curriculum vitae is
        attached as Exhibit “3.”


                                                 II.

        Plaintiff reserves the right to supplement this designation with additional designations of

 experts within the time limits imposed by the Court or any alterations of same by subsequent Court

 Order or agreement of the parties, or pursuant to the Texas Rules of Civil Procedure and/or the

 Texas Rules of Civil Evidence.

                                                 III.

        Plaintiff reserves the right to elicit, by way of cross-examination, opinion testimony from

 experts designated and called by other parties to the suit. Plaintiff expresses his intention to

 possibly call, as witnesses associated with adverse parties, any of Defendants' experts.

                                                 IV.


        Plaintiff reserves the right to call undesignated rebuttal expert witnesses whose testimony

 cannot reasonably be foreseen until the presentation of the evidence against Plaintiff.

                                                 V.




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         Plaintiff reserves the right to withdraw the designation of any expert and to aver positively

 that any such previously designated expert will not be called as a witness at trial, and to re-

 designate same as a consulting expert, who cannot be called by opposing counsel.

                                                   VI.

         Plaintiff reserves the right to elicit any expert opinion or lay opinion testimony at the time

 of trial which would be truthful, which would be of benefit to the jury to determine material issues

 of fact, and which would not be violative of any existing Court Order or the Texas Rules of Civil

 Procedure.

                                                   VII.

         Plaintiff hereby designates, as adverse parties, potentially adverse parties, and/or as

 witnesses associated with adverse parties, all parties to this suit and all experts designated by any

 party to this suit, even if the designating party is not a party to the suit at the time of trial. In the

 event a present or future party designates an expert but then is dismissed for any reason from the

 suit or fails to call any designated expert, Plaintiff reserves the right to designate and/or call any

 such party or any such experts previously designated by any party.


                                                  VIII.

         Plaintiff reserves whatever additional rights they might have with regard to experts,

 pursuant to the Texas Rules of Civil Procedure, the Texas Rules of Civil Evidence, the case law

 construing same, and the rulings of the trial court.



                                                 Respectfully submitted,

                                                 KASTER LYNCH FARRAR & BALL, LLP


                                                 ____________________________________
                                                 MARK D. BANKSTON
                                                   -7-
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                                            State Bar No. 24071066
                                            WILLIAM R. OGDEN
                                            State Bar No. 24073531
                                            1117 Herkimer
                                            Houston, Texas 77008
                                            (713) 221-8300 Telephone
                                            (713) 221-8301 Fax

                                            ATTORNEY FOR PLAINTIFF




                                CERTIFICATE OF SERVICE

        I hereby certify that on 2nd day of December, the forgoing document was served upon all
 counsel of record via electronic service.

        Bradley J. Reeves
        Reeves Law, PLLC
        702 Rio Grande St., Suite 203
        Austin, Texas 78701
        Email: brad@brtx.law




                                            ____________________________________
                                            MARK D. BANKSTON




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                                   D-1-GN-18-001842
  LEONARD POZNER AND                              §                    IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                            §
    Plaintiffs                                    §
                                                  §                  TRAVIS COUNTY, TEXAS
  VS.                                             §
                                                  §
  ALEX E. JONES, INFOWARS, LLC,                   §                     345th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,                   §
    Defendants                                    §


        PLAINTIFFS’ SECOND SUPPLEMENTAL DESIGNATION OF EXPERTS


 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Leonard Pozner and Veronique De La Rosa, Plaintiffs and files this his

 Second Supplemental Designation of Expert Witnesses and in supplementation of all prior

 discovery requests requesting identification of fact and expert witnesses, as follows:

                                                  I.

        Plaintiff’s Non-Retained Medical Experts

        Caron Renaissance
        And Custodians of Medical and Billing Records
        7789 NW Beacon Square Boulevard
        Boca Raton, Florida 33487
        (561) 241-7977
        Medical Provider for Veronique De La Rosa

        CVS Pharmacy
        And Custodian of Billing Records
        Pharmacy Privacy Office
        One CVS Drive, Mail Code B120
        Woonsocket, RI 02895
        Pharmacy Provider for Veronique De La Rosa

        Newton Youth & Family Services
        And Custodians of Medical and Billing Records
        15 Berkshire Road
        Sandy Hook, CT 06482
        (203) 270-4335

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        Medical Provider for Leonard Pozner

        Michelle L. Rivera-Clonch, PhD., LMHC, NCC
        And Custodians of Medical and Billing
        6900 Tavistock Lakes Boulevard, Ste. 400
        Orlando, Florida 32827
        Medical Provider for Veronique De La Rosa

        Dean John Rotondo, MD, PA
        And Custodians of Medical and Billing Records
        399 Camino Gardens Boulevard, Ste. 200
        Boca Raton, Florida 33432
        Medical Provider for Veronique De La Rosa

        Leslie Rouder, LCSW
        And Custodians of Medical and Billing Records
        21643 Cypress Road
        Boca Raton, Florida 33433
        (561) 706-1274
        Medical Provider for Veronique De La Rosa

        Silver Lining Psychiatry
        And Custodians of Medical and Billing Records
        3724 Winter Garden Vineland Road
        Winter Garden, Florida 34787
        Medical Provider for Veronique De La Rosa

        Linda Tepper, LCSW
        And Custodians of Medical and Billing Records
        7777 Glades Road, Suite 205
        Boca Raton, Florida 33434
        (561) 288-3876
        Medical Provider for Leonard Pozner

        Iliana Torres, MS, LMHC
        Agape Therapy Institute
        And Custodians of Medical and Billing Records
        37 N. Orange Ave., Suite 1100
        Orlando, Florida 32801
        (407) 900-8633
        Medical Provider for Leonard Pozner

        All medical care providers listed above may testify regarding matters contained in their
        records and depositions. Their observations, diagnosis, opinions, prognosis, facts, physical
        and clinical examinations, and tests done, reviewed or relied upon are incorporated herein
        by reference. This includes opinions regarding Plaintiff’s pain, mental anguish, medical
        care, medical expenses, limitations, physical impairment, or any other medical issue in this
        case. The Custodians of Records will authenticate the records.


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        Plaintiff is unaware of the general substance of these experts’ mental impressions and
        opinions, as they are treating physicians and custodians of records. However, presumably
        the general substance of these experts’ impressions and opinions would be as contained in
        their respective records.


        Plaintiff’s Retained Experts

        Fred Zipp
        University of Texas School of Journalism
        300 W Dean Keeton St
        Austin, TX 78712
        (512) 471-1845

        Mr. Zipp is a former newspaper editor and journalism professor. He will offer his expertise
        concerning the standards of care in news reporting, and he will opine on how those
        standards were recklessly disregarded in this case. Mr. Zipp will opine that Defendants
        ignored elementary precautions in journalism. Mr. Zipp will also opine that Defendants
        entertained serious doubts about the accuracy of their statements. Mr. Zipp will analyze the
        facts and circumstances of the publications which show that Defendants were motivated
        by a desire to avoid the truth and to inflict harm on Plaintiff. Materials reviewed by Mr.
        Zipp are being produced as SANDY HOOK-000001-000642. Mr. Zipp has also reviewed
        the March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition of Alex
        Jones, the November 26, 2019 deposition of Free Speech Systems, and the November 27,
        2019 deposition of Paul Watson. Mr. Zipp has also reviewed the YouTube video clips
        described in his affidavits submitted in response to Defendants’ TCPA Motions. Mr. Zipp
        has also reviewed the videos produced as SH VIDEO 13, consisting of Megyn Kelly’s
        profile of Alex Jones, and SH VIDEO 14, consisting of Anderson Cooper’s Interview with
        Veronique De La Rosa. Mr. Zipp has also reviewed Plaintiff’s petition. Mr. Zipp has also
        reviewed Plaintiff’s discovery requests and Defendants’ responses. Mr. Zipp’s curriculum
        vitae is attached hereto as Exhibit “1.”

        In addition to the materials described above, Mr. Zipp has viewed the following videos or
        portions thereof:

      Title                                           Date                    Produced as

  1   Connecticut School Massacre Looks Like          December 14, 2012       SH VIDEO 1
      False Flag Says Witnesses

  2   Creepy Illuminati Message in Batman             December 17, 2012       F2mRuEhmoGA
      Movie Hints at Sandy Hook School

  3   Sandy Hook 2nd Shooter Cover-Up                 December 19, 2012       6W6b-voc-Ds

  4   Sandy Hook Father Remembers Fallen              December 19, 2012       8cZkHDHl6nQ
      Hero

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  5   Lower Part of Gotham Renamed "Sandy            December 21, 2012    Fus1FpQiU-Q
      Hook" in Dark Knight Film

  6   Callers React to Foreign Media Pushing         January 4, 2013      SH VIDEO 2
      Total Gun Confiscation

  8   Prof. Claims Sandy Hook Massacre MSM January 10, 2013               D8GxrKJDSL8
      Misinformation

  9   Sandy Hook AR-15 Hoax? Still No                January 15, 2013     Oo74myC3bqY
      School Surveillance Footage

  10 Clearing Up Some Disinfo on Sandy               January 18, 2013     SH VIDEO 3
     Hook Massacre with James Tracy

  11 Why People Think Sandy Hook is a Hoax           January 27, 2013     tM5ZdO-IgEE

  12 Dr. Steve Pieczenik: Sandy Hook was A           March 27, 2013       5EfyD7Wu5fQ
     Total False Flag!

  13 Crisis Actors Used at Sandy Hook!               April 1, 2013        shQSVhS0hLw
     Special Report

  14 Obama Gun Grab Psyop                            April 9, 2013        SH VIDEO 4

  15 Shadow Govt Strike Again                        April 16, 2013       SH VIDEO 5

  16 Sandy Hook Police Ordered to Stand              November 23, 2013    xP9fhKUaudo
     Down?

  17 Sandy Hook Investigator Stonewalled and February 20, 2014            oGpWtqdiSCY
     Threatened

  18 Sandy Hook, False Narratives Vs. The            March 14, 2014       esIvAO2aIlw
     Reality

  19 Revealed: Sandy Hook Truth Exposed              May 9, 2014          _rSLOYCHNdw

  20 Sandy Hook "Officials" Caught In                May 13, 2014         MH6hmI1h-iQ
     Coverup And Running Scared

  21 Bombshell: Sandy Hook Massacre Was A May 13, 2014                    x2a1FwYEZS4
     DHS Illusion Says School Safety Expert

  22 Sandy Hook Deaths Missing From FBI              September 25, 2014   A2Z0zUZBn7k
     Report


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  23 Sandy Hook Film Censorship Efforts              December 12, 2014   4T8_WYzH5SM
     Backfire

  24 The Ultimate Sandy Hook Debate As The           December 12, 2014   6aK0P-WxjU8
     2nd Anniversary Looms

  25 Will Bushmaster Lawsuit Reveal Sandy            December 16, 2014   BFyDqDLAcLQ
     Hook Hoax?

  26 Lawsuit Could Reveal Truth About Sandy December 27, 2014            kK8CnIBA928
     Hook Massacre

  27 America the False Democracy                     December 28, 2014   SH VIDEO 6

  28 Why We Accept Govt Lies                         January 13, 2015    SH VIDEO 7

  29 Title Unknown – Video discussing                February 12, 2015   SH VIDEO 8
     HONR Network

  30 New Bombshell Sandy Hook Information            March 4, 2015       _7ib5WkULBY
     In-Bound

  31 New Sandy Hook Questions Arise from             May 29, 2015        5cll79t7Mrw
     FOIA Hearing

  32 Sandy Hook: The Lies Keep Growing               May 29, 2015        Ml3KVj2nVRA

  33 School Administrator Exposes Sandy              May 29, 2015        SO8Xb-t4nT4
     Hook Stonewall

  34 Official Claims DHS Involved in Sandy           June 4, 2015        BWsbyH2Wa0E
     Hook

  35 Govt is Manufacturing Crises                    July 7, 2015        SH VIDEO 9

  36 Retired FBI Agent Investigates Sandy            July 7, 2015        jCOe3qIgyFA
     Hook: MEGA MASSIVE COVER UP

  37 The Fight for Freedom of Information in         July 8, 2015        l0miXJ-djeA
     Sandy Hook

  38 Alex Jones Final Statement on Sandy             November 18, 2016   MwudDfz1yAk
     Hook

  39 Hunt for Wikileaks Source Begins                March 8, 2017       SH VIDEO 10

  40 Sandy Hook Vampires Exposed                     April 22, 2017      rUn1jKhWTXI

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  41 Media Refuses To Report Alex Jones’               June 13, 2017           kf2F7RxJ9e4
     Real Statements On Sandy Hook

  42 Zero Hedge Discovers Anomaly In Alex              June 26, 2017           SH VIDEO 11
     Jones Hit Piece

  43 JFK Assassination Documents To DROP               October 26, 2017        SH VIDEO 12
     Tonight

  44 Watch as Megyn Kelly Opens Old                    April 20, 2018          uQkAJykqyeo
     Wounds Of Sandy Hook Victims



        Becca Lewis
        Stanford University, Department of Communication
        Building 120, Room 110
        450 Jane Stanford Way
        Stanford, CA 94305
        (650) 723-1941

        Ms. Lewis is an academic researcher in the field of media technologies and online
        discourse, with a focus on media manipulation and disinformation. Ms. Lewis will offer
        her expertise on digital political subcultures, internet celebrity, and online news platforms.
        Ms. Lewis will testify about InfoWars’ cultural footprint and role in the online media
        ecosystem. Ms. Lewis will opine that Defendants’ actions were a substantial factor in the
        spread of false facts about the Sandy Hook shooting. Materials reviewed by Ms. Lewis are
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        and the April 22, 2017 video entitled “Sandy Hook Vampires Exposed.” Ms. Lewis has
        also reviewed FSSTX-082669-082812; FSSTX-085731-FSSTX-086492; FSSTX-086569-
        FSSTX-086583; FSSTX-086588-FSSTX-086589. Ms. Lewis has also reviewed Plaintiff’s
        petition. Ms. Lewis has also reviewed Plaintiff’s discovery requests and Defendants’
        responses. Ms. Lewis’ curriculum vitae is attached as Exhibit “2.”


        Dr. Roy Lubit
        165 West End Ave #3k
        New York, NY 10023
        (917) 846-7829

        Dr. Lubit is a forensic psychiatrist with expertise in the impact of stress and emotional
        trauma. Dr. Lubit will testify about Plaintiffs’ mental injury and the psychological stresses
        involved from Defendants’ false statements and denial of Plaintiffs’ trauma. Dr. Lubit will
        opine that Defendants’ actions were a substantial factor in Plaintiffs’ severe mental anguish
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        and continuing grief. Dr. Lubit will testify about his evaluation of Plaintiff. Dr. Lubit will
        also review any medical records produced in this suit. Dr. Lubit’s curriculum vitae is
        attached as Exhibit “3.”


                                                 II.

        Plaintiff reserves the right to supplement this designation with additional designations of

 experts within the time limits imposed by the Court or any alterations of same by subsequent Court

 Order or agreement of the parties, or pursuant to the Texas Rules of Civil Procedure and/or the

 Texas Rules of Civil Evidence.

                                                 III.

        Plaintiff reserves the right to elicit, by way of cross-examination, opinion testimony from

 experts designated and called by other parties to the suit. Plaintiff expresses his intention to

 possibly call, as witnesses associated with adverse parties, any of Defendants' experts.

                                                 IV.


        Plaintiff reserves the right to call undesignated rebuttal expert witnesses whose testimony

 cannot reasonably be foreseen until the presentation of the evidence against Plaintiff.

                                                 V.

        Plaintiff reserves the right to withdraw the designation of any expert and to aver positively

 that any such previously designated expert will not be called as a witness at trial, and to re-

 designate same as a consulting expert, who cannot be called by opposing counsel.

                                                 VI.

        Plaintiff reserves the right to elicit any expert opinion or lay opinion testimony at the time

 of trial which would be truthful, which would be of benefit to the jury to determine material issues

 of fact, and which would not be violative of any existing Court Order or the Texas Rules of Civil

 Procedure.

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                                                   VII.

         Plaintiff hereby designates, as adverse parties, potentially adverse parties, and/or as

 witnesses associated with adverse parties, all parties to this suit and all experts designated by any

 party to this suit, even if the designating party is not a party to the suit at the time of trial. In the

 event a present or future party designates an expert but then is dismissed for any reason from the

 suit or fails to call any designated expert, Plaintiff reserves the right to designate and/or call any

 such party or any such experts previously designated by any party.


                                                  VIII.

         Plaintiff reserves whatever additional rights they might have with regard to experts,

 pursuant to the Texas Rules of Civil Procedure, the Texas Rules of Civil Evidence, the case law

 construing same, and the rulings of the trial court.



                                                 Respectfully submitted,

                                                 KASTER LYNCH FARRAR & BALL, LLP


                                                 ____________________________________
                                                 MARK D. BANKSTON
                                                 State Bar No. 24071066
                                                 WILLIAM R. OGDEN
                                                 State Bar No. 24073531
                                                 1117 Herkimer
                                                 Houston, Texas 77008
                                                 (713) 221-8300 Telephone
                                                 (713) 221-8301 Fax

                                                 ATTORNEY FOR PLAINTIFF




                                                   -8-
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                                CERTIFICATE OF SERVICE

        I hereby certify that on 2nd day of December, the forgoing document was served upon all
 counsel of record via electronic service.

        Bradley J. Reeves
        Reeves Law, PLLC
        702 Rio Grande St., Suite 203
        Austin, Texas 78701
        Email: brad@brtx.law




                                            ____________________________________
                                            MARK D. BANKSTON




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                                    D-1-GN-18-001835
  NEIL HESLIN                                      §             IN DISTRICT COURT OF
    Plaintiff                                      §
                                                   §
  VS.                                              §           TRAVIS COUNTY, TEXAS
                                                   §
  ALEX E. JONES, INFOWARS, LLC,                    §
  FREE SPEECH SYSTEMS, LLC, and                    §              459th DISTRICT COURT
  OWEN SHROYER,                                    §
    Defendants                                     §


        PLAINTIFF’S SECOND SUPPLEMENTAL DESIGNATION OF EXPERTS


 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Neil Heslin, Plaintiff and files this his Second Supplemental Designation

 of Expert Witnesses, and in supplementation of all prior discovery requests requesting

 identification of fact and expert witnesses, as follows:

                                                  I.

        Plaintiff’s Non-Retained Medical Experts

        Contemporary Care Psychiatric Centers of Excellence
        And Custodians of Medical and Billing Records
        84 Hospital Ave.
        Danbury, CT 06810
        (203) 769-1312

        F. Carl Mueller, MD, MPH, M.S., F.A.P.A.
        And Custodians of Medical and Billing Records
        999 Summer St., Ste. 200
        Stamford, CT 06905
        (203) 357-7773

        W. Michael Crouch, LCSW
        And Custodians of Medical and Billing Records
        999 Summer Street, Ste. 200
        Stamford, CT 06905
        (203) 961-1152



                                                  -1-
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        All medical care providers listed above may testify regarding matters contained in their
        records and depositions. Their observations, diagnosis, opinions, prognosis, facts, physical
        and clinical examinations, and tests done, reviewed or relied upon are incorporated herein
        by reference. This includes opinions regarding Plaintiff’s pain, mental anguish, medical
        care, medical expenses, limitations, physical impairment, or any other medical issue in this
        case. The Custodians of Records will authenticate the records.

        Plaintiff is unaware of the general substance of these experts’ mental impressions and
        opinions, as they are treating physicians and custodians of records. However, presumably
        the general substance of these experts’ impressions and opinions would be as contained in
        their respective records.


        Plaintiff’s Retained Experts

        Fred Zipp
        University of Texas School of Journalism
        300 W Dean Keeton St
        Austin, TX 78712
        (512) 471-1845

        Mr. Zipp is a former newspaper editor and journalism professor. He will offer his expertise
        concerning the standards of care in news reporting, and he will opine on how those
        standards were recklessly disregarded in this case. Mr. Zipp will opine that Defendants
        ignored elementary precautions in journalism. Mr. Zipp will also opine that Defendants
        entertained serious doubts about the accuracy of their statements. Mr. Zipp will analyze the
        facts and circumstances of the publications which show that Defendants were motivated
        by a desire to avoid the truth and to inflict harm on Plaintiff. Materials reviewed by Mr.
        Zipp are being produced as SANDY HOOK-000001-000642. Mr. Zipp has also reviewed
        the March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition of Alex
        Jones, the November 26, 2019 deposition of Free Speech Systems, and the November 27,
        2019 deposition of Paul Watson. Mr. Zipp has also reviewed the YouTube video clips
        described in his affidavits submitted in response to Defendants’ TCPA Motions. Mr. Zipp
        has also reviewed the videos produced as SH VIDEO 13, consisting of Megyn Kelly’s
        profile of Alex Jones, and SH VIDEO 14, consisting of Anderson Cooper’s Interview with
        Veronique De La Rosa. Mr. Zipp has also reviewed Plaintiff’s petition. Mr. Zipp has also
        reviewed Plaintiff’s discovery requests and Defendants’ responses. Mr. Zipp’s curriculum
        vitae is attached hereto as Exhibit “1.”

        In addition to the materials described above, Mr. Zipp has viewed the following videos or
        portions thereof:

      Title                                           Date                    Produced as

  1   Connecticut School Massacre Looks Like          December 14, 2012       SH VIDEO 1
      False Flag Says Witnesses



                                                -2-
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  2   Creepy Illuminati Message in Batman            December 17, 2012   F2mRuEhmoGA
      Movie Hints at Sandy Hook School

  3   Sandy Hook 2nd Shooter Cover-Up                December 19, 2012   6W6b-voc-Ds

  4   Sandy Hook Father Remembers Fallen             December 19, 2012   8cZkHDHl6nQ
      Hero

  5   Lower Part of Gotham Renamed "Sandy            December 21, 2012   Fus1FpQiU-Q
      Hook" in Dark Knight Film

  6   Callers React to Foreign Media Pushing         January 4, 2013     SH VIDEO 2
      Total Gun Confiscation

  8   Prof. Claims Sandy Hook Massacre MSM January 10, 2013              D8GxrKJDSL8
      Misinformation

  9   Sandy Hook AR-15 Hoax? Still No                January 15, 2013    Oo74myC3bqY
      School Surveillance Footage

  10 Clearing Up Some Disinfo on Sandy               January 18, 2013    SH VIDEO 3
     Hook Massacre with James Tracy

  11 Why People Think Sandy Hook is a Hoax           January 27, 2013    tM5ZdO-IgEE

  12 Dr. Steve Pieczenik: Sandy Hook was A           March 27, 2013      5EfyD7Wu5fQ
     Total False Flag!

  13 Crisis Actors Used at Sandy Hook!               April 1, 2013       shQSVhS0hLw
     Special Report

  14 Obama Gun Grab Psyop                            April 9, 2013       SH VIDEO 4

  15 Shadow Govt Strike Again                        April 16, 2013      SH VIDEO 5

  16 Sandy Hook Police Ordered to Stand              November 23, 2013   xP9fhKUaudo
     Down?

  17 Sandy Hook Investigator Stonewalled and February 20, 2014           oGpWtqdiSCY
     Threatened

  18 Sandy Hook, False Narratives Vs. The            March 14, 2014      esIvAO2aIlw
     Reality

  19 Revealed: Sandy Hook Truth Exposed              May 9, 2014         _rSLOYCHNdw



                                               -3-
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  20 Sandy Hook "Officials" Caught In              May 13, 2014         MH6hmI1h-iQ
     Coverup And Running Scared

  21 Bombshell: Sandy Hook Massacre Was A May 13, 2014                  x2a1FwYEZS4
     DHS Illusion Says School Safety Expert

  22 Sandy Hook Deaths Missing From FBI            September 25, 2014   A2Z0zUZBn7k
     Report

  23 Sandy Hook Film Censorship Efforts            December 12, 2014    4T8_WYzH5SM
     Backfire

  24 The Ultimate Sandy Hook Debate As The         December 12, 2014    6aK0P-WxjU8
     2nd Anniversary Looms

  25 Will Bushmaster Lawsuit Reveal Sandy          December 16, 2014    BFyDqDLAcLQ
     Hook Hoax?

  26 Lawsuit Could Reveal Truth About Sandy December 27, 2014           kK8CnIBA928
     Hook Massacre

  27 America the False Democracy                   December 28, 2014    SH VIDEO 6

  28 Why We Accept Govt Lies                       January 13, 2015     SH VIDEO 7

  29 Title Unknown – Video discussing              February 12, 2015    SH VIDEO 8
     HONR Network

  30 New Bombshell Sandy Hook Information          March 4, 2015        _7ib5WkULBY
     In-Bound

  31 New Sandy Hook Questions Arise from           May 29, 2015         5cll79t7Mrw
     FOIA Hearing

  32 Sandy Hook: The Lies Keep Growing             May 29, 2015         Ml3KVj2nVRA

  33 School Administrator Exposes Sandy            May 29, 2015         SO8Xb-t4nT4
     Hook Stonewall

  34 Official Claims DHS Involved in Sandy         June 4, 2015         BWsbyH2Wa0E
     Hook

  35 Govt is Manufacturing Crises                  July 7, 2015         SH VIDEO 9

  36 Retired FBI Agent Investigates Sandy          July 7, 2015         jCOe3qIgyFA
     Hook: MEGA MASSIVE COVER UP


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  37 The Fight for Freedom of Information in           July 8, 2015            l0miXJ-djeA
     Sandy Hook

  38 Alex Jones Final Statement on Sandy               November 18, 2016       MwudDfz1yAk
     Hook

  39 Hunt for Wikileaks Source Begins                  March 8, 2017           SH VIDEO 10

  40 Sandy Hook Vampires Exposed                       April 22, 2017          rUn1jKhWTXI

  41 Media Refuses To Report Alex Jones’               June 13, 2017           kf2F7RxJ9e4
     Real Statements On Sandy Hook

  42 Zero Hedge Discovers Anomaly In Alex              June 26, 2017           SH VIDEO 11
     Jones Hit Piece

  43 JFK Assassination Documents To DROP               October 26, 2017        SH VIDEO 12
     Tonight

  44 Watch as Megyn Kelly Opens Old                    April 20, 2018          uQkAJykqyeo
     Wounds Of Sandy Hook Victims



        Becca Lewis
        Stanford University, Department of Communication
        Building 120, Room 110
        450 Jane Stanford Way
        Stanford, CA 94305
        (650) 723-1941

        Ms. Lewis is an academic researcher in the field of media technologies and online
        discourse, with a focus on media manipulation and disinformation. Ms. Lewis will offer
        her expertise on digital political subcultures, internet celebrity, and online news platforms.
        Ms. Lewis will testify about InfoWars’ cultural footprint and role in the online media
        ecosystem. Ms. Lewis will opine that Defendants’ actions were a substantial factor in the
        spread of false facts about the Sandy Hook shooting. Materials reviewed by Ms. Lewis are
        being produced as SANDY HOOK-000643-002142. Ms. Lewis has also reviewed the
        March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition of Alex Jones,
        and the November 27, 2019 deposition of Paul Watson. Ms. Lewis has also reviewed the
        June 26, 2017 video entitled “Zero Hedge Discovers Anomaly In Alex Jones Hit Piece”
        and the April 22, 2017 video entitled “Sandy Hook Vampires Exposed.” Ms. Lewis has
        also reviewed FSSTX-082669-082812; FSSTX-085731-FSSTX-086492; FSSTX-086569-
        FSSTX-086583; FSSTX-086588-FSSTX-086589. Ms. Lewis has also reviewed Plaintiff’s
        petition. Ms. Lewis has also reviewed Plaintiff’s discovery requests and Defendants’
        responses. Ms. Lewis’ curriculum vitae is attached as Exhibit “2.”


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        Dr. Roy Lubit
        165 West End Ave #3k
        New York, NY 10023
        (917) 846-7829

        Dr. Lubit is a forensic psychiatrist with expertise in the impact of stress and emotional
        trauma. Dr. Lubit will testify about Plaintiff’s mental injury and the psychological stresses
        involved from Defendants’ false statements and denial of Plaintiff’s trauma. Dr. Lubit will
        opine that Defendants’ actions were a substantial factor in Plaintiff’s severe mental anguish
        and continuing grief. Dr. Lubit will testify about his evaluation of Plaintiff. Dr. Lubit will
        also review any medical records produced in this suit. Dr. Lubit’s curriculum vitae is
        attached as Exhibit “3.”


                                                 II.

        Plaintiff reserves the right to supplement this designation with additional designations of

 experts within the time limits imposed by the Court or any alterations of same by subsequent Court

 Order or agreement of the parties, or pursuant to the Texas Rules of Civil Procedure and/or the

 Texas Rules of Civil Evidence.

                                                 III.

        Plaintiff reserves the right to elicit, by way of cross-examination, opinion testimony from

 experts designated and called by other parties to the suit. Plaintiff expresses his intention to

 possibly call, as witnesses associated with adverse parties, any of Defendants' experts.

                                                 IV.


        Plaintiff reserves the right to call undesignated rebuttal expert witnesses whose testimony

 cannot reasonably be foreseen until the presentation of the evidence against Plaintiff.

                                                 V.

        Plaintiff reserves the right to withdraw the designation of any expert and to aver positively

 that any such previously designated expert will not be called as a witness at trial, and to re-

 designate same as a consulting expert, who cannot be called by opposing counsel.

                                                 VI.
                                                 -6-
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         Plaintiff reserves the right to elicit any expert opinion or lay opinion testimony at the time

 of trial which would be truthful, which would be of benefit to the jury to determine material issues

 of fact, and which would not be violative of any existing Court Order or the Texas Rules of Civil

 Procedure.

                                                   VII.

         Plaintiff hereby designates, as adverse parties, potentially adverse parties, and/or as

 witnesses associated with adverse parties, all parties to this suit and all experts designated by any

 party to this suit, even if the designating party is not a party to the suit at the time of trial. In the

 event a present or future party designates an expert but then is dismissed for any reason from the

 suit or fails to call any designated expert, Plaintiff reserves the right to designate and/or call any

 such party or any such experts previously designated by any party.


                                                  VIII.

         Plaintiff reserves whatever additional rights they might have with regard to experts,

 pursuant to the Texas Rules of Civil Procedure, the Texas Rules of Civil Evidence, the case law

 construing same, and the rulings of the trial court.



                                                 Respectfully submitted,

                                                 KASTER LYNCH FARRAR & BALL, LLP


                                                 ____________________________________
                                                 MARK D. BANKSTON
                                                 State Bar No. 24071066
                                                 WILLIAM R. OGDEN
                                                 State Bar No. 24073531
                                                 1117 Herkimer
                                                 Houston, Texas 77008
                                                 (713) 221-8300 Telephone
                                                 (713) 221-8301 Fax
                                                   -7-
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                                            ATTORNEY FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

        I hereby certify that on 2nd day of December, the forgoing document was served upon all
 counsel of record via electronic service.

        Bradley J. Reeves
        Reeves Law, PLLC
        702 Rio Grande St., Suite 203
        Austin, Texas 78701
        Email: brad@brtx.law




                                            ____________________________________
                                            MARK D. BANKSTON




                                              -8-
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                                                                                    Velva L. Price
                                                                                    District Clerk
                                                                                   Travis County
                                                                                D-1-GN-18-001835
                                                                                 Alexus Rodriguez
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                                                                                                   Velva L. Price
                                                                                                   District Clerk
                                                                                                  Travis County
                                 CAUSE NO. D-1-GN-18-001835                                    D-1-GN-18-001835
                                                                                                 Nancy Rodriguez
  NEIL HESLIN,                                    §         IN THE DISTRICT COURT OF
                                                  §
                 Plaintiff,
                                                  §
  v.                                              §         TRAVIS COUNTY, TEXAS
                                                  §
  ALEX E. JONES, INFOWARS, LLC, et
                                                  §
  al.,                                            §
                                                  §
                 Defendants.                                261ST JUDICIAL DISTRICT



  NON-PARTY MEDIA VERITE’S UNOPPOSED REQUEST FOR ORDER TO ALLOW
        RECORDING AND BROADCASTING OF COURT PROCEEDINGS


         Non-Party Media Verite files this Unopposed Request for Recording and Broadcasting of

 Court Proceedings pursuant to TEX. R. CIV. P. 18C and Travis County Local Rule 16, and in

 support thereof shows the Court the following:

                                          I.      SUMMARY

         Media Verite is a multi-award-winning production company, Canadian and British based,

 helmed by four-time academy award nominated and two-time Oscar Winner Malcolm Clarke. The

 filmmakers would like permission to film the court proceedings for a documentary based in part

 on the First Amendment rights battle between InfoWars and the families of Sandy Hook. The

 documentary seeks to look into the court case and legal battles between the two sides and the issues

 and effects on the broader public in the USA. By this request, Media Verite seeks to record the

 proceedings in this lawsuit and broadcast portions of the proceedings in the documentary. These

 recordings will not harm or disadvantage any party or potential witness but will instead promote

 public access and exposure to the court system, in general, and the issues in this lawsuit, in

 particular.



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        Media Verite will accommodate any necessary restrictions on recording imposed by the

 Court and be as unobtrusive as possible in its operations. Media Verite respectfully requests the

 Court exercise its discretion and allow the recording and broadcasting of these important

 proceedings.

                                II.    STATEMENT OF CONSENT

        Plaintiff previously consented to a similar request by Amos Pictures, Ltd. to record all

 proceedings in this lawsuit, which request was granted by this Court on July 16, 2021 (“Court

 Order”). See Exhibit 1. That request and Court Order was supported by and agreed as to form and

 substance by both Plaintiffs and Defendants. See id. at 3. In addition, neither Plaintiff nor

 Defendants object to Media Verite’s request to record all proceedings in this lawsuit. See Exhibits

 2 and 3.

                              III.    PROCEDURAL BACKGROUND

        This lawsuit is part of the following set of cases brought against Alex Jones, InfoWars,

 LLC, and Free Speech Systems, LLC (“Defendants”):

       Cause No. D-1-GN-18-001835: Neil Heslin v. Alex E. Jones, InfoWars, LLC, et al.; in the
        261st Judicial District, Travis County, Texas;

       Cause No. D-1-GN-18-001842: Leonard Pozner and Veronique De La Rosa v. Alex E.
        Jones, InfoWars, LLC, et al.; in the 345th Judicial District, Travis County, Texas;

       Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, InfoWars, LLC & Free
        Speech Systems, LLC; in the 98th Judicial District, Travis County, Texas; and

       Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, InfoWars, LLC & Free
        Speech Systems, LLC; in the 261st Judicial District, Travis County, Texas.

 (the “Lawsuits”). According to the allegations, the Lawsuits arise from:

        [T]he intentional infliction of emotional distress committed against Plaintiff for the past
        five years through InfoWars’ recklessly false statements concerning the circumstances of

                                                                                         Page 2 of 12
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         the death of his child, as well as InfoWars’ coordination and encouragement of a fringe
         community of dangerous fanatics who have stalked and endangered the Sandy Hook
         parents.

 Orig. Pet., Cause No. D-1-GN-19-004651.1

         Pursuant to TEX. R. CIV. P. 18c and Travis County Local Rule 16, this Court previously

 granted the Requests for Recording and Broadcasting of Court Proceedings in these Lawsuits

 brought by Non-Party Media, Amos Pictures, Ltd. See Exhibit 1. Similarly, Media Verite is filing

 Requests for Recording and Broadcasting of Court Proceedings in each of these Lawsuits.

                                 IV.     ARGUMENT & AUTHORITIES

         Trial courts in the United States have long recognized a presumption of openness in their

 proceedings grounded in the public’s right to know ensured by the First and Sixth Amendments to

 the United States Constitution as well as Article 1, Sections 8 and 10 of the Texas Constitution.2

 Both the Sixth Amendment right to a public trial and the free speech and press clause affirmatively

 mandate access for cameras in the courtroom. In addition, the policies underlying these

 amendments favor media coverage of court proceedings as a means of advancing the public’s

 understanding of the way in which the government, and specifically the judicial system, works.

 The Texas Constitution’s free speech amendment provides in pertinent part:

         Every person shall be at liberty to speak, write or publish his opinions on any
         subject . . . and no law shall ever be passed curtailing the liberty of speech or of the
         press.




 1
         There is one additional lawsuit against the Defendants (Cause No. D-1-GN-18-001605; Marcel
 Fontaine v. Alex E. Jones, InfoWars, LLC, et al.; in the 459th Judicial District, Travis County, Texas) that
 is unrelated to the Sandy Hook-related allegations. Media Verite does not seek to record or broadcast
 proceedings from this lawsuit.
 2
         Article I, Section 8 is the free speech provision to the Texas Constitution. Article I, Section 10 is
 the public trial provision to the Texas Constitution.

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        Media Verite requests permission to serve the constitutional mandates established by the

 United States and Texas Constitutions (and further enacted within the Travis County Local Rules)

 and record the proceedings in the Lawsuits.

     A. The United States and Texas Constitutions Provide the Right of the Press and the
        Public to Attend Trials.

        The U.S. Supreme Court has long recognized that the Constitution requires both the press

 and the public be permitted to attend and observe judicial proceedings absent the most compelling

 circumstances. See, e.g., Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 9 (1986). There are

 no compelling circumstances in this case to warrant otherwise. This is particularly true given the

 global pandemic, where the public now must rely even more heavily on the press to cover relevant

 court proceedings.

        According to the U.S. Supreme Court, the essential factors to consider when determining

 whether access attaches to a particular proceeding are: (1) whether the place and process in

 question historically have been open to the press and the public in general, and (2) whether public

 access plays a significant positive role in the functioning of the particular process in question.3 Id.

 at 8-9. Courts in the Fifth Circuit have applied these factors in determining access to civil

 proceedings in state courts, including those in Texas. See Doe v. Santa Fe Indep. Sch. Dist., 933

 F. Supp. 647, 650 (S.D. Tex. 1996) (citing Publicker Indus., Inc. v. Cohen, 733 F.2d 1059 (3rd

 Cir. 1984)); see also Doe v. Stegall, 653 F.2d 180 (5th Cir. 1981). Finally, the Texas Supreme

 Court demonstrated its belief that both factors were met by lifting the ban on cameras in the

 courtroom, effective September 1, 1990. The Texas Supreme Court deleted Canon 3(a)(10) of the




 3
        These factors will be discussed infra Section IV.B.3.

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 Code of Judicial Conduct and amended Rule 18c of the Texas Rules of Civil Procedure to establish

 guidelines for the use of cameras in civil trial courts.

        Texas Rule of Civil Procedure 18c provides that a trial court “may permit broadcasting,

 televising, recording, or photographing of proceedings” in three distinct circumstances.

 Subparagraph (b) contains a requirement for consent by the parties. At the time of filing, neither

 Plaintiff nor Defendants object to the request for recording and broadcasting by Non-Party Media

 Verite, so recording and broadcasting is appropriate under Rule 18c(b). Even absent this consent,

 recording and broadcasting is still proper under Rule 18c(a). Consent of the parties is not required

 under Rule 18c(a) where the media coverage is sought under guidelines promulgated by the

 Supreme Court. Accordingly, as set forth below, Media Verite’s media coverage of this hearing

 pursuant to TEX. R. CIV. P. 18c(a), in accordance with the Local Rules adopted by the Supreme

 Court, is a proper circumstance under which the Court may permit the videotaping and

 broadcasting of these proceedings without regard to consent of the parties.

    B. Recording and Broadcasting of the Lawsuits Should be Permitted Under Travis
       County Local Rules.

        In accordance with the Texas Supreme Court’s guidance, many local jurisdictions—

 including Travis County—have adopted their own rules and procedures regarding cameras in the

 courtroom. The Rules Governing the Recording and Broadcasting of Court Proceedings in the

 Civil District Courts of Travis County (the “Local Rules”) were approved by order of the Texas

 Supreme Court on April 14, 2014. Under the Local Rules, “the decision to allow [media] coverage

 is discretionary and will be made by the Court on a case-by-case basis.” Local Rule 16.3.4. “In

 determining an application for coverage, the Court shall consider all relevant factors, including but

 not limited to:

            a) the type of case involved;

                                                                                           Page 5 of 12
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            b) whether the coverage would cause harm to any participants;

            c) whether the coverage would interfere with the fair administration of justice,
               advancement of a fair trial, or the rights of the parties;

            d) whether the coverage would interfere with any law enforcement activity;

            e) the objections of any of the parties, prospective witnesses, victims, or other
               participants in the proceeding for which coverage is sought; the physical structure
               of the courtroom and the likelihood that and equipment required to conduct
               coverage of proceedings can be installed and operated without disturbance to those
               proceedings or any other proceedings in the Courthouse;

            f) the extent to which the coverage would be barred by law in the judicial proceeding
               of which coverage is sought; and

            g) the fact that any party, prospective witness, victim, or other participant in the
               proceeding is a child, to which fact the Court shall give great weight.”

 Id. Here, as discussed below, these factors weigh heavily in favor of allowing Media Verite to

 record and broadcast the proceedings.

    1. The type of case involved.

        At their core, the Lawsuits involve issues related to freedom of speech, defamation, and

 media rights. The plaintiffs in these Lawsuits allege that the Defendants published false and

 defamatory statements in videos and articles with the intent to cause emotional distress,

 harassment, and ridicule to the plaintiffs. In response, the Defendants claim the following:

        [T]his lawsuit is also a strategic device used by Plaintiff and her attorneys, in
        conjunction with at least other two lawsuits filed by her attorneys on behalf of
        others with whom Plaintiff is acting, to silence Defendants’ free speech and an
        attempt to hold Defendants liable for simply expressing their opinions about
        matters of public concern. The goal of Plaintiff and her attorneys in this lawsuit
        as well as the goal of others who have similarly sued, is to silence Defendants from
        expressing what she and they consider to be inappropriate speech about Sandy
        Hook and other matters of public concern.

 See Defendants’ Motion to Dismiss under the Texas Citizens Participation Act, Cause No. D-1-

 GN-18-006623 (emphasis added). Media Verite believes the public has great interest in not only



                                                                                         Page 6 of 12
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 the subject matter of these Lawsuits, but also in how the judicial system will resolve these

 contentious claims, which is still a topic of interest today.4

     2. Whether the coverage would cause harm to any participants.

         Plaintiff—who arguably could suffer the most harm from having these proceedings

 broadcast—has consented to their recording. Defendants likewise do not object to Media Verite’s

 request. Nor can anyone offer any demonstrable injury that might result from such recordings.

 Indeed, the Defendants, who operate in the media space, should embrace open access to these

 proceedings. InfoWars.com has reached more than 1 million page visits per day and, as of 2018,

 averaged more than 25 million page views per month.5 It would be incongruous to allow the

 Defendants to broadcast the very statements, articles, interviews, and videos at issue in these

 Lawsuits while, at the same time, disallowing the public from viewing proceedings that attempt to

 hold Defendants liable for those publications.

     3. Whether the coverage would interfere with the fair administration of justice,
        advancement of a fair trial, or the rights of the parties.

         Trials have traditionally been open for public scrutiny. Richmond Newspapers, Inc. v.

 Virginia, 448 U.S. 555, 580 n.17 (1980);6 Gannett Co. v. DePasquale, 443 U.S. 368, 386, n. 15

 (1979). This is, in part, because the public and the press have a First Amendment right to attend



 4
         https://www.nytimes.com/2021/10/01/us/alex-jones-lawsuit-sandy-hook.html
 5
         https://www.statesman.com/story/business/2018/08/13/bans-dont-seem-to-be-lessening-reach-of-
 alex-jones-infowars/9964821007/
 6
          In Richmond Newspapers, the Supreme Court addressed squarely for the first time whether a
 criminal trial could be closed to the public on the request of a defendant without a demonstration that closure
 is required to protect the defendant’s right to a fair trial, or that some other overriding consideration requires
 closure. The Supreme Court held that it could not. Long ago, Texas reached the same conclusion. See Ex
 parte Foster, 44 Tex. Crim. 423, 71 S.W. 593 (1903); Ex parte McCormick, 129 Tex. Crim. 457, 88 S.W.2d
 104 (1935). While Richmond Newspapers addressed the closure of a criminal trial, its reasoning is generally
 applicable to civil trials. Indeed, the court noted that historically both civil and criminal trials have been
 presumptively open. Richmond Newspapers, 448 U.S. at 575.

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 trials. “[T]he First Amendment can be read as protecting the right of everyone to attend trials ....”

 Richmond Newspapers, 448 U.S. at 573-575. Indeed, openness “has long been recognized as an

 indispensable attribute of an Anglo-American trial.” Id. at 569; accord Craig v. Harney, 331 U.S.

 367, 374 (1947) (“A trial is a public event. What transpires in the courtroom is public property.”).

 As Justice Brennan explained: “Where ... the State attempts to deny the right of access in order to

 inhibit the disclosure of sensitive information, it must be shown that the denial is necessitated by

 a compelling governmental interest and is narrowly tailored to serve that interest.” Globe

 Newspapers v. Superior Court, 457 U.S. 596, 606-07 (1982).

         The core purpose of this right of access is to enable the public, through the press, to monitor

 judicial proceedings.7 See Richmond, 448 U.S. at 555. This purpose is clearly met in this case. The

 First Amendment right to attend trials serves to reinforce public acceptance of “both the process

 and its results.” Id. at 571. In his concurring opinion, Justice Brennan referred to this as the presses’

 broader “structural” role of ensuring full and informed participation in the democratic process. Id.

 at 587-88.8 In a later case, the Supreme Court reiterated that “[p]ublic access to civil proceedings

 plays a significant role in the proper functioning of the judicial process and the government as a

 whole.” Globe Newspapers, 457 U.S. at 606.

         The U.S. Supreme Court has repeatedly made it clear that press and public rights to attend

 both civil and criminal trials serve not only to educate the public about how the justice systems

 works, but also to secure confidence in that system. Richmond Newspapers, 448 U.S. at 572; Globe


 7
          Paul, Angelique M., Turning the Camera on Court TV: Does Televising Trials Teach us Anything
 About the Real Law?, 58 OHIO ST. L. J. 655, 691, at n. 3 (1997)(“For any democracy to survive and
 flourish, the citizens of that democracy must know what their public servants are doing and how well they
 are performing the jobs with which they have been entrusted.”).
 8
        Justice Brennan also noted that “public access to trials displays their fairness, prevents public
 resentment, dissuades judges from excess, and calls the attention of important, but unknown witnesses.”
 Richmond Newspapers, 448 U.S. at 595-97.

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 Newspapers Co., 457 U.S. at 605-06. The Court’s justification for allowing filming applies equally

 to civil proceedings.9

         During the current global pandemic where in-person attendance is not feasible, the right to

 attend trial is vindicated through the press’ ability to cover trial proceedings. Here, Media Verite’

 coverage will enhance the dignity of the proceedings and the public’s perception of them. The

 coverage of the actual proceedings, with a dignified judge presiding over a respectful and attentive

 courtroom, will contrast with the typically skewed or sensationalized events, such as “spin control”

 conducted by parties and television dramatizations of courtroom proceedings, that may transpire

 outside the courtroom. The camera inside the courtroom, unobtrusively and accurately recording

 the dignified proceedings, will enable the public to see what actually occurred and create an

 historical record.

     4. Whether the coverage would interfere with any law enforcement activity.

         Media Verite is not aware of any law enforcement activity related to the subject matter of

 the Lawsuits. Even so, allowing Media Verite access to these proceedings would not interference

 with any law enforcement activity.

     5. The objections of any of the parties, prospective witnesses, victims, or other
        participants in the proceeding for which coverage is sought; the physical structure of
        the courtroom and the likelihood that any equipment required to conduct coverage
        of proceedings can be installed and operated without disturbance to those
        proceedings or any other proceedings in the Courthouse.




 9
          Cameras have also traditionally been allowed in a variety of civil proceedings. See Deatherage v.
 Examining Bd. of Psychology, 932 P.2d 1267 (Wash. App. 1996) (cameras allowed in an administrative
 disciplinary hearing of a Washington psychologist); New York v. Haygood, 23 Med. L. Rptr. 1636 (N.Y.
 Sup. Ct. 1995)(camera allowed in civil trial of podiatrist accused of billing fraud); Sprecher v. Sprecher,
 15 Med. L. Rptr. 1773 (N.Y. Sup. Ct. 1988) (camera allowed in child custody proceeding); Lang v. Tampa
 Television, Inc., 11 Med. L. Rptr. 1150 (Fla. 4th Cir. Ct. 1984) (television station granted permission to
 broadcast proceedings in civil action by rape victim).

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        No party, prospective witnesses, victims, or other participants in the Lawsuits has voiced

 any objection to Media Verite being allowed to record and broadcast the proceedings.

        If the proceedings in the Lawsuits are conducted virtually via Zoom, then there will be very

 little, if any, obstruction. If the proceedings are conducted at the courthouse, Media Verite will

 operate at all times with great care and in close consultation with the Court and its staff and will

 submit to the Court in all matters related to any restrictions on recording. Media Verite has

 significant prior experience filming court proceedings in the United States and will ensure that the

 business of the court is not impeded and the Judge’s instructions are followed. Equipment will be

 unobtrusive and consist of one digital cinema camera on a tripod, which can be operated from a

 seated position, as well as a number of remotely operated wireless microphones.

        Given the parameters of Media Verite’ request and the breadth of experience Media Verite

 has in filming in an unobtrusive manner in the courtroom, the Court can comfortably set conditions

 on Media Verite that will eliminate any concerns of interference in the proceedings.

    6. The extent to which the coverage would be barred by law in the judicial proceeding
       of which coverage is sought.

        Media Verite is not aware of any law that would prevent or prohibit the recording and

 broadcast of the proceedings in this Lawsuit. Instead, as set forth above, the law strongly supports

 Media Verite’ proposed filming of the proceedings.

    7. The fact that any party, prospective witness, victim, or other participant in the
       proceeding is a child, to which fact the Court shall give great weight.

        The Sandy Hook school shooting involved the tragic loss of the lives of multiple children.

 But in this Lawsuit, there are no minor plaintiffs, nor minor witnesses expected. As a result, this

 factor weighs in favor of recording and broadcasting.




                                                                                         Page 10 of 12
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         In the unexpected event that a minor does testify in the proceedings, Media Verite will

 comply with any restrictions on recording the Court deems necessary. In this regard, the opinion

 in Doe v. Santa Fe Independent School District, 933 F. Supp. 647, 650 (S.D. Tex. 1996) is

 instructive. In Doe, the court considered access to a civil trial involving adult and minor plaintiffs

 over violations of the First Amendment establishment clause. Id. The court held that the trial would

 be closed only to the extent necessary to protect the minor plaintiffs but would not be closed to

 protect the adult plaintiffs. Id. at 651. The court held that the trial should remain open to the public

 unless “denial [of the constitutional right of access] is necessitated by a compelling governmental

 interest and is narrowly tailored to serve that interest.” Id. at 650 (quoting Globe Newspaper, 457

 U.S. at 607). Ultimately, the court found the adult plaintiffs’ right of privacy was insufficient to

 deny the public’s First Amendment right of access. Id. at 652. Accordingly, to the extent the Court

 requires restrictions related to minor victims or minor witnesses, the Court should grant open

 access to the remaining proceedings that do not involve minors.

     C. Media Verite Will Comply with Travis County Local Rules.

         Media Verite and its personnel understand and agree that:

         1. All media personnel covering the proceedings will comply with applicable provisions
            of the Texas Rules of Civil Procedure and the Local Rules.

         2. If the Court requires, there will be no audio or visual coverage of the testimony of any
            witness unless consent of that witness has been obtained in the manner required by the
            Court and filed with the District Clerk, with a copy delivered to the trial court.

         3. Permission may be withdrawn by the Court at any time pursuant to the Local Rules, at
            which time media coverage will immediately cease.

         4. This request has been filed with the District Clerk, with a copy delivered to the trial
            court and the Court Administrator.




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                                         V.      CONCLUSION

        The factors set forth by the Travis County Local Rules applied to the circumstances of the

 Lawsuits favor open access to—and recording and broadcasting of—all proceedings in the

 Lawsuits. Accordingly, Media Verite respectfully requests an order allowing it to record and

 broadcast all proceedings in the Lawsuits pursuant to Local Rule 16.

                                                Respectfully submitted,

                                                By: /s/ Robert E. Linkin
                                                   ROBERT E. LINKIN
                                                   State Bar No. 00795773
                                                   MUNCK WILSON MANDALA LLP
                                                   rlinkin@munckwilson.com
                                                   807 Las Cimas Parkway, Suite 300
                                                   Austin, Texas 78746
                                                   737-201-1616 tel
                                                   737-201-1601 fax


                                    CERTIFICATE OF SERVICE

        This is to certify that on the 5th day of January 2022, a true and correct copy of the foregoing
 has been served via electronic service on all counsel of record:

        Mark Bankston
        Farrar & Ball, LLP
        1117 Herkimer Street
        Houston, TX 77008
        713.221.8300
        mark@fbtrial.com

        Bradley Reeves
        Reeves Law, PLLC
        702 Rio Grande Street
        Austin, TX, 78701
        (512) 827-2246
        brad@brtx.law

                                                         /s/ Robert E. Linkin
                                                        Robert E. Linkin



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                                                                                         Velva L. Price
                                                                                        District Clerk
                                                                                        Travis County
                             CAUSE NO. D-1-GN-18-001835                              D-1-GN-18-001835
                                                                                      Jessica A. Limon




                                                                                   e
  NEIL HESLIN,                               §     IN THE DISTRICT COURT OF




                                                                                ic
       Plaintiff,                            §




                                                                              Pr
  v.                                         §     TRAVIS COUNTY, TEXAS
                                             §




                                                                          L.
  ALEX E. JONES, et al.                      §
      Defendants.                            §     261st JUDICIAL DISTRICT




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                                                                    lv
                             CAUSE NO. D-1-GN-18-006623




                                                                Ve
  SCARLETT LEWIS,                            §     IN THE DISTRICT COURT OF
      Plaintiff,                             §




                                                            k
  v.                                         §     TRAVIS COUNTY, TEXAS




                                                         er
                                             §




                                                      Cl
  ALEX E. JONES, et. al,                     §
      Defendants.                            §     261 t JUDICIAL DISTRICT

                                                  ct
                                              tri
                             CAUSE NO. D-1-GN-19-004651
  NEIL HESLIN,                               §     IN THE DISTRICT COURT OF
                                           is

       Plaintiff,                            §
                                       .D


  v.                                         §     TRAVIS COUNTY, TEXAS
                                             §
                                  Co




  ALEX E. JONES, et. al,                     §
      Defendants.                            §     261st JUDICIAL DISTRICT
                              is
                          av




                             CAUSE NO. D-1-GN-18-001842
  LEONARD POZNER et al.                      §     IN THE DISTRICT COURT OF
                       Tr




      Plaintiffs,                            §
                 y




  v.                                         §     TRAVIS COUNTY, TEXAS
               op




                                             §
  ALEX E. JONES, et. al,                     §
           lc




      Defendants.                            §     345th JUDICIAL DISTRICT
        ia




                      ORDER ALLOWING RECORDING AND
     fic




                    BROADCASTING OF COURT PROCEEDINGS
  of




        On this day, the Court considered Non-Party Amos Pictures, Ltd.’s (“Amos Pictures”)
Un




 Request for Recording and Broadcasting of Court Proceedings pursuant to TEX. R. CIV. P.


                                                                                 Page 1 of 3
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 18c and Travis County Local Rule 16 (“Request”). After considering the Request, the relevant




                                                                                                     e
 factors, as well as the consent of the parties, the Court finds that the Request should be and is




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 hereby GRANTED.




                                                                                           L.
         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Amos




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 Pictures’ Request for Recording and Broadcasting of Court Proceedings pursuant to TEX. R.




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                                                                              Ve
 CIV. P. 18c and Travis County Local Rule 16 is GRANTED.

         IT IS FURTHER ORDERED that Amos Pictures is entit ed to record and broadcast




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                                                                      er
 all proceedings in the above-captioned lawsuits through both visual coverage1 and audio




                                                                  Cl
 coverage.2 Amos Pictures shall be entitled to install equipment in the courtroom for the

 purpose of such coverage.                                   ct
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                                                     is

         IT IS FURTHER ORDERED all media personnel covering the proceedings will
                                                .D


 comply with applicable provisions of the Texas Rules of Civil Procedure and the Travis
                                          Co




 County Local Rules.

         IT IS SO ORDERED.
                                     is
                                av




         Signed on this ____
                        16th day of July 2021.
                            Tr
                     y
                   op




                                          HONORABLE JUDGE MAYA GUERRA GAMBLE
              lc
        ia
     fic




         1      Pursuant to Travis County Local Rule 16.1, “visual coverage” shall mean and include coverage
  of




 by equipment that has the capacity to reproduce or telecast an image, and includes still and moving picture
 photographic equipment and video equipment.
Un




         2        Pursuant to Travis County Local Rule 16.1, “audio coverage” shall mean coverage by
 equipment that has the capacity to reproduce or broadcast sounds, and includes digital, tape and cassette sound
 recorders, and radio and video equipment.

                                                                                                   Page 2 of 3
22-01023-tmd Doc#1-16 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 92
                                      of 380



 AGREED AS TO FORM AND SUBSTANCE:




                                                                            e
                                                                         ic
 /s/ Mark Bankston (w/ permission JAR)




                                                                       Pr
 Mark Bankston
 Counsel for Plaintiffs




                                                                   L.
                                                                 a
 /s/ Brad Reeves (w/ permission JAR)




                                                              lv
 Brad Reeves




                                                          Ve
 Counsel for Defendants




                                                        k
 /s/ Joshua A. Romero




                                                     er
 Joshua A. Romero
 Counsel for Amos Pictures




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   From:            Mark Bankston
   To:              Gaby Monahan; brad@brtx.law
   Cc:              Robert E. Linkin; Michael A. Dimmitt; Kelsey Tauzin
   Subject:         RE: Consent to Media Verite"s Request for Recording and Broadcasting of Court Proceedings
   Date:            Monday, January 3, 2022 6:41:35 PM
   Attachments:     image002.png


  [External]



  Plaintiffs have no objection.

  Mark Bankston
  Kaster Lynch Farrar & Ball, LLP

  From: Gaby Monahan <gmonahan@munckwilson.com>
  Sent: Monday, January 3, 2022 4:40 PM
  To: brad@brtx.law; Mark Bankston <mark@fbtrial.com>
  Cc: Robert E. Linkin <rlinkin@munckwilson.com>; Michael A. Dimmitt
  <mdimmitt@munckwilson.com>; Kelsey Tauzin <ktauzin@munckwilson.com>
  Subject: Consent to Media Verite's Request for Recording and Broadcasting of Court Proceedings

  Good afternoon,

  Rob Linkin and I represent Media Verite, a multi-award-winning production company,
  Canadian and British based, helmed by four-time academy award nominated and two-time
  Oscar Winner Malcolm Clarke. The filmmakers will be seeking permission to film the court
  proceedings in the cases listed below. The recordings will be used to create a documentary
  based in part on the First Amendment rights battle between InfoWars and the families of
  Sandy Hook. The documentary seeks to look into the court case and legal battles between the
  two sides and the issues and effects on the broader public in the USA.

  Please advise if you object to Media Verite’s recording of these proceedings. We intend to file
  before the end of this week.

         Cause No. D-1-GN-18-001835: Neil Heslin v. Alex E. Jones, InfoWars, LLC, et al.; in the
         261st Judicial District, Travis County, Texas;
         Cause No. D-1-GN-18-001842: Leonard Pozner and Veronique De La Rosa v. Alex E.
         Jones, InfoWars, LLC, et al.; in the 345th Judicial District, Travis County, Texas;
         Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, InfoWars, LLC & Free
         Speech Systems, LLC; in the 98th Judicial District, Travis County, Texas; and
         Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, InfoWars, LLC & Free Speech
         Systems, LLC; in the 261st Judicial District, Travis County, Texas.
22-01023-tmd Doc#1-16 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 96
                                      of 380

  Thanks,

  Gaby I. Monahan
  Partner




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  Suite 300
  Austin, Texas 78746
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  Connect with me on LinkedIn
  Follow Munck on LinkedIn
  Follow Munck on Twitter




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                                      of 380

   From:               Bradley Reeves
   To:                 Robert E. Linkin; Mark Bankston
   Cc:                 Gaby Monahan; Michael A. Dimmitt; Kelsey Tauzin
   Subject:            RE: Consent to Media Verite"s Request for Recording and Broadcasting of Court Proceedings
   Date:               Tuesday, January 4, 2022 2:51:14 PM
   Attachments:        image002.png


  [External]


  No objection.

  Best regards,

  Brad Reeves

  From: Robert E. Linkin <rlinkin@munckwilson.com>
  Sent: Monday, January 3, 2022 7:13 PM
  To: Mark Bankston <mark@fbtrial.com>
  Cc: Gaby Monahan <gmonahan@munckwilson.com>; Bradley Reeves <brad@brtx.law>; Michael A.
  Dimmitt <mdimmitt@munckwilson.com>; Kelsey Tauzin <ktauzin@munckwilson.com>
  Subject: Re: Consent to Media Verite's Request for Recording and Broadcasting of Court Proceedings

  Thanks for your response.

  Much appreciated.

  Best,

  Robert E. Linkin


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  This electronic mail message and any attachments are intended




          On Jan 3, 2022, at 6:41 PM, Mark Bankston <mark@fbtrial.com> wrote:


          [External]


          Plaintiffs have no objection.

          Mark Bankston
          Kaster Lynch Farrar & Ball, LLP
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                                      of 380



        From: Gaby Monahan <gmonahan@munckwilson.com>
        Sent: Monday, January 3, 2022 4:40 PM
        To: brad@brtx.law; Mark Bankston <mark@fbtrial.com>
        Cc: Robert E. Linkin <rlinkin@munckwilson.com>; Michael A. Dimmitt
        <mdimmitt@munckwilson.com>; Kelsey Tauzin <ktauzin@munckwilson.com>
        Subject: Consent to Media Verite's Request for Recording and Broadcasting of Court
        Proceedings

        Good afternoon,

        Rob Linkin and I represent Media Verite, a multi-award-winning production
        company, Canadian and British based, helmed by four-time academy award
        nominated and two-time Oscar Winner Malcolm Clarke. The filmmakers will be
        seeking permission to film the court proceedings in the cases listed below. The
        recordings will be used to create a documentary based in part on the First
        Amendment rights battle between InfoWars and the families of Sandy Hook. The
        documentary seeks to look into the court case and legal battles between the two
        sides and the issues and effects on the broader public in the USA.

        Please advise if you object to Media Verite’s recording of these proceedings. We
        intend to file before the end of this week.

              Cause No. D-1-GN-18-001835: Neil Heslin v. Alex E. Jones, InfoWars, LLC, et
              al.; in the 261st Judicial District, Travis County, Texas;
              Cause No. D-1-GN-18-001842: Leonard Pozner and Veronique De La Rosa v.
              Alex E. Jones, InfoWars, LLC, et al.; in the 345th Judicial District, Travis
              County, Texas;
              Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, InfoWars, LLC
              & Free Speech Systems, LLC; in the 98th Judicial District, Travis County,
              Texas; and
              Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, InfoWars, LLC &
              Free Speech Systems, LLC; in the 261st Judicial District, Travis County, Texas.

        Thanks,

        Gaby I. Monahan
        Partner




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        Suite 300
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                                          102 of 380                               1/5/2022 12:46 PM
                                                                                                                                                Velva L. Price
                                                                                                                                                District Clerk
                                                                                                                                               Travis County
                                                                                                                                            D-1-GN-18-001835
                                                                                                                                              Nancy Rodriguez

       ROBERT E. LINKIN                                                                                            rlinkin@munckwilson.com
       Direct Dial: (737) 201-1616

                                                                  January 5, 2022

       Via E-File
       The Honorable Lora Livingston
       261st District Court
       Heman Marion Sweatt Travis County Courthouse
       1000 Guadalupe, 3rd floor
       Austin, TX 78701

       Re:        Media Request
                  Cause No. D-1-GN-18-001835

       Your Honor,

               We represent Media Verite, a multi-award-winning production company, Canadian and
       British based, helmed by four-time academy award nominated and two-time Oscar Winner
       Malcolm Clarke. Media Verite seeks permission to film court proceedings in the following cases:

                  •     Cause No. D-1-GN-18-001835; Neil Heslin vs. Alex E. Jones,InfoWars, LLC, et al;

                  •     Cause No. D-1-GN-18-001842: Leonard Pozner and Veronique De La Rosa vs. Alex
                        E. Jones, INFOWARS, LLC, et al;

                  •     Cause No. D-1-GN-18-006623: Scarlett Lewis vs. Alex E. Jones, InfoWars, LLC, and
                        Free SpeechSystems, LLC;

                  •     Cause No. D-1-GN-19-004651: Neil Heslin vs. Alex E. Jones, InfoWars, LLC and Free
                        SpeechSystems, LLC;

              Should the Court grant Media Verite’s request, it would likely film all court proceedings
       from this date forward.

               In view of the immense public interest and cultural significance of these cases, Media
       Verite is creating a documentary based in part on the First Amendment rights battle between
       InfoWars and the families of Sandy Hook. The documentary seeks to look into the court case and
       legal battles between the two sides and the issues and effects on the broader public in the USA.
       The program will be broadcast worldwide after the conclusion of legal proceedings in Texas.

              The program, which will be strictly non-political and non-partisan, will seek to closely
       involve its audience in the complexities and the dramatic unfolding of the judicial process.




A Limited Liability Partnership  807 Las Cimas Pkwy.  Building II  Suite 300  Austin, Texas 78746  t 737.201.1600  f 737.201.1601  www.munckwilson.com
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The Honorable Lora Livingston
January 5, 2022
Page 2

      For the avoidance of doubt, no material filmed in court will be released or shared in any
way before legal proceedings in each case listed above have come to an end.

        We have reviewed the Texas Rule of Civil Procedure 18c and Travis County Local Rules
of Civil Procedure and Rules of Decorum (Local Rules) Chapter 16.

        We will operate at all times with great care and in close consultation with the court and its
officers and will submit to the authority of the Court in all matters pertaining to the enforcement
of the rules around filming.

          We are available, at the Court’s convenience to answer any questions regarding the above.


                                                      Respectfully,
                                                      MUNCK WILSON MANDALA, LLP



                                                      Robert E. Linkin

REL/kmt




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                                                                                 Travis County
                                 D-1-GN-18-001835                             D-1-GN-18-001835
                                                                                  Chloe Jimenez

  NEIL HESLIN                            §               IN DISTRICT COURT OF
     Plaintiff                           §
                                         §
                                         §
  VS.                                    §             TRAVIS COUNTY, TEXAS
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §
  FREE SPEECH SYSTEMS, LLC, and          §
  OWEN SHROYER,                          §                459th DISTRICT COURT
     Defendants                          §

                                 D-1-GN-18-001842

  LEONARD POZNER and                      §              IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                    §
     Plaintiffs                           §
                                          §
  VS.                                     §            TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  and FREE SPEECH SYSTEMS, LLC,           §
      Defendants                          §               459th DISTRICT COURT
                                          §

                                 D-1-GN-18-006623

  SCARLETT LEWIS                          §              IN DISTRICT COURT OF
     Plaintiff                            §
                                          §
                                          §
  VS.                                     §            TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  and FREE SPEECH SYSTEMS, LLC,           §
      Defendants                          §               459th DISTRICT COURT



     DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, RESPONSE IN
 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS REGARDING
          CORPORATE REPRESENTATIVE DEPOSITION
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                                        INTRODUCTION

       Plaintiffs’ motion is one of the most overreaching motion for sanctions filed to date in these

cases, which is saying a lot considering Plaintiffs’ propensity for filing such motions. Despite

Plaintiffs’ faux outrage at what Plaintiffs and their counsel perceive as deficiencies in the recent

FSS corporate representative deposition, what is clear is that this motion is actually nothing more

than a mechanism by which Plaintiffs’ counsel has made usurpsed the confidentiality and protective

orders entered by the Court to place confidential, attorney’s-eyes-only documents and sensitive

financial information of FSS and other Defendants who are not even a focus of this motion into the

public eye to create a media firestorm and prejudice Defendants. It is absolutely ridiculous that

Plaintiffs would file a motion for sanctions about a FSS corporate representative deposition, yet

attach net worth discovery responses from Alex Jones and sensitive financial information

completely unrelated to the corporate representative deposition itself as purported exhibits in

support of their motion. These violations of the Court’s confidentiality and protective order will be

further addressed in a forthcoming motion for sanctions being filed by Defendants, but at the outset

of dealing with the instant motion, it must be made clear that Plaintiffs have filed this not for the

purposes of obtaining discovery they believe they are entitled to, but rather to further try this case

in the media and public and to prejudice Defendants as much as possible prior to trial.

       As for Plaintiffs’ motion, not only are the complaints about the corporate representative

deposition unfounded and without merit, but the issues raised by Plaintiffs revolve entirely around

liability-related issues—issues the Court has currently held are determined as a matter of law by

virtue of the liability-default judgments entered by this Court. Thus, to the extent any responses

were unsatisfactory, that is immaterial and Plaintiffs are in no way prejudiced or negatively

impacted by that. In addition, the corporate representative for FSS was able to provide sufficient

answers as to the vast majority of the questions asked of her; Plaintiffs are seemingly upset because

she was not prepared to provide granular details in response to every single question Plaintiffs might

ask. Regardless, she was more than able to (and did) provide appropriate responses as to FSS’s

knowledge, understanding, and information it had which relate to the issues in this case. Even if the

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Court disagrees and for some reason finds some of the corporate representative’s responses were

lacking, that in no way justifies the outrageous sanctions Plaintiffs have asked for in their motion.

There is no basis for awarding what is assuredly a ridiculous amount of money Plaintiffs will claim

are their entirety of their litigation costs and additional sanctions such as precluding discovery or

precluding the determination of any issues which remain outstanding to be decided by a jury.

Plaintiffs’ motion has no merit and certainly does not in any way support the imposition of the

extreme sanctions Plaintiffs have sought. The Court should deny Plaintiffs’ motion for sanctions.

             MS. KARPOVA WAS A COMPETENT, PREPARED REPRESENTATIVE

            Ms. Karpova is a producer and manager for InfoWars1 and is an appropriate choice of

corporate representative. She testified that she had spent four or more hours preparing for her

deposition.2 She brought documents that she reasonably believed were relevant to the deposition.3

Plaintiffs argue that the documents she brought and reviewed were not relevant and have alleged

that Ms. Karpova was not properly prepared, however the documents brought by Ms. Karpova were

already in excess of the total amount of relevant documents required. There were no relevant

documents for her to bring in, she was not required to bring in any documents, and Defendants

would like to penalize her (and, thereby, FSS) because they find the few documents that Ms.

Karpova thought might be helpful to be less than adequate.

            Ms. Karpova was prepared to testify about sourcing and research for the videos described
in Plaintiffs’ petitions.4 During an abusive series of depositions, she was repeatedly asked to

mentally reference multiple documents. When she responded that she had generally reviewed the

1
    Pl.’s Ex. 4 at 3:4.
2
    Id. at 5:8, 4:1, 11:8.
3
    Id. at 9:20.
4
  It is worth noting that Plaintiffs’ Motion (Footnote 22) includes a thinly veiled allegation that Marc
Randazza has somehow engaged in unauthorized practice of law by asking factual questions to the
witness as she prepared for deposition (despite never providing a shred of legal advice to the witness),
which is a serious allegation. It is also a false allegation made in bad faith, as Plaintiffs’ counsel is
surely aware that this Court has previously indicated that Mr. Randazza can assist Mr. Reeves in a
similar capacity to that of an associate, even if he cannot appear in this case. See Transcript of
Hearing, August 31, 2021, at 98:19-98:23.

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relevant documents but could not necessarily references specific documents and videos – indeed,

the exact lines and headlines from specific documents and videos – without being provided broader

context, she was treated by Plaintiffs’ counsel as if she was not competent to answer any questions

at all.

           In one such exchange, Mr. Bankston asks Ms. Karpova to identify a single still frame from

an Infowars episode:

           Q. Where does this come from, this picture? Where does it come from?

           A. This is a still from the show.

           Q. Do you know what show?

           A. Not specifically. It doesn’t have the date [or] year.

           Q. Okay. It’s one you just apparently watched a couple of minutes ago. You don’t remember

           seeing this?

           A. Not this part specifically.

           Q. So you maybe didn’t even watch this part of the video?

           A. I watched the video.

           Q. Okay.

           A. I don’t remember this specific –

           Q. Okay. [Continues with questioning.]5

           She was asked confusing and often meandering compound questions. Again, when she

responded with confusion, she was treated in a hostile manner by Plaintiffs’ counsel. When asked

directly about the company source of some videos, she respondes that “the company believes it to

be Wolfgang Halbig[,]”6 which is an appropriate answer as a corporate representative. As a

corporate representative, Ms. Karpova is not required to have personal knowledge about every

topic, but she must be able to answer for the company and what the company reasonably knows. If

the company “believes [the source of a video] to be Wolfgang Halbig[,]” then this is a perfectly

5
    Pl.’s Ex. 4 at 127:14-128:4.
6
    Id. at 101:18-101:20.

                                                     4
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acceptable response. Further, if the company does not have specific knowledge of a fact, but can

make reasonable inferences, the corporate representative – acting on behalf of the company – should

be afforded the same flexibility. Thus, if the company itself does not have records of an event – Ex.

“there’s no way to go back to that video because we don’t keep those kinds of records of every

show”7 – Ms. Karpova should not be held to a standard other than that of a representative reporting

what the company does or does not know. Ms. Karpova made this clear on multiple occasions. For

example, when asked outright “Does the company know if these emails actually exist[,]” she

responded, “No it doesn’t.”8 This is not a failure of preparation or competence of a corporate

representative, but rather Plaintiffs’ disappointment that the company records it seeks are simply

not maintained to the professional standard that Plaintiffs would prefer.

           The abusive and persnickety manner in which Ms. Karpova was treated by Mr. Bankston is

evident in the following exchange, which – to Defendant’s surprise – Plaintiffs chose to include in

their Motion:

           A: Can we review the video right now?

           Q: No. I’m not going to play a 2-hour video for you right now, no.

           A: But you expect me to know what’s going on in every video?

           Q: Uh-huh. I do. I do, Ms. Karpova. And I expected Rob Dew to do the same thing when

           he showed up to the deposition to talk about sourcing and research and he didn’t do that

           twice.9

           Plaintiffs’ Motion scolds Ms. Karpova for reviewing one video during a break in the

deposition while Ms. Karpova was breastfeeding. Again, Plaintiffs show a lack of good faith in this

style of argument. Ms. Karpova was subjected to repeated questioning about a specfic video, made

a good faith attempt to review the material during a break – something she was not required to do



7
    Pl.’s Ex. 4 at 79:20-79:22.
8
    Id. at 121:14-121:16.
9
    Id. at 51:20-52:3.

                                                   5
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– and was reprimanded by Plaintiffs’ counsel for attempting to be helpful. This is shown in the

following exchange:

           Q. Okay. How much of that one did you watch?

           A. That’s a long video. I watched parts of it.

           Q. You understand that doesn’t help me, right? That that’s not helping me understand what

           you’ve watched. You understand that?10

           Despite this hostility, she continued to answer questions as best she could and gave clear

company responses. She answered questions in manners such as “[the videos were sourced from]

previously sourced information Alex [received] from his guests as well as other reports,”11 and

“[t]he company believes that I have sufficient knowledge to testify regarding these matters.”12

These are unambigous corporate-level responses.

           Plaintiffs are ultimately upset – not that Ms. Karpova was not given access to what they had

hoped were vast vaults of sourcing records for specific videos – but rather that she was fully

prepared to represent the company in stating that it was not sure of the sourcing for many videos,

as sourcing records for individual shows simply do not exist. Thus, any statements about sourcing

were necessarily going to include conjecture, imperfect recollections, and inferences.

                    THE FACTS AT ISSUE ARE NOT RELEVANT TO DAMAGES

           As for Ms. Karpova’s inability to recall, in the moment, specific conversations about or with
employees of FSS, information about cable bundling packages, and other issues completely

extraneous to the matter of damages, they are not relevant in the slightest. Every issue raised by

Plaintiffs in their motion touches on the issue of liablity, not damages. Issues related to liability are

not relevant at this stage, due to the liability default judgments entered by this Court. For example,

Infowars is a ‘free to air’ radio program. FSS does not even know who is carrying the program on

a given day. Ms. Karpova’s lack of knowledge on this information represents, directly, the corporate

10
     Pl.’s Ex. 4 at 133:5-133:9.
11
     Id. at 134:12-134:14.
12
     Id. at 118:25-119:1.

                                                     6
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model in place at FSS. While this may be frustrating for Plaintiffs, it does not diminish Ms.

Karpova’s competence and willingness to answer questions at deposition. Given that the program

is ‘free to air,’ it also makes the question of cable packages irrelevant as to damages, as her failure

to recall the known listener metrics is not revelevant if the metrics are not knowable at all.

           Plaintiffs’ absurd motion is focused entirely upon questions that relate only to liability

issues, and thus have no relevance to the remaining issues in this case at this time, and similarly

cause Plaintiffs no prejudice, even if responses were somehow insufficient. Moreover, Mr.

Bankston had previously told this Court that “I think I have enough to prove punitive damages right

now[,]”13 and that future discovery requests would “be very limited.”14 FSS finds it difficult to

understand how Plaintiffs apparently felt they had “enough” to prove their alleged damages and

even punitive damages prior to the corporate represenative deposition, yet now posture to the Court

that they somehow did not obtain crucial information warranting extreme sanctions.

           In all instances that this Court might find Ms. Karpova’s answers to be both relevant and

lacking, however, Defendants assert that Ms. Karpova’s inability to regurgitate numerous highly-

specific facts, without being provided the necessary context and for hours on end, was not a failure

of preparation, but a failure of memory. Further, the specificity and range of topics demanded by

Plaintiffs were unreasonable – expecting the witness to be able to cite specific lines out of hours-

long videos and to be able to immediately know how many cable packages included Infowars –
and, most often, completely irrelevant to the issue of damages.

           Additionally, Plaintiffs point to Alex Jones’s personal opinion on the state of litigation as

evidence of bad faith on the part of FSS. This is an absurd notion. Having a negative view of the

proceedings is not evidence of bad faith, unless Plaintiffs are ready to make the broad generalization

that every party upset by litigation is somehow acting in bad faith. Mr. Jones is well within his

rights to hold an opinion and he is welcome to express it during deposition so long as he answers

the questions put to him – which he has done. And while Plaintiffs decry their perceived instances

13
     Pl.’s Ex. 3 74:23-74:25.
14
     Id. at 75:8-75:12.

                                                    7
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of bad faith, they just as quickly make baseless claims that “Plaintiffs also expect that [Mr. Jones]

has additional assets squirreled away, likely in some other shell company as yet undisclosed.”15 Are

allegations of this sort, when presented with zero evidence, an example of good faith? Similarly,

Plaintiffs’ assertion that Mr. Jones has $50 million in assets is a material misrepresentation.16 The

parenthesis around $50 million in Jones’s [assets document title] represents negative equity, which

any competent lawyer would know. And since Mr. Bankston is clearly competent, this can only be

a purposeful misrepresentation.

                       SANCTIONS SHOULD BE DENIED IN THEIR ENTIRETY

            Sanctions are not appropriate in this matter. First, precluding further discovery and resolving

all unresolved issues in favor of Plaintiffs would be a heavy-handed, unfair advantage to Plaintiffs

– and the suggestion alone is an example of a party asking for “discovery for me but not for thee.”

There is no prejudice involved in this issue, as none of these issues have to do with damages. Even

if this Court were to decide that sanctions were appropriate, assessing all or most of Plaintiffs

litigation costs upon Defendant would be a disproportionate penalty. If this Court finds that

sanctions are appropriate, which Defendant continues to assert they are not, they should be minimal.

                                     CONCLUSION AND PRAYER

            Plaintiffs’ Motion, following an abusive series of depositions, is filled with issues that have

no bearing on this matter. Ms. Karpova was adequately prepared to answer questions relevant to

the issue of damages. Plaintiffs may be upset with themselves for asking questions that largely

focused on liability, despite the issue of liability having already been decided by default-judgment,

but this is not the fault of Ms. Karpova or Defendant. Plaintiffs use bad faith misrepresentations

throughout their Motion and then have the gall to ask this Court to assess disproportionate sanctions

upon Defendants.




15
     Plaintiff’s Motion, p. 39.
16
     Id.

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       WHEREFORE, PREMISES CONSIDERED, Defendant, Free Speech Systems, LLC,

requests the Court deny Plaintiffs’ motion for sanctions, along with such other and further relief to

which Defendant may be justly entitled.

Dated: January 7, 2022.

                                      Respectfully Submitted,

                                      REEVES LAW, PLLC

                                      By: /s/ Bradley J. Reeves
                                      Bradley J. Reeves
                                      Texas Bar No. 24068266
                                      brad@brtx.law
                                      702 Rio Grande St., Suite 203
                                      Austin, TX 78701
                                      Telephone: (512) 827-2246
                                      Facsimile: (512) 318-2484


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas Rules
of Civil Procedure on January 7, 2022.

Mark Bankston                                 via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                                 /s/ Bradley J. Reeves________________
                                              Bradley J. Reeves




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                                     D-1-GN-18-001835

  NEIL HESLIN                                  §                 IN DISTRICT COURT OF
     Plaintiff                                 §
                                               §
                                               §
  VS.                                          §               TRAVIS COUNTY, TEXAS
                                               §
  ALEX E. JONES, INFOWARS, LLC,                §
  FREE SPEECH SYSTEMS, LLC, and                §
  OWEN SHROYER,                                §                  459th DISTRICT COURT
     Defendants                                §

                                     D-1-GN-18-001842

  LEONARD POZNER and                           §                 IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                         §
     Plaintiffs                                §
                                               §
  VS.                                          §               TRAVIS COUNTY, TEXAS
                                               §
  ALEX E. JONES, INFOWARS, LLC,                §
  and FREE SPEECH SYSTEMS, LLC,                §
      Defendants                               §                  459th DISTRICT COURT
                                               §

                                     D-1-GN-18-006623

  SCARLETT LEWIS                               §                 IN DISTRICT COURT OF
     Plaintiff                                 §
                                               §
                                               §
  VS.                                          §               TRAVIS COUNTY, TEXAS
                                               §
  ALEX E. JONES, INFOWARS, LLC,                §
  and FREE SPEECH SYSTEMS, LLC,                §
      Defendants                               §                  459th DISTRICT COURT

     [PROPOSED] ORDER DENYING PLAINTIFFS’ MOTION FOR SANCTIONS
         REGARDING CORPORATE [REPRESENTATIVE] DEPOSITION

        On this day, came to be heard Plaintiffs’ Motion for Sanctions Regarding Corporate

[Representative] Deposition of Defendant, Free Speech Systems, LLC. The Court, having

considered the Motion, Defendant’s response thereto, along with the arguments of counsel, finds
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that Plaintiffs’ motion is without merit and should be DENIED.

       It is therefore ORDERED that Plaintiffs’ Motion for Sanctions Regarding Corporate

[Representative] Deposition is hereby DENIED in all respects.

SIGNED ON THIS THE _______ DAY OF _______________, 2022.


                                                   ____________________________________
                                                   HONORABLE JUDGE MAYA GUERRA
                                                   GAMBLE




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APPROVED AS TO FORM
AND ENTRY REQUESTED:

REEVES LAW, PLLC

By:    /s/ Bradley J. Reeves______________
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ATTORNEY FOR DEFENDANTS




                                             3
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                                                                                               Travis County
                                                                                            D-1-GN-18-001835
                                                                                             Gilberto Diaz Rios
                                 CAUSE NO. D-1- GN-18-001835

 NEIL HESLIN,                                   §           IN THE DISTRICT COURT OF
   Plaintiff                                    §
                                                §
 Vs.                                            §            TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC,                  §
 FREE SPEECH SYSTEMS, LLC, and                  §
 OWEN SHROYER,                                  §
   Defendants                                   §            459th JUDICIAL DISTRICT

        NOTICE OF APPEARANCE AND DESIGNATION OF LEAD COUNSEL
       JACQUELYN W. BLOTT files this Notice of Appearance. Defendants ALEX E. JONES,

INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC and OWEN SHROYER (“Defendants”)

designate JACQUELYN W. BLOTT as the attorney in charge in accordance with Rule 8 of the

Texas Rules of Civil Procedure. All communication from the Court or other counsel with respect

to this suit shall be sent to the undersigned as follows:

                                       Jacquelyn W. Blott
                                Law Offices of Jacquelyn W. Blott
                                200 University Ave., Ste. 225 #251
                                    Round Rock, Texas 78665

                                               Respectfully submitted,

                                               LAW OFFICE OF JACQUELYN W. BLOTT


                                               By: _________________________________
                                                      Jacquelyn W. Blott
                                                      SBN: 07473250
                                                      100 University Blvd., Ste. 225 #251
                                                      Round Rock, Texas 78665
                                                      Telephone: (512) 639-9904
                                                      Facsimile: (833) 377-0087
                                                      Email: jblott@jblottlaw.com
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                                                                                 Velva L. Price
                                                                                 District Clerk
                                                                                Travis County
                                D-1-GN-18-001835                             D-1-GN-18-001835
                                                                                      Irene Silva

  NEIL HESLIN                            §     IN DISTRICT COURT OF
     Plaintiff                           §
                                         §
  vs.                                    §
                                         §     TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  FREE SPEECH SYSTEMS, LLC, and          §
  OWEN SHROYER,                          §
     Defendants                          §     459th DISTRICT COURT
                                         §

                                D-1-GN-18-001842

  LEONARD POZNER and                     §     IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
     Plaintiffs                          §
                                         §
  vs.                                    §     TRAVIS COUNTY, TEXAS
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
      Defendants                         §     459th DISTRICT COURT
                                         §

                                D-1-GN-18-006623

  SCARLETT LEWIS                         §     IN DISTRICT COURT OF
     Plaintiff                           §
                                         §
  vs.                                    §
                                         §     TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
      Defendants                         §
                                         §     459th DISTRICT COURT
                                         §



        DEFENDANTS’ MOTION FOR CONTEMPT AND SANCTIONS
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           Defendants, ALEX JONES, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC and

OWEN SHROYER, file this Defendants’ Motion for Contempt and Sanctions and in support

thereof show as follows:

                                            RELIEF REQUESTED

           Defendants, ALEX JONES, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC and

OWEN SHROYER, respectfully request that Plaintiffs, NEIL HESLIN, LEONARD POZNER,

VERONIQUE DE LA ROSA, and SCARLETT LEWIS and/or their attorney of record, MARK

BANKSTON, be held in contempt for violating the Court’s Order on Motion for Protective Order

of Confidentiality dated October 25, 2021 and this Court award appropriate sanctions in favor of

Defendants, ALEX JONES, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC and OWEN

SHROYER.

                                                   SUMMARY

           Plaintiffs, NEIL HESLIN (“Heslin”), LEONARD POZNER (“Pozner”), VERONIQUE DE

LA ROSA (“Rosa”), and SCARLETT LEWIS (“Lewis”) and/or their attorney of record, MARK

BANKSTON (“Mr. Bankston”), have repeatedly sought to litigate this matter in the press and now,

with no shame, have violated the Order on Motion for Protective Order (“Protective Order”)

entered by this Court on February 25, 2019 In Cause No. D-1-18-GN-006623L Scarlett Lewis v.

Alex E. Jones, Infowars, LLC and Free Speech Systems, LLC (the “Lewis Litigation”), and as

adopted in all cases on October 25, 2021 1. Instead of serving the Sanctions Motion as required or

filing a motion for temporary sealing order, as required by the Protective Order, Plaintiff cast aside

the Court’s Protective Order, making sure that documents clearly labeled as Confidential and




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    A duplicative order was also signed on December 2, 2021, and filed on December 3, 2021.

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Attorneys’ Eyes Only (“AEO”) as well as depositions of Defendant’s Corporate Representative and

Defendant Jones were filed for public dissemination including, but not limited to, the media

                                 FACTS IN SUPPORT OF MOTION

       On February 25, 2021, this Court entered its Protective Order in the Lewis Litigation. On

October 25, 2021, this Court entered its Order on Motion for Protective Order of Confidentiality

applying the Protective Order entered in the Lewis Litigation to Cause No. D-1-GN-18-001835;

Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and Owen Shroyer (the

“Heslin Litigation”) and Cause No. D-1-GN-18-001842; Leonard Pozner and Veronique de la Rosa

v. Alex E. Jones, Infowars, LLC and Free Speech Systems, LLC (the “Pozner Litigation”). See,

Protective Order, filed among the pleadings herein on October 26, 2021, incorporated herein by

reference as if set forth in full. The Court signed the same order on December 2, 2021, filed among

the pleadings herein on December 3, 2021, incorporated herein by reference as if set forth in full.

       The identical Protective Orders provide as follows:

                                             TERMS
        3.     “Discovery includes all written discovery, request for production,
       interrogatories, requests for admissions, requests for disclosure, oral depositions,
       deposition transcripts, oral or video recording of a deposition, depositions on
       written questions to third parties, and subpoenas to third parties, and other
       documents exchanged between the parties for the purpose of sharing information
       regarding the facts of the case.


Protective Orders, filed among the pleadings of the cases herein on October 25, 2021 and December

3, 2021.

The Protective Order further provides:

              4.      “Confidential Information” means information that constitutes a
       trade secret, reveals valuable and sensitive proprietary data or commercial
       information, or otherwise qualifies for legal protection under Texas law.




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                   5.       “Confidential Discovery” means discovery disclosed by the
           parties in this case and which also contains Confidential Information.

Id., p. 4

           The Protective Order also provides that depositions are to remain confidential as follows:

           12.    Testimony and information disclosed at a deposition of a Party or any other witness
           may be designated “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” during the
           deposition, and within thirty (30) days following the depositions, any Party may designate
           any information disclosed during a deposition as “CONFIDENTIAL” or “ATTORNEYS’
           EYES ONLY.” For the thirty (30) days following any deposition, the Parties must treat
           all of the deposition testimony and exhibits and other documents produced at any
           deposition as “ATTORNEYS’ EYES ONLY.”

Id. p. 5 (emphasis added).

           The Protective Order provided that documents designated as confidential would not be

disseminated to anyone other than certain individual including, but not limited to, all parties and

their counsel of record.

           Less than two weeks after the Protective Order was signed for the second time and entered

in the pleadings, Plaintiffs breached it. 2

           On December 15, 2021, Plaintiffs filed their Motion for Sanctions Regarding Corporate

Deposition. (“Sanctions Motion”). 3 See, Sanctions Motion, filed amont the pleadings herein on

December 15, 2021and incorporated herein by reference as if set forth in full. Attached as Exhibit

6 to the Sanctions Motion is a financial document produced in discovery by Defendant, Free

Speech Systems, LLC (“Free Speech”), marked “CONFIDENTIAL-ATTORNEY’S EYES

ONLY” in large, bold, capital letters at the top of each page. Id, Exhibit 6.



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  Although not the subject of this motion, Plaintiffs also breached the order when they surreptitiously
permitted a podcaster to attend the confidential deposition of Alex Jones on December 4, 2021. These
compounding violations mandate terminating sanctions even if each, individually, did not rise to that
level.
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    That motion is without merit, further aggravating the nature of the misconduct.


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       Exhibit 4 of the Sanctions Motion is a copy of the transcript of the Deposition of Daria

Karpova, the designated corporate representative for Free Speech Systems (“Corporate Rep

Deposition”). Id., Exhibit 4.

       The deposition of Jones was taken on December 4, 2021. The official transcript was not

released to counsel until December 30, 2021. The deposition of Jones was attached as Exhibit 5

to the Motion for Sanctions. See, Motion for Sanctions, Exhibit 5.

       Plaintiffs have flagrantly violated the Protective Order. By efiling the Sanctions Motion,

Plaintiffs have made the Sanctions Motion and, more importantly, the exhibits attached in support

of the Sanctions Motion, accessible to the public at large, at a minimum, and to those members of

the public, including the media, who have the wherewithall to obtain copies of pleadings, including

the Sanction Motion and the attachments containing confidential information, from the Records

Division of the Travis County District Clerk’s Office.

       Paragraphs 21 & 22 of the Protective Orders govern submission of confidential materials to

the Court. They prohibit direct filing—they require service and a motion for Temporary Sealing

Order. Plaintiffs filed no motion for Temporary Sealing Order. Instead, Plaintiffs directly emailed

them     to     459     Submission      <459.Submission@traviscountytx.gov>;         Keri     Ward

<Keri.Ward@traviscountytx.gov>, bypassing the requirements of the order and placing them in the

public record. In addition, Plaintiffs efiled the documents. As a result, the confidential documents

and depositions were viewed by and published by, at the very least, the media. Plaintiffs and their

counsel – through their actions –effectively provided these Confidential, Attorneys’ Eyes Only




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documents to The Huffington Post,4 Rolling Stone, 5 Yahoo, 6 and The Daily Beast 7 for worldwide

publication.

                                       ARGUMENT AND AUTHORITIES

A.        Plaintiffs have Violated the Integrity of the Discovery Process and Flagrantly Violated
          this Court’s Protective Order.

           “[A] court has an interest in preserving the integrity of the discovery process by

encouraging full investigation of the disputed facts and issues, and that such investigation will occur

effectively only if the court can assure the parties that disclosed confidential materials will be used

only for the purpose of litigation.” Hous. Chronicle Pub. Co. v. Hardy, 678 S.W.2d 495, 506 (Tex.

App.—Corpus Christi 1984, no writ) (citing Tavoulareas v. The Washington Post Co., 724 F.2d

1010 (D.C.Cir.1984). It is only when it is actually used at trial that a deposition becomes a court

record, presumed open to the public. See, In re Cook , 629 S.W.3d 591, 608-09 (Tex. App.—Dallas

2021).

          This Court entered its Protective Order to enourage full investiation of the disputed facts

and issues. Mr. Bankston should never have filed the Sanctions Motion with the confidential

financial records nor the depositions of the Corporate Representative or Defendant Jones without

following this Court’s Protective Order for filing pleadings containing confidential information.

The document in question was both marked as confidential and used during a deposition where

confidential designations were still pending, making this disclosure doubly egregious. Likewise,


4
    https://www.huffpost.com/entry/infowars-store-alex-jones n 61d71d8fe4b0bcd2195c6562
5
 https://www.rollingstone.com/politics/politics-news/alex-jones-infowars-store-165-million-
1281059/
6
    https://www.yahoo.com/entertainment/alex-jones-raked-165-million-195522851 html
7
 https://www.thedailybeast.com/alex-jones-claims-he-can-barely-pay-the-billsafter-infowars-made-
dollar165-million-in-three-years


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Plaintiffs violated the Protective Order by filing the depositions within thirty (30) days following

the deposition of the Corporate Representative and Defendant Jones.

       Plaintiffs’ and Mr. Bankston’s knowledge that a violation of any confidentiality order is

particularly offensive to the administration of justice. Counsel for Plaintiffs, Mr. Bankston, has

been keenly following parallel litigation in Connecticut, even going so far as convincing this Court

that Judge Bellis’ characterization of Defendants’ actions there demanded that default be entered

here. In Connecticut, Judge Bellis deemed an unintentional disclosure to be “cavalier actions and

willful misconduct” would “have a chilling effect on the testimony of witnesses,” and that the

course of action should have been to challenge the designation, “not to blatantly disregard it and

make the confidential information available” to third parties. Lafferty v. Jones, Case No. UWY-

CV-XX-XXXXXXX-S (Super. Ct. Conn. Aug. 5, 2021). Plaintiffs must be held to the strict standards

applied in Connecticut – standards for which they advocated—which resulted in a death-penalty

sanction.

       This was not an issue of Mr. Bankston failing to realize what he was doing: this was

gratuitous and done with the intent that the information be picked up and reported by the media.

This is, of course, old hat for Mr. Bankston. He has previously published depositions from this

series of cases online for the purpose of litigating this matter in the press. In the past, he has

published the video of Mr. Jones’ initial 2019 deposition on his own website, which made its way

into the press. He knew that the gross revenue of a controversial news outlet such as Infowars would

be reported and misinterpreted by the press, as the documents leaked ignore key financial metrics

such as the cost of goods sold and the overall cost of operations that goes into this primary source

of revenue.




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       Under the terms of the confidentiality order, Mr. Bankston had an opportunity to challenge

the AEO designation on the financial documents at issue. See, December 3, 2021 Protective Order,

¶14(1)-14(2). He failed to do so. Confidential treatment is afforded to such marked material until

any dispute over designation has been ruled upon by the presiding Judge, though in this instance

there was no dispute at all. Mr. Bankston simply violated the confidentiality order. Id.

B.     Sanctions are Warranted and Appropriate

       A trial court may impose sanctions on any party that abuses the discovery process in seeking,

making, or resisting discovery. Tex. R. Civ. P. 215.3; See, Wein v. Sherman, 03-10-00499-CV, 2013

WL 4516013, at *1 (Tex. App.—Austin Aug. 23, 2013, no pet.)(noting that Rule 215 sanctions are

not damages for harm alleged in underlying lawsuit but are used to punish parties who violate

discovery rules). A trial court also has inherent power to sanction to the extent necessary to deter,

alleviate, and counteract bad faith abuse of the judicial process. IFC Credit Corp. v. Specialty

Optical Sys., Inc., 252 S.W.3d 761, 772 (Tex. App.—Dallas 2008, pet. denied)(citing Eichelberger

v. Eichelberger, 582 S.W.2d 395, 398 (Tex. 1979).

       In Scarbrough v. Purser, monetary sanctions of over $25,000 were imposed merely for

providing records, once to law enforcement and once to a litigant’s relative. Far from only providing

the materials at issue to law encforcement and a single individual, Plaintiffs put them in the public

record for global consumption, and nothing can be done to put them back into a state of

confidentiality. The direct effect this disclosure may have on further witnesses cannot be overstated,

as the exposure of the confidential information has already been widespread. Thus, Defendants ask

the Court for sanctions including but not limited to, dismissing Plaintiffs’ claims with prejudice to

the refiling of same. Scarbrough v. Purser, No. 03-13-00025-CV, 2016 Tex. App. LEXIS 13863,

at *61-63 (Tex. App. Dec. 30, 2016).



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       Providing confidential or otherwise protected documents to Mr. Bankston is no different

than just releasing them to the press. The Court has made it clear that discovery abuse in this matter

will not be tolerated. Defendants respectfully ask the Court to uphold this stance and hold Plaintiffs

and their counsel accountable for their repeated and consequential impropriety. The Court must

dismiss Plaintiffs’ claims against Defendants as a sanction and impose a severe monetary penalty

against Plaintiffs’ counsel for purposefully violating the confidentiality of the protective and

confidentiality order.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendants request the Court grant this

motion for sanctions, finding that the Plaintiffs and their counsel are in contempt of this Court’s

Protective Order, imposing sanctions as requested herein, and such other and further relief, both at

law and equity, to which Defendants may be justly entitled.

                                              Respectfully submitted,

                                              LAW OFFICE OF JACQUELYN W. BLOTT


                                              By: _________________________________
                                                      Jacquelyn W. Blott
                                                      SBN: 07473250
                                                      100 University Blvd., Ste. 225 #251
                                                      Round Rock, Texas 78665
                                                      Telephone: (512) 639-9904
                                                      Facsimile: (833) 377-0087
                                                      Email: jblott@jblottlaw.com

                                                      Bradley J. Reeves
                                                      REEVES LAW, PLLC
                                                      SBN: 2406826
                                                      702 Rio Grande St., Suite 203
                                                      Austin, Texas 78701
                                                      Telephone: (512) 827-2246
                                                      Facsimile: (512) 318-2484
                                                      Email: brad@brtx.law

                                                      ATTORNEYS FOR DEFENDANTS
                                                      ALEX JONES, INFOWARS, LLC,
                                                      FREE SPEECH SYSTEMS, LLC
                                                      and OWEN SHROYER


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                             CERTIFICATE OF CONFERENCE

       The undersigned counsel for Defendants has previously conferred with counsel for Plaintiff
regarding this Motion, and counsel for Plaintiff has indicated Plaintiff is opposed to this Motion.

                                                                 /s/ Bradley J. Reeves
                                                                 Bradley J. Reeves


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas Rules
of Civil Procedure on January 12, 2022.

Mark Bankston                                               via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                                            _____________________ ________
                                                                Jacquelyn W. Blott




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                                                                                         Velva L. Price
                                                                                         District Clerk
                                                                                        Travis County
                                                                                     D-1-GN-18-001835
                                D-1-GN-18-001835                                        Selina Hamilton

 NEIL HESLIN and                             §                  IN DISTRICT COURT OF
 SCARLETT LEWIS                              §
                                             §                 TRAVIS COUNTY, TEXAS
 VS.                                         §
                                             §                   261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,               §
 FREE SPEECH SYSTEMS, LLC, and               §
 OWEN SHROYER                                §

                                D-1-GN-18-001842
 LEONARD POZNER and                          §                  IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                        §
                                             §                 TRAVIS COUNTY, TEXAS
 VS.                                         §
                                             §                  345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,               §
 and FREE SPEECH SYSTEMS, LLC                §


            PLAINTIFFS’ MOTION FOR SANCTIONS UNDER RULE 215.4
                   RELATING TO REQUESTS FOR ADMISSION


       This Motion concerns false and unreasonable answers given to Plaintiffs’ Requests

for Admissions concerning authenticity. Plaintiffs attempted to authenticate over a dozen

videos for use at trial, but Defendants failed to take any steps to respond. Even more

troubling, Defendants’ counsel made false statements in their answers. For the reasons

discussed below, Plaintiffs move for an order under Rule 215.4 finding the matters admitted

and awarding all costs.

                                FACTUAL BACKGROUND

       1.     On December 2, 2021, Plaintiffs served Requests for Admission regarding the

authenticity of certain videos and documents. At the same time, Plaintiffs provided a


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download link for videos which were subject to the Requests for Admission. (See Exhibit 1,

Emails with Brad Reeves).

       2.     On December 23, 2021, Defendants requested an extension to respond, with a

new deadline on January 24, 2022. (See Exhibit 2, Email granting extension).

       3.     On January 24, 2022, the day the responses were due, Defendants’ counsel

Bradley Reeves forwarded Plaintiffs’ December 2nd email providing the videos. Defendants’

counsel stated, “This dropbox link no longer works. Please re-send.” (See Exhibit 1, Emails

with Brad Reeves).

       4.     Hours later, Defendants served their responses, bearing the name of both of

their attorneys. Defendants refused to admit the authenticity of the videos at issue, claiming

that “Defendant is unable to comply with the discovery request…as Plaintiffs failed to

provide a copy of the videos.” (See Exhibit 3, Defendant’s Responses to Requests for

Admission).

       5.     This statement is false. The videos provided by Plaintiffs on December 2, 2021

were nearly 4 gigabytes in size, and they could not be hosted by Plaintiffs’ counsel

indefinitely. The videos were therefore provided through a Dropbox Transfer link, which

expires after thirty days.

       6.     Even worse, Defendants’ counsel knew the statement was false. In subsequent

correspondence, Plaintiffs’ counsel demonstrated how the testimony of Daria Karpova

proves that Mr. Reeves showed her at least one of the videos provided on December 2nd. The

specific video had never been previously produced. (See Exhibit 4, Emails with Jacquelyn

Blott). As such, Ms. Karpova’s testimony proves that Plaintiffs provided the videos and that

Mr. Reeves downloaded them.



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       7.      In response, Defendants’ counsel Bradley Reeves now admits that the

discovery responses were false and that he downloaded the videos. He also now admits that

he showed clips from the videos to Ms. Kaprova during the lunch break of her deposition.

(See Exhibit 1, Emails with Brad Reeves).

       8.      Defendants’ counsel now claims the files later “became corrupted or

unviewable” as some unspecified time. (Id.).

       9.      As to why Defendants’ Response stated that “Plaintiffs failed to provide a copy

of the videos,” Defendants’ counsel Jacquelyn Blott stated that her co-counsel Mr. Reeves

“misinformed” her. (See Exhibit 4, Emails with Jacquelyn Blott).

       10.     Because Defendants’ counsel did not raise any issue until the day the

responses were due, even after an extension, it is obvious that Defendants’ counsel made

false certifications that the discovery had been answered with reasonable inquiry.

Defendants’ counsel made no inquiry until the day the responses were due, and they made

false statements in their answers.

                  LEGAL STANDARD FOR MOTION UNDER RULE 215.4

       Under Rule 215.4, the Court may enter certain orders for a party’s “failure to comply

with Rule 198” regarding Requests for Admissions. “If the court determines that an answer

does not comply with the requirements of Rule 198, it may order either that the matter is

admitted or that an amended answer be served.” Tex. R. Civ. P. 215.4(a). In addition, “[t]he

provisions of Rule 215.1(d) apply to the award of expenses incurred in relation to the

motion.” Id.




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                                        ARGUMENT

I.     Defendants’ Responses Failed to Comply with Rule 198.

       Under Rule 198, “[a] response must fairly meet the substance of the request.” Tex. R.

Civ. P. 198.2(b). Defendants’ Responses did not meet the substance of the request. The

request asked the Defendants to confirm the authenticity of 14 videos, and Defendants did

not take steps to respond. The failure to respond was caused purely by Defendants’ own lack

of diligence.

       Defendants’ Responses also blamed Plaintiffs for failing to provide videos, but this

was a false statement that was not made with reasonable inquiry. After being confronted

with proof, Defendants’ counsel now admit the videos were provided, but they claim the files

later became corrupted. Apparently, Defendants’ counsel did not notice any problem with

the videos until the day the responses were due. Obviously, this means Defendants were not

taking any actions to confirm the authenticity of the videos prior to the day the responses

were due.

       Under Rule 198, “[l]ack of information or knowledge is not a proper response unless

the responding party states that a reasonable inquiry was made.” Id. Here, not only did

Defendants fail to make a reasonable inquiry, but they made a false statement in their

Responses which blamed Plaintiffs for their failure. With discovery long since closed and the

trial date rapidly approaching, Plaintiffs have been prejudiced by Defendants’ failure to

respond to the requests.




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                                      CONCLUSION

       Given the long history of discovery abuse and neglect in this case, Defendants’

Responses are egregious but unsurprising. As such, Plaintiffs move the Court to order the

requests at issue admitted and award Plaintiffs their attorney fees in connection with this

dispute.


                                         Respectfully submitted,

                                         KASTER LYNCH FARRAR & BALL, LLP


                                         ____________________________________
                                         MARK D. BANKSTON
                                         State Bar No. 24071066
                                         WILLIAM R. OGDEN
                                         State Bar No. 24073531
                                         1117 Herkimer
                                         Houston, Texas 77008
                                         713.221.8300 Telephone
                                         713.221.8301 Fax




                             CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with opposing counsel about this Motion, and they
are opposed.




                                         ____________________________________
                                         MARK D. BANKSTON




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                               CERTIFICATE OF SERVICE

      I hereby certify that on February 1, 2022, the forgoing document was served upon all
counsel of record via electronic service.




                                         ____________________________________
                                         MARK D. BANKSTON




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 SCARLETT LEWIS                              §
                                             §                  TRAVIS COUNTY, TEXAS
 VS.                                         §
                                             §                   261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,               §
 FREE SPEECH SYSTEMS, LLC, and               §
 OWEN SHROYER                                §

                                  D-1-GN-18-001842
 LEONARD POZNER and                          §                   IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                        §
                                             §                  TRAVIS COUNTY, TEXAS
 VS.                                         §
                                             §                   345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,               §
 and FREE SPEECH SYSTEMS, LLC                §


            ORDER ON PLAINTIFFS’ MOTION FOR SANCTIONS UNDER
             RULE 215.4 RELATING TO REQUESTS FOR ADMISSION


       On this day, the Court considered Plaintiffs’ Motion for Sanctions Under Rule 215.4

Relating to Requests for Admission. After considering the pleadings, evidence, and

arguments of counsel, if any, the Court finds that the Motion should be GRANTED. As such,

the Court ORDERS the following:

       1.     The authenticity of the videos labeled SH VIDEO 1-14 shall be deemed

admitted.

       2.     Defendants shall pay all costs and expenses associated with serving the

requests at issue and bringing their motion. Plaintiffs are ordered to submit an itemization

of their costs and expenses to Defendants. If Defendants cannot agree to the amount,


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Plaintiffs shall submit evidence to the Court of the reasonable value of their costs and

expenses.

      Dated ___________________________, 2022.



                                                     _____________________________________
                                                     Hon. Maya Guerra Gamble




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                          Exhibit 1
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 From:            Bradley Reeves
 To:              Mark Bankston
 Cc:              Jacquelyn Blott; Bill Ogden
 Subject:         RE: Discovery service
 Date:            Thursday, January 27, 2022 5:02:18 PM


 Not that I really have to answer your questions, but just for you Mark, I will. The answer is “yes”
 to both of your questions. Did she not testify she had seen the videos? Are you saying she is
 lying? And why does that even matter considering you get another bite at the apple with a
 corporate rep?

 I don’t know why you are being so difficult about this. I have made a simple request, and I really
 shouldn’t have to answer your questions just to have you re-send me a link that should have never
 gone bad in the first place (as you know, I have kept every dropbox link I have sent you alive so
 that you can continue to access the files).

 So, please send a new link with this video production, particularly for Ms. Blott’s benefit, since
 she has taken over as lead counsel and would much prefer to get them directly from you as we
 work to prepare these corporate representatives for the upcoming depositions.

 As always, I appreciate your professionalism, Mark. Please let us know when we can expect to
 receive a new link from you with this additional video production or if you are refusing to do so.

 Best regards,

 Brad Reeves

 From: Mark Bankston <mark@fbtrial.com>
 Sent: Thursday, January 27, 2022 4:31 PM
 To: Bradley Reeves <brad@brtx.law>
 Cc: Jacquelyn Blott <jblott@jblottlaw.com>; Bill Ogden <bill@fbtrial.com>
 Subject: RE: Discovery service

 Before I do anything further, I would like unequivocal answers to the following questions:

 1. It is true that you accessed and viewed these files?

 2. It is true that you showed one or more of these videos to Ms. Karpova?

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP


 From: Bradley Reeves <brad@brtx.law>
 Sent: Thursday, January 27, 2022 2:32 PM
 To: Mark Bankston <mark@fbtrial.com>
 Cc: Jacquelyn Blott <jblott@jblottlaw.com>
 Subject: RE: Discovery service
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 Thank you. Please re-send at your earliest convenience, as I am working with Ms. Blott regarding
 these video files as it pertains to the discovery requests, and I want to ensure I have everything
 correct (the last time I downloaded these, the .zip download became corrupted or unviewable,
 hence why I have asked you to re-send).

 Best regards,

 Brad Reeves

 From: Mark Bankston <mark@fbtrial.com>
 Sent: Tuesday, January 25, 2022 4:36 PM
 To: Bradley Reeves <brad@brtx.law>
 Cc: Jacquelyn Blott <jblott@jblottlaw.com>
 Subject: RE: Discovery service

 I am travelling, but I will arrange another dropbox link when I am back in the office.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP



 From: Bradley Reeves <brad@brtx.law>
 Sent: Monday, January 24, 2022 2:42 PM
 To: Mark Bankston <mark@fbtrial.com>
 Cc: Jacquelyn Blott <jblott@jblottlaw.com>
 Subject: RE: Discovery service

 Mark:

 This dropbox link no longer works. Please re-send.

 Best regards,

 Brad Reeves

 From: Mark Bankston <mark@fbtrial.com>
 Sent: Thursday, December 2, 2021 11:13 PM
 To: Bradley Reeves <brad@brtx.law>
 Subject: Discovery service

 Attached are supplemental expert designations for each plaintiff, along with a set of requests for
 admission and requests for production. I have captioned the discovery for all cases, and the plaintiffs
 are fine with one set of answers.

 Also, below is a link to a dropbox transfer with additional video production:
 https://link.edgepilot.com/s/3e888761/agGz9QCXsEy4j3kXZrXKJA?
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 u=https://www.dropbox.com/t/OFKk8A0FZOThMgo2

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP
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                         Exhibit 2
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 From:            Mark Bankston
 To:              Bradley Reeves
 Subject:         RE: Discovery service
 Date:            Thursday, December 23, 2021 1:03:00 PM


 That’s fine.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP

 From: Bradley Reeves <brad@brtx.law>
 Sent: Thursday, December 23, 2021 12:54 PM
 To: Mark Bankston <mark@fbtrial.com>
 Subject: RE: Discovery service

 Mark:

 I am requesting a 21-day extension of the deadline for these supplemental discovery requests, i.e.,
 from January 3, 2021 to January 24, 2021. Please let me know if you are agreeable to same.

 Thank you.

 Best regards,

 Brad Reeves

 From: Mark Bankston <mark@fbtrial.com>
 Sent: Thursday, December 2, 2021 11:13 PM
 To: Bradley Reeves <brad@brtx.law>
 Subject: Discovery service

 Attached are supplemental expert designations for each plaintiff, along with a set of requests for
 admission and requests for production. I have captioned the discovery for all cases, and the plaintiffs
 are fine with one set of answers.

 Also, below is a link to a dropbox transfer with additional video production:
 https://link.edgepilot.com/s/e8062e18/VL-fCa8mwEK1XG3KYXjK3Q?
 u=https://www.dropbox.com/t/OFKk8A0FZOThMgo2

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP
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                          Exhibit 3
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                              CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                              §          IN THE DISTRICT COURT OF
                                           §
                Plaintiff,                 §
                                           §
                                           §
 v.                                        §               TRAVIS COUNTY, TEXAS
                                           §
                                           §
 ALEX E. JONES, INFOWARS, LLC, FREE        §
 SPEECH SYSTEMS, LLC, AND OWEN             §
 SHROYER                                   §
                                           §               459th JUDICIAL DISTRICT
                Defendants,                §

                              CAUSE NO. D-1-GN-18-001842

 LEONARD POZNER AND                        §          IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA,                     §
                                           §
                Plaintiff,                 §
                                           §
 v.                                        §               TRAVIS COUNTY, TEXAS
                                           §
 ALEX E. JONES, INFOWARS, LLC, AND         §
 FREE SPEECH SYSTEMS, LLC,                 §
                                           §
                Defendants,                §               459th JUDICIAL DISTRICT

                              CAUSE NO. D-1-GN-18-006623

 SCARLETT LEWIS,                           §          IN THE DISTRICT COURT OF
                                           §
                Plaintiff,                 §
                                           §
 v.                                        §               TRAVIS COUNTY, TEXAS
                                           §
 ALEX E. JONES, INFOWARS, LLC, AND         §
 FREE SPEECH SYSTEMS, LLC,                 §
                                           §
                Defendants,                §               459th JUDICIAL DISTRICT

 DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, OBJECTIONS AND RESPONSES
      TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR ADMISSION
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TO:     Plaintiffs, NEIL HESLIN, LEONARD POZNER, VERONIQUE DE LA ROSA, and SCARLETT LEWIS,
        by and through their attorneys of record, Mark Bankston and William Ogden, KASTER LYNCH FARRAR
        & BALL, LLP, 1117 Herkimer Street, Houston, Texas 77008

        Defendant, FREE SPEECH SYSTEMS, LLC, objects and responds to Plaintiffs’ Second Set of Requests for

Admissions as follows:

                                                     Respectfully submitted,

                                                     LAW OFFICE OF JACQUELYN W. BLOTT


                                                     By: _________________________________
                                                             Jacquelyn W. Blott
                                                             SBN: 07473250
                                                             100 University Blvd., Ste. 225 #251
                                                             Round Rock, Texas 78665
                                                             Telephone: (512) 639-9904
                                                             Facsimile: (833) 377-0087
                                                             Email: jblott@jblottlaw.com

                                                             REEVES LAW, PLLC
                                                             Bradley J. Reeves
                                                             SBN: 2406826
                                                             702 Rio Grande St., Suite 203
                                                             Austin, Texas 78701
                                                             Telephone: (512) 827-2246
                                                             Facsimile: (512) 318-2484
                                                             Email: brad@brtx.law

                                                             ATTORNEYS FOR DEFENDANTS
                                                             ALEX JONES, INFOWARS, LLC, and
                                                             FREE SPEECH SYSTEMS, LLC


                                         CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of Defendant Free Speech Systems, LLC’s Objections and
Responses to Plaintiffs’ Second Requests for Admissions was served pursuant to Rule 21a of the Texas Rules of Civil
Procedure on this the 24th day of January 2022 as follows.


Mark Bankston                               Email: mark@fbtrial.com
William Ogden                               Email: bill@fbtrial.com
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, Texas 77008
                                                     ___________________ __ ____ _____
                                                            Jacquelyn W. Blott
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  DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, RESPONSES TO REQUESTS FOR PRODUCTION
                             REGARDING NET WORTH


Request for Admission No. 1: Admit that each of the following videos is a true and accurate copy
of any original video created by Free Speech Systems, LLC.

        Title                                      Date                   Produced As
 1      Connecticut School Massacre Looks Like     December 14, 2012      SH VIDEO 1
        False Flag Says Witness
 2      Creepy Illumaniti Message in Batman        December 17, 2012      F2mRuEhmoGA
        Movie Hints at Sandy Hook School
 3      Sandy Hook 2nd Shooter Cover-Up            December 19, 2012      6W6b-voc-Ds
 4      Sandy Hook Father Remembers Fallen         December 19, 2012      8cZkHDH16nQ
        Hero
 5      Lower Part of Gotham Renamed “Sandy        December 21, 2012      Fus1FbQiU-Q
        Hook” in Dark Knight Film
 6      Callers React to Foreign Media Pushing     January 4, 2013        SH VIDEO 2
        Total Gun Confiscation
 8      Prof. Claims Sandy Hook Massacre           January 10, 2013       D8GxrKJDSL8
        MSM Misinformation
 9      Sandy Hook AR-15 Hoax? Still No            January 15, 2013       Oo74myC3bqY
        School Surveillance Footage
 10     Clearing Up Some Disinfo on Sandy          January 18, 2013       SH VIDEO 3
        Hook Massacre with James Tracy
 11     Why People Think Sandy Hook is a           January 27, 2013       tM5ZdO-IgEE
        Hoax
 12     Dr. Steve Pieczenik: Sandy Hook was A      March 27, 2013         5EfyD7Wu5fQ
        Total False Flag!
 13     Crisis Actors Used at Sandy Hook!          April 1, 2013          shQSVhS0hLw
        Special Report
 14     Obama Gun Grab Psyop                       April 9, 2013          SH VIDEO 4
 15     Shadow Govt Strike Again                   April 16, 2013         SH VIDEO 5
 16     Sandy Hook Police Ordered to Stand         November 23, 2013      xP9fhKUaudo
        Down?
 17     Sandy Hook Investigator Stonewalled        February 20, 2014      oGpWtqiSCY
        and Threatened
 18     Sandy Hook, False Narratives Vs. The       March 14, 2014         esIvAO2aI1w
        Reality
 19     Revealed: Sandy Hook Truth Exposed         May 9, 2014             rSLOWCHNdw
 20     Sandy Hook “Officials” Caught in           May 13, 2014           MH6hmI1H-iQ
        Coverup and Running Scared
 21     Bombshell: Sandy Hook Massacre Was a       May 13, 2014           x2a1FwYEZS4
        DHS Illusion Says School Safety Expert
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 22    Sandy Hook Deaths Missing From FBI        September 25, 2014   A2Z0zUZBn7k
       Report
 23    Sandy Hook Film Censorship Efforts        December 12, 2014    4T8_WYzH5SM
       Backfire
 24    The Ultimate Sandy Hook Debate As         December 12, 2014    6aK0P-WxjU8
       The 2nd Anniversary Looms
 25    Will Bushmaster Lawsuit Reveal Sandy      December 16, 2014    BFyDqDLAcLQ
       Hook Hoax?
 26    Lawsuit Could Reveal Truth About          December 27, 2014    kK8CnIBA928
       Sandy Hook Massacre
 27    America the False Democracy               December 18, 2014    SH VIDEO 6
 28    Why We Accept Govt Lies                   January 13, 2015     SH VIDEO 7
 29    Title Unknown – Video discussing          February 12, 2015    SH VIDEO 8
       HONR Network
 30    New Bombshell Sandy Hook Information      March 4, 2015        _7ib5WkULBY
       In-Bound
 31    New Sandy Hook Questions Arise from       May 29, 2015         5cll79t7Mrw
       FOIA Hearing
 32    Sandy Hook: The Lies Keep Growing         May 29, 2015         Ml3KVj2nVRA
 33    School Administrator Exposes Sandy        May 29, 2015         SO8Xb-t4nT4
       Hook Stonewall
 34    Official Claims DHS Involved in Sandy     June 4, 2015         BWsbyH2Wa0E
       Hook
 35    Govt is Manufacturing Crises              July 7, 2015         SH VIDEO 9
 36    Retired FBI Agent Investigates Sandy      July 7, 2015         jCOe3qIgyFA
       Hook: MEGA MASSIVE COVER UP
 37    The Fight for Freedom of Information in   July 8, 2015         l0miXJ-djeA
       Sandy Hook
 38    Alex Jones Final Statement on Sandy       November 18, 2016    MwudDfz1yAk
       Hook
 39    Hunt for Wikileaks Source Begins          March 8, 2017        SH VIDEO 10
 40    Sandy Hook Vampires Exposed               April 22, 2017       rUn1jKhWTXI
 41    Media Refuses to Report Alex Jones’       June 13, 2017        kf2F7RxJ9e4
       Real Statements on Sandy Hook
 42    Zero Hedge Discovers Anomaly in Alex      June 26, 2017        SH VIDEO 11
       Jones Hit Piece
 43    JFK Assassination Documents to DROP       October 26, 2017     SH VIDEO 12
       Tonight
 44    Watch as Megyn Kelly Opens Old            April 20, 2018       uQkAJykqyeo
       Wounds Of Sandy Hook Victims

OBJECTION:

Defendant objects that it is unable to comply with the discovery request because Defendant
cannot admit or deny the genuineness of the videos as the same were not attached to the
Second Request for Admissions.
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Response:

Subject to the foregoing objection, Defendant answers as follows:

Defendant admits that the following video clips and/or broadcast videos were published and
distributed over the internet by Defendant and videotapes bearing these file names were
produced to Plaintiffs.

Defendant denies that the video clips and/or broadcast videos are copies of the original
broadcasts.
                         Title                          Date            Produced By
                                                                        Defendant As
 2      Creepy Illumaniti Message in Batman      December 17, 2012    F2mRuEhmoGA
        Movie Hints at Sandy Hook School
 3      Sandy Hook 2nd Shooter Cover-Up          December 19, 2012    6W6b-voc-Ds
 4      Sandy Hook Father Remembers Fallen       December 19, 2012    8cZkHDH16nQ
        Hero
 5      Lower Part of Gotham Renamed “Sandy      December 21, 2012    Fus1FbQiU-Q
        Hook” in Dark Knight Film
 8      Prof. Claims Sandy Hook Massacre         January 10, 2013     D8GxrKJDSL8
        MSM Misinformation
 9      Sandy Hook AR-15 Hoax? Still No          January 15, 2013     Oo74myC3bqY
        School Surveillance Footage
 11     Why People Think Sandy Hook is a         January 27, 2013     tM5ZdO-IgEE
        Hoax
 12     Dr. Steve Pieczenik: Sandy Hook was A    March 27, 2013       5EfyD7Wu5fQ
        Total False Flag!
 13     Crisis Actors Used at Sandy Hook!        April 1, 2013        shQSVhS0hLw
        Special Report
 16     Sandy Hook Police Ordered to Stand       November 23, 2013    xP9fhKUaudo
        Down?
 17     Sandy Hook Investigator Stonewalled      February 20, 2014    oGpWtqiSCY
        and Threatened
 18     Sandy Hook, False Narratives Vs. The     March 14, 2014       esIvAO2aI1w
        Reality
 19     Revealed: Sandy Hook Truth Exposed       May 9, 2014           rSLOWCHNdw
 20     Sandy Hook “Officials” Caught in         May 13, 2014         MH6hmI1H-iQ
        Coverup and Running Scared
 21     Bombshell: Sandy Hook Massacre Was a     May 13, 2014         x2a1FwYEZS4
        DHS Illusion Says School Safety Expert
 22     Sandy Hook Deaths Missing From FBI       September 25, 2014   A2Z0zUZBn7k
        Report
 23     Sandy Hook Film Censorship Efforts       December 12, 2014    4T8_WYzH5SM
        Backfire
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                          Title                            Date             Produced By
                                                                            Defendant As
 24     The Ultimate Sandy Hook Debate As          December 12, 2014      6aK0P-WxjU8
        The 2nd Anniversary Looms
 25     Will Bushmaster Lawsuit Reveal Sandy       December 16, 2014      BFyDqDLAcLQ
        Hook Hoax?
 26     Lawsuit Could Reveal Truth About           December 27, 2014      kK8CnIBA928
        Sandy Hook Massacre
 30     New Bombshell Sandy Hook Information       March 4, 2015          _7ib5WkULBY
        In-Bound
 31     New Sandy Hook Questions Arise from        May 29, 2015           5cll79t7Mrw
        FOIA Hearing
 32     Sandy Hook: The Lies Keep Growing          May 29, 2015           Ml3KVj2nVRA
 33     School Administrator Exposes Sandy         May 29, 2015           SO8Xb-t4nT4
        Hook Stonewall
 34     Official Claims DHS Involved in Sandy      June 4, 2015           BWsbyH2Wa0E
        Hook
 36     Retired FBI Agent Investigates Sandy       July 7, 2015           jCOe3qIgyFA
        Hook: MEGA MASSIVE COVER UP
 37     The Fight for Freedom of Information in    July 8, 2015           l0miXJ-djeA
        Sandy Hook
 38     Alex Jones Final Statement on Sandy        November 18, 2016      MwudDfz1yAk
        Hook
 39     Hunt for Wikileaks Source Begins           March 8, 2017          SH VIDEO 10
 40     Sandy Hook Vampires Exposed                April 22, 2017         rUn1jKhWTXI
 41     Media Refuses to Report Alex Jones’        June 13, 2017          kf2F7RxJ9e4
        Real Statements on Sandy Hook
 44     Watch as Megyn Kelly Opens Old             April 20, 2018         uQkAJykqyeo
        Wounds Of Sandy Hook Victims

Defendant is unable to comply with the discovery request as it relates to the following because
Defendant cannot admit or deny that the videos are true and accurate copies of any original
video created by Free Speech Systems, LLC as Plaintiffs failed to provide a copy of the
videos.

Defendant will comply with the request if and when the videos are provided by Plaintiffs.
        Title                                      Date                   Produced As
 1      Connecticut School Massacre Looks Like     December 14, 2012      SH VIDEO 1
        False Flag Says Witness
 6      Callers React to Foreign Media Pushing     January 4, 2013        SH VIDEO 2
        Total Gun Confiscation
 10     Clearing Up Some Disinfo on Sandy          January 18, 2013       SH VIDEO 3
        Hook Massacre with James Tracy
 14     Obama Gun Grab Psyop                       April 9, 2013          SH VIDEO 4
 15     Shadow Govt Strike Again                   April 16, 2013         SH VIDEO 5
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        Title                                      Date                   Produced As
 27     America the False Democracy                December 18, 2014      SH VIDEO 6
 28     Why We Accept Govt Lies                    January 13, 2015       SH VIDEO 7
 29     Title Unknown – Video discussing           February 12, 2015      SH VIDEO 8
        HONR Network
 35     Govt is Manufacturing Crises               July 7, 2015           SH VIDEO 9
 39     Hunt for Wikileaks Source Begins           March 8, 2017          SH VIDEO 10
 42     Zero Hedge Discovers Anomaly in Alex       June 26, 2017          SH VIDEO 11
        Jones Hit Piece
 43     JFK Assassination Documents to DROP        October 26, 2017       SH VIDEO 12
        Tonight

Request for Admission No. 2: Admit that the video produced as SH VIDEO 13 is a true and
accurate copy of the June 19, 2017 profile of Alex Jones hosted by Megyn Kelly.

OBJECTION:

Defendant is unable to comply with the discovery request because Defendant cannot admit
or deny that the video is a true and correct of any original video created by Free Speech
Systems, LLC as Plaintiffs failed to provide a copy of the videos.

Response:

Defendant will comply with the request if and when the video is provided by Plaintiffs.

Request for Admission No. 3: Admit that the video produced as SH VIDEO 14 is a true and
accurate copy of Veronique De La Rosa’s alleged green-screen interview with Anderson.

OBJECTION:

Defendant is unable to comply with the discovery request because Defendant cannot admit
or deny that the video is a true and correct of any original video created by Free Speech
Systems, LLC as Plaintiffs failed to provide a copy of the videos.

Response:

Defendant will comply with the request if and when the video is provided by Plaintiffs.

Request for Admission No. 4: Admit that each of the following documents identified by Bates
number is a true and accurate copy of a genuine original document in Free Speech Systems, LLC’s
corporate files:

FSSTX-003561
FSSTX-003653
FSSTX-004181
FSSTX-005008
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FSSTX-012516
FSSTX-012519
FSSTX-012650
FSSTX-012675
FSSTX-013639
FSSTX-014466
FSSTX-015270
FSSTX-018756
FSSTX-018762
FSSTX-019237
FSSTX-027752
FSSTX-027766
FSSTX-028423
FSSTX-037204
FSSTX-037740
FSSTX-038175
FSSTX-038928
FSSTX-039429
FSSTX-039550
FSSTX-039897
FSSTX-040027
FSSTX-040802
FSSTX-042477
FSSTX-042462
FSSTX-042476
FSSTX-043252
FSSTX-043869
FSSTX-043912
FSSTX-051348
FSSTX-052942
FSSTX-052975
FSSTX-053016
FSSTX-053394
FSSTX-068265
FSSTX-072489
FSSTX-075327
FSSTX-075755
FSSTX-075784
FSSTX-075922
FSSTX-075936
FSSSTX-075999
FSSTX-076069
FSSTX-076105
FSSTX-076236
FSSTX-076571
FSSTX-076588
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FSSTX-077006
FSSTX-077014
FSSTX-077076
FSSTX-077501
FSSTX-077825
FSSTX-078964
FSSTX-079481
FSSTX-079546
FSSTX-082669 – FSSTX-082812
FSSTX-084601
FSSTX-085544
FSSTX-085731 – FSSTX-086492
FSSTX-086569 – FSSTX-086583
FSSTX-086588
FSSTX-086589
Heslin (19-4651) – 000125
Heslin (19-4651) – 000166
Heslin (19-4651) – 000627
Heslin (19-4651) – 000661
Heslin (19-4651) – 000712
Heslin (19-4651) – 000719
Heslin (19-4651) – 000766
Heslin (19-4651) – 000862
Heslin (19-4651) – 000873

OBJECTION:

Defendant objects to the use of the term “corporate files” as the same is vague and
ambiguous.

Response:

To the extent that Plaintiffs are requesting Defendant to admit that these documents are kept
in the course of the regularly conducted business activity of Defendant, DENIED.

Request for Admission No. 5: Admit that during the October 1, 2021 episode of the Alex Jones
Show, Mr. Jones stated the following:

              Just like the New York Times lying about WMDs on purpose and all of the evil
              things like that – oh, but I questioned one of the big events they hyped up because
              of a lot of anomalies, and I have a right to question that. In fact, I, for a while,
              thought it didn’t happen, then I thought it probably did, and now seeing how
              synthetic everything is, maybe my original instinct – maybe Alex Jones is always
              right. I’m pretty much right 99% of the time folks, and so are you. I mean we all
              know, this is easy to look at and see what’s happening.
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Response:

Admit
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 From:            Jacquelyn Blott
 To:              Mark Bankston
 Cc:              Bill Ogden
 Subject:         RE: Requests for Admissions
 Date:            Thursday, January 27, 2022 1:34:11 PM


 I was misinformed about Plaintiffs’ production of the videos as well as the other
 documents you provided with the Requests for Admissions. I have spoken with Mr.
 Reeves and emailed him that portion of your email saying that he had produced them
 on December 2, 2021. He is searching but has yet to find videos labeled SH Videos.

 I have not accused anyone in this case of malpractice and don’t have an opinion in
 that regard either way. It is a waste of energy. My focus is from the date I undertook
 to represent the Defendants (some 14 days ago) and moving forward.




 From: Mark Bankston <mark@fbtrial.com>
 Sent: Thursday, January 27, 2022 1:14 PM
 To: Jacquelyn Blott <jblott@jblottlaw.com>
 Cc: Bill Ogden <bill@fbtrial.com>
 Subject: RE: Requests for Admissions

 I’m not sure why you’ve removed Mr. Reeves from this email, but I have left him off, following your
 lead. I assume it’s because you’ve accused him of malpractice.

 In any case, I again need to confirm your position. It appears you are saying that the reason you
 falsely represented in your discovery answers that Plaintiffs failed to provide the videos is because
 Mr. Reeves misinformed you. Is that correct?

 Also, before we file our motion with the Court, I want to confirm that you have no response to Ms.
 Karpova’s testimony which seems to prove that Mr. Reeves in fact possessed a copy of SH VIDEO 12.
 Is that also correct?

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP


 From: Jacquelyn Blott <jblott@jblottlaw.com>
 Sent: Thursday, January 27, 2022 6:14 AM
 To: Mark Bankston <mark@fbtrial.com>
 Subject: RE: Requests for Admissions

 Mr. Bankston:

 Your assumptions are incorrect. When I asked Mr. Reeves if they had been served
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 with the discovery requests, I was misinformed. I did not notice your email that was
 below his email to you.   I expended considerable time including time of others trying
 to track down the videos that were labeled as “SH Video….” to no avail and the
 search continues. The videos on our index have as file names alphanumeric file
 names. In the interim, Connecticut counsel is looking to identify the videos marked
 with the prefix SH VIDEO to the alphanumeric names. I will amend the response the
 earlier of receiving the identifying information from Connecticut counsel or I receive
 the link to the Dropbox.

 With Respect to Request for Admission No. 4, your request asks Free Speech
 Systems, LLC to admit whether the documents are “true and accurate copies of a
 genuine original document in Free Speech Systems, LLC’s corporate files. You
 state, We served a standard authentication request that these documents are
 genuine copies produced from Free Speech Systems’ files. I am amending the
 Admissions to reflect those documents that are contained in FSS’ files and admit the
 authenticity of those that are not (e.g. the deposition and trial transcript from Mr.
 Jones’ divorce).

 Connecticut counsel received Mr. Shroyer’s deposition transcript in the Connecticut
 proceedings and Plaintiffs’ First Supplemental Objections and Responses to Plaintiffs’
 3rd Request for Production were served via eFile Texas using the Heslin cause
 number. Please advise if there were any issues with the receiving same.

 Best regards,

 Jacquelyn W. Blott

 From: Mark Bankston <mark@fbtrial.com>
 Sent: Tuesday, January 25, 2022 4:31 PM
 To: Bradley Reeves <brad@brtx.law>
 Cc: Jacquelyn Blott <jblott@jblottlaw.com>; Bill Ogden <bill@fbtrial.com>
 Subject: Requests for Admissions

 Ms. Blott,

 I need to confer about several issues with the responses you served yesterday.

 As it concerns Plaintiffs’ Request for Admission 1-3, you stated that “Defendant is unable to comply
 with the discovery request…as Plaintiffs failed to provide a copy of the videos.” That is a false
 statement to which you made with no reasonable inquiry. As shown in the email below, the videos
 were provided to Defendants on December 2, 2021 at the same time at the discovery requests.
 Collectively, those videos are nearly four gigabytes and cannot be maintained on our Dropbox
 account indefinitely. Therefore, the files were sent using a Dropbox transfer link, which has since
 expired.

 Apparently, Mr. Reeves never even downloaded the files. And as Mr. Reeves noted in yesterday’s
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 email, the download link no longer works. But Plaintiffs absolutely provided copies of the videos. And
 it’s obvious there was never any genuine effort to respond (even after being granted an extension)
 since the first time Mr. Reeves raised any issue about not having the videos was on the day your
 responses were due. This turn of events is ridiculous, and I’m positive the Court would feel the same
 way.

 As it concerns Plaintiffs’ Request for Admission No. 4, we requested admissions concerning
 authenticity. This kind of request is specifically authorized by Rule 198.1, which permits a request for
 admission for the genuineness of any documents. In response, you completely evaded the question,
 refused to admit or deny authenticity, and instead responded by disclaiming the hearsay exception
 under Rule 803(6) that the documents were kept in the course of the regularly conducted business.
 Our request had nothing to do with hearsay, nor do we care about hearsay exceptions since none of
 these documents would ever be offered for the truth of the matters asserted within. Quite to
 contrary, in fact. Instead, we served a standard authentication request that these documents are
 genuine copies produced from Free Speech Systems’ files. You unreasonably evaded that simple,
 routine request.

 We demand that you withdraw your false and frivolous answers, and that you serve new responses
 admitting authenticity of all matters. Otherwise, we will move the Court to assess sanctions for your
 unreasonable responses, deem the requests admitted, and award all costs. Given the effort required
 to organize, prepare, and serve this video and document related discovery, not to mention a motion
 and eventual hearing, we expect those costs would be rather extensive.

 Finally, we have concerns over what appear to be contradictions between your responses and the
 testimony given by Ms. Karpova on December 3, 2021. During her deposition, Ms. Karpova testified
 that she had been shown certain videos during the break, such as the following:

         Q.      This talks about an October 26, 2017 video called "JFK
                 Assassination Documents to Drop Tonight." Is that another one
                 that you just looked at at the break?
         A.      Yes. (136:22-137:1).

 That video was produced by Plaintiffs on December 2, 2021 as “SH VIDEO 12.” It was never produced
 by Defendants, and we have no record of ever producing it on any prior occasion. Let me know if I’m
 incorrect, because otherwise this is a major discrepancy in your responses. At present, we do not
 understand how Mr. Reeves was able to show Ms. Karpova the video if he did not have access to “SH
 VIDEO 12.”

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP



 From: Bradley Reeves <brad@brtx.law>
 Sent: Monday, January 24, 2022 2:42 PM
 To: Mark Bankston <mark@fbtrial.com>
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 Cc: Jacquelyn Blott <jblott@jblottlaw.com>
 Subject: RE: Discovery service

 Mark:

 This dropbox link no longer works. Please re-send.

 Best regards,

 Brad Reeves

 From: Mark Bankston <mark@fbtrial.com>
 Sent: Thursday, December 2, 2021 11:13 PM
 To: Bradley Reeves <brad@brtx.law>
 Subject: Discovery service

 Attached are supplemental expert designations for each plaintiff, along with a set of requests for
 admission and requests for production. I have captioned the discovery for all cases, and the plaintiffs
 are fine with one set of answers.

 Also, below is a link to a dropbox transfer with additional video production:
 https://link.edgepilot.com/s/3e888761/agGz9QCXsEy4j3kXZrXKJA?
 u=https://www.dropbox.com/t/OFKk8A0FZOThMgo2

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP
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                                                                                      District Clerk
                                                                                     Travis County
                                                                                 D-1-GN-18-001835
                                                                                       Alexus Rodriguez
                               D-1-GN-18-001835
 NEIL HESLIN and                            §                   IN DISTRICT COURT OF
 SCARLETT LEWIS                             §
                                            §                  TRAVIS COUNTY, TEXAS
 VS.                                        §
                                            §                    261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,              §
 FREE SPEECH SYSTEMS, LLC, and              §
 OWEN SHROYER                               §



           NOTICE OF FILING OF DECLARATION ON ATTORNEY’S FEES


       Plaintiffs hereby file the attached Declaration setting forth attorney’s fees and

expenses in connection with their Motion for Sanctions Regarding Written Discovery.

                                         Respectfully submitted,

                                         KASTER LYNCH FARRAR & BALL, LLP


                                         ____________________________________
                                         MARK D. BANKSTON
                                         State Bar No. 24071066
                                         WILLIAM R. OGDEN
                                         State Bar No. 24073531
                                         1117 Herkimer
                                         Houston, Texas 77008
                                         713.221.8300 Telephone
                                         713.221.8301 Fax
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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 8, 2022 the forgoing document was served
upon all counsel of record via electronic service.




                                     ____________________________________
                                     MARK D. BANKSTON
22-01023-tmd Doc#1-16 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                        DECLARATION OF MARK BANKSTON

STATE OF TEXAS §
               §
HARRIS COUNTY §

   I, Mark Bankston, declare under penalty of perjury that the following declaration is true and

correct and based upon my personal knowledge:

   1.    My name is Mark Bankston. I am a partner at Kaster Lynch Farrar & Ball, LLP. I am
         over the age of 21 and competent to make this declaration.

   2.    As a civil litigator, I have twelve years of experience in handling tort lawsuits. I have
         tried more than a dozen injury lawsuits to a jury. I have represented scores of clients in
         over twenty different states in connection with various product liability, civil rights,
         employment, and negligence cases in state and federal court. I have also represented
         plaintiffs in over a dozen appellate victories at the state and federal level.

   3.    I have recounted my credentials and accolades in numerous prior declarations to this
         Court, so I will not repeat them here, but instead ask the Court to take judicial notice of
         its own file and prior fee awards.

   4.    My professional rate for the kind of work performed in this case is $550 per hour, and I
         have previously been awarded fees at that rate in this Court.

   5.    The InfoWars lawsuits pending in this Court require an attorney who is both capable
         and willing to handle this unusually demanding, extraordinarily high-profile litigation.
         This lawsuit involves complicated legal and evidentiary issues which require an attorney
         of a high level of competence.

   6.    I am personally familiar with the rates charged by other attorneys of my experience and
         professional background in this locality, as well as rates charged by attorneys in high-
         profile defamation lawsuits, and it is my opinion that $550 per hour is a reasonable rate
         for the work necessary in connection with these motions.

   7.    The following legal services were rendered in connection with Ms. Lewis’ and Mr.
         Heslin’s Motions:




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      Scarlett Lewis’ Motion to Compel and Motion for Sanctions, filed September 15, 2021

            This brief was 5 pages long with 15 pages of exhibits. The brief summarized the
            post-remand discovery served by Ms. Lewis, as well as the dispute over
            Defendants’ inadequate answers.

            I spent 2 hours reviewing the record, and I spent 4 hours writing and editing the
            brief. In total, the reasonable value of this time at $550/hour is $3,300.

      Neil Heslin’s Motion to Compel and Motion for Sanctions, filed September 15, 2021

            This brief was 9 pages long with 30 pages of exhibits. The brief summarized the
            post-remand discovery served by Mr. Heslin, as well as the dispute over
            Defendants’ inadequate answers. I was able to use some of the material from Ms.
            Lewis’ motion.

            I spent 1 hour reviewing the record, and I spent 5.5 hours writing and editing the
            brief. In total, the reasonable value of this time at $550/hour is $3,575.

      Defendants’ Response to Scarlett Lewis’ Motion to Compel, filed September 22, 2021

            Defendants’ Response was 13 pages long with 10 pages of exhibits. I spent 1.5
            hours reviewing this Response and taking notes on the legal arguments and facts
            alleged. The reasonable value of this time at $550/hour is $825.

      Defendants’ Response to Neil Heslin’s Motion to Compel, filed September 22, 2021

            Defendants’ Response was 22 pages long with 23 pages of exhibits. I spent 2.5
            hours reviewing this Response and taking notes on the legal arguments and facts
            alleged. The reasonable value of this time at $550/hour is $1,375.

      Creation of PowerPoint Presentation, October 18-23, 2021

            I created a 45-slide presentation setting forth these discovery disputes and
            Defendants’ bad faith obstruction. I spent 12 hours creating this presentation. The
            reasonable value of his time at $550/hour is $6,600.

      Preparation for Hearing, October 23-24, 2021

            I spent 5 hours preparing for the hearing. The reasonable value of his time at
            $550/hour is $2,750.

      Time in the Hearing, October 25, 2021

            I spent 1 hour arguing the motions. The reasonable value of this time at $550/hour
            is $550.

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        Meet and Confer Correspondence, July-August 2021

              I spent 1.5 hours drafting, reading, and responding to the correspondences with
              Defendants’ counsel relating to this motion. The reasonable value of this time at
              $550/hour is $825.

        Drafting Discovery Requests, served July 13, 2021

              I spent 2.5 hours drafting the post-remand discovery to the three defendants. The
              reasonable value of this time at $550/hour is $1,375.

   8.     I provided a total of 38.5 hours of legal services. At $550 per hour, the value of those
          services is $21,175.


   Executed on January 26, 2022 in Harris County, Texas.




                                            ____________________________________
                                            MARK D. BANKSTON




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                                                                                       District Clerk
                                                                                      Travis County
                                                                                   D-1-GN-18-001835
                               D-1-GN-18-001835                                       Selina Hamilton

 NEIL HESLIN and                            §                   IN DISTRICT COURT OF
 SCARLETT LEWIS                             §
                                            §                  TRAVIS COUNTY, TEXAS
 VS.                                        §
                                            §                    261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,              §
 FREE SPEECH SYSTEMS, LLC, and              §
 OWEN SHROYER                               §

                               D-1-GN-18-001842
 LEONARD POZNER AND                         §                   IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                       §
                                            §                  TRAVIS COUNTY, TEXAS
 VS.                                        §
                                            §                    345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,              §
 and FREE SPEECH SYSTEMS, LLC               §


           NOTICE OF FILING OF DECLARATION ON ATTORNEY’S FEES


       Plaintiffs hereby file the attached Declaration setting forth attorney’s fees and

expenses in connection with their Motion for Sanctions Regarding Corporate Deposition.

                                         Respectfully submitted,

                                         KASTER LYNCH FARRAR & BALL, LLP


                                         ____________________________________
                                         MARK D. BANKSTON
                                         State Bar No. 24071066
                                         WILLIAM R. OGDEN
                                         State Bar No. 24073531
                                         1117 Herkimer
                                         Houston, Texas 77008
                                         713.221.8300 Telephone
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                                     713.221.8301 Fax




                           CERTIFICATE OF SERVICE

      I hereby certify that on February 8, 2022 the forgoing document was served
upon all counsel of record via electronic service.




                                     ____________________________________
                                     MARK D. BANKSTON
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                        DECLARATION OF MARK BANKSTON

STATE OF TEXAS §
               §
HARRIS COUNTY §

   I, Mark Bankston, declare under penalty of perjury that the following declaration is true and

correct and based upon my personal knowledge:

   1.    My name is Mark Bankston. I am a partner at Kaster Lynch Farrar & Ball, LLP. I am
         over the age of 21 and competent to make this declaration.

   2.    As a civil litigator, I have twelve years of experience in handling tort lawsuits. I have
         tried more than a dozen injury lawsuits to a jury. I have represented scores of clients in
         over twenty different states in connection with various product liability, civil rights,
         employment, and negligence cases in state and federal court. I have also represented
         plaintiffs in over a dozen appellate victories at the state and federal level.

   3.    I have recounted my credentials and accolades in numerous prior declarations to this
         Court, so I will not repeat them here, but instead ask the Court to take judicial notice of
         its own file and prior fee awards.

   4.    My professional rate for the kind of work performed in this case is $550 per hour, and I
         have previously been awarded fees at that rate in this Court.

   5.    The InfoWars lawsuits pending in this Court require an attorney who is both capable
         and willing to handle this unusually demanding, extraordinarily high-profile litigation.
         This lawsuit involves complicated legal and evidentiary issues which require an attorney
         of a high level of competence.

   6.    I am personally familiar with the rates charged by other attorneys of my experience and
         professional background in this locality, as well as rates charged by attorneys in high-
         profile defamation lawsuits, and it is my opinion that $550 per hour is a reasonable rate
         for the work necessary in connection with these motions.

   7.    The following legal services were rendered in connection with the recent corporate
         deposition and Plaintiffs’ Motion for Sanctions:




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      Arranging Deposition, October – November 2021

             I spent 3.5 hours corresponding with Defendants, scheduling and arranging the
             deposition, as well as selecting topics to be used in the deposition and preparing the
             notice and amended notice. The reasonable value of this time at $550/hour is
             $1,925.

      Preparation for the Deposition of Free Speech Systems, LLC, November 2021

             I spent 28 hours preparing for the deposition of Free Speech Systems, LLC. The
             reasonable value of this time at $550/hour is $15,400.

      Travel – Houston to Austin, December 1, 2021

             I spent 3 hours travelling from Houston to Austin to take the deposition. The
             reasonable value of this time at $550/hour is $1,650.

      Deposition of Free Speech Systems, December 3, 2021

             I spent 6.5 hours taking the deposition of Free Speech Systems, LLC. The
             reasonable value of this time at $550/hour is $3,575.

      Travel – Austin to Houston, December 4, 2021

             I spent 3 hours travelling home to Houston following the deposition. The reasonable
             value of this time at $550/hour is $1,650.

      Plaintiffs’ Motion for Sanctions, filed December 27, 2021

             This brief was 42 pages long with 488 pages of exhibits. The brief outlined the
             history of non-appearances at corporate depositions and outlined the deficient
             nature of the December 3, 2021 deposition. I spent 32 hours writing and editing the
             brief. In total, the reasonable value of this time at $550/hour is $17,600.

      Editing of Deposition Video, December 29-30, 2021

             To help argue the motion to the Court, I spent 5 hours compiling and editing a ten-
             minute compilation of Ms. Karpova’s testimony from the original deposition video.
             The reasonable value of this time at $550/hour is $2,750.

      Defendants’ Response to Scarlett Lewis’ Motion to Compel, filed January 7, 2021

             Defendants’ Response was 9 pages long with 10 pages of exhibits. I spent 1.5 hours
             reviewing this Response and taking notes on the legal arguments and facts alleged.
             The reasonable value of this time at $550/hour is $825.



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         Creation of PowerPoint Presentation, January 8-11, 2021

               I created a PowerPoint presentation setting forth the history of the corporate
               deposition discovery disputes and Defendants’ bad faith obstruction of the latest
               deposition. I spent 12 hours creating this presentation. The reasonable value of this
               time at $550/hour is $4,950.

         Preparation for Hearing, January 13, 2021

               I spent 6 hours preparing for the hearing. The reasonable value of this time at
               $550/hour is $3,300.

         Time in the Hearing, October 25, 2021

               I spent 2 hours arguing the motions. The reasonable value of this time at $550/hour
               is $1,100.

   8.      I provided a total of 102.5 hours of legal services. At $550 per hour, the value of those
           services is $56,375.

   9.      Plaintiffs also incurred the following expenses for the corporate representative
           deposition:


              Hotel Expense                                                   $265.00
              Court Reporting / Transcript Expenses                         $2,795.00
              Videographer / Video Delivery Expenses                        $1,310.00
              Total                                                         $4,370.00


   10.     The total value of legal services and expenses is $60,745.


   Executed on January 26, 2022 in Harris County, Texas.




                                              ____________________________________
                                              MARK D. BANKSTON




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                                                                                             District Clerk
                                                                                            Travis County
                              NO. D-1-GN-18-001835                                       D-1-GN-18-001835
                                                                                           Nancy Rodriguez
 NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                   Plaintiff,            §
 v.                                      §            TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,           §
 FREE SPEECH SYSTEMS, LLC, and           §
 OWEN SHROYER,                           §
                   Defendants.           §             345th JUDICIAL DISTRICT


                               D-1-GN-18-001842
 LEONARD POZNER AND                     §                  IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA                   §
                   Plaintiffs,          §
 v.                                     §                      TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,          §
 and FREE SPEECH SYSTEMS, LLC,          §
                   Defendants.          §                      345th JUDICIAL DISTRICT


                               D-1-GN-18-006623
 SCARLETT LEWIS                         §                  IN THE DISTRICT COURT OF
                   Plaintiff,           §
 v.                                     §                      TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,          §
 and FREE SPEECH SYSTEMS, LLC,          §
                   Defendants.          §                      345th JUDICIAL DISTRICT


         NOTICE OF DEPOSITION OF CORPORATE REPRESENTATIVE


TO:    Plaintiffs, NEAL HESLIN, LEONARD POZNER, VERONIQUE DE LA ROSA, and
       SCARLETT LEWIS, by and through their attorneys of record, Mark Bankston and
       William Ogden, KASTER LYNCH FARRAR & BALL, LLP, 1117 Herkimer Street,
       Houston, Texas 77008
       Defendant, FREE SPEECH SYSTEMS, LLC, designates the following individual as the

corporate representative pursuant to Rule 199.2 of the Texas Rules of Civil Procedure:
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                                        Brittany Paz
                                 4 Research Drive, Suite 402
                                 Shelton, Connecticut 06484
                                  Telephone: (203)242-3013

Ms. Paz will testify as to all topics in Plaintiffs’ Notice of Taking the Oral and Videotaped

Deposition of Free Speech Systems, LLC’s Corporate Representative(s) dated January 26, 2022.

                                           Respectfully submitted,
                                           LAW OFFICE OF JACQUELYN W. BLOTT



                                           By: __________________________ ______
                                                  Jacquelyn W. Blott
                                                  SBN: 07473250
                                                  100 University Blvd., Ste. 225 #251
                                                  Round Rock, Texas 78665
                                                  Telephone: (512) 639-9904
                                                  Facsimile: (833) 377-0087
                                                  Email: jblott@jblottlaw.com

                                                  REEVES LAW, PLLC
                                                  Bradley J. Reeves
                                                  SBN: 2406826
                                                  702 Rio Grande St., Suite 203
                                                  Austin, Texas 78701
                                                  Telephone: (512) 827-2246
                                                  Facsimile: (512) 318-2484
                                                  Email: brad@brtx.law

                                                  ATTORNEYS FOR DEFENDANTS
                                                  ALEX JONES, OWEN SHROYER,
                                                  INFOWARS, LLC, and FREE SPEECH
                                                  SYSTEMS, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Defendant Free Speech Systems, LLC’s First
Supplemental Objections and Responses to Third Set of Requests for Production was served
pursuant to Rule 21a of the Texas Rules of Civil Procedure on this the 9th day of February 2022 as
follows.

Mark Bankston                                Email: mark@fbtrial.com
William Ogden                                Email: bill@fbtrial.com
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, Texas 77008
                                             ___________________ ___ ________
                                                   Jacquelyn W. Blott




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                                                                                    Velva L. Price
                                                                                    District Clerk
                                                                                   Travis County
                               CAUSE NO. D-1-GN-18-001835                       D-1-GN-18-001835
                                                                                 Gilberto Diaz Rios

  NEIL HESLIN,                              §         IN THE DISTRICT COURT OF
                                            §
                  Plaintiff,                §
                                            §
  v.                                        §           TRAVIS COUNTY, TEXAS
                                            §
  ALEX E. JONES, INFOWARS, LLC,             §
  FREE SPEECH SYSTEMS, LLC, AND             §
  OWEN SHROYER                              §
                                            §
                  Defendants,               §               459th JUDICIAL DISTRICT

                               CAUSE NO. D-1-GN-18-006623

 SCARLETT LEWIS,                            §          IN THE DISTRICT COURT OF
                                            §
                 Plaintiff,                 §
                                            §
 v.                                         §                TRAVIS COUNTY, TEXAS
                                            §
 ALEX E. JONES, INFOWARS, LLC, AND          §
 FREE SPEECH SYSTEMS, LLC,                  §
                                            §
                 Defendants,                §                459th JUDICIAL DISTRICT

                               CAUSE NO. D-1-GN-18-001842

 LEONARD POZNER AND                         §          IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA,                      §
                                            §
                 Plaintiff,                 §
                                            §
 v.                                         §                TRAVIS COUNTY, TEXAS
                                            §
 ALEX E. JONES, INFOWARS, LLC, AND          §
 FREE SPEECH SYSTEMS, LLC,                  §
                                            §
                 Defendants,                §                459th JUDICIAL DISTRICT


            UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL
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       Pursuant to Rule 10 of the Texas Rules of Civil Procedure, the undersigned, Bradley

Reeves of REEVES LAW, PLLC, one of the counsels for Defendants in the above-captioned matters,

brings this Unopposed Motion for Withdrawal of Counsel, and in support thereof, and would show

unto the Court as follows:

                                             MOTION

       The undersigned requests the Court grant this unopposed motion for withdrawal of counsel,

allowing Bradley Reeves of REEVES LAW, PLLC to withdraw as counsel of record for Defendants.

Good cause exists for this withdrawal because a conflict of interest as arisen between the

undersigned and Defendants which implicate serious ethical considerations and prevent the

undersigned from further representation of Defendants. These considerations reduce the ability of

the undersigned to provide adequate representation to the Defendants within ethical bounds and

renders an ongoing attorney-client relationship impossible. These considerations have further

resulted in making the undersigned unable to effectively communicate with Defendants in a

manner consistent with good attorney-client relations.

       The undersigned has informed Defendants of his intent to withdraw, and Defendants have

voiced no objections or otherwise responded to the notifications from the undersigned. Moreover,

should the Court allow this withdrawal, Defendants will still be represented in these cases by Ms.

Jacquelyn Blott of the LAW OFFICE OF JACQUELYN W. BLOTT, who has made her appearance and

is designated as lead counsel in all matters. As such, withdrawal of the undersigned as counsel of

record for Defendants can be accomplished with no material adverse effect on the interests of

Defendants and the representation of Defendants in these matters.

       Pursuant to Local Rule 6.2(a), counsel for Plaintiffs consents to the withdrawal as indicated

by his electronic signature below. In addition, the undersigned certifies that to the best of his



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knowledge, there are currently no rulings of this Court which have yet to be reduced to writing.

Finally, this motion is not made for any purpose of delay in these cases.

       WHEREFORE, the undersigned, Bradley Reeves of REEVES LAW, PLLC, respectfully

requests the Court grant this unopposed motion for withdrawal of counsel and permit Bradley

Reeves of REEVES LAW, PLLC to withdraw as counsel of record for Defendants, along with such

other and further relief to which the undersigned may be entitled.

Dated: February 17, 2022.

                                             Respectfully submitted,

                                             By:    /s/ Bradley J. Reeves           _
                                             Bradley J. Reeves
                                             Texas Bar No. 24068266
                                             brad@brtx.law
                                             REEVES LAW, PLLC
                                             702 Rio Grande St., Suite 203
                                             Austin, TX 78701
                                             Telephone: (512) 827-2246
                                             Facsimile: (512) 318-2484

                                             WITHDRAWING ATTORNEY FOR DEFENDANTS


CONSENT TO WITHDRAWAL:

KASTER LYNCH FARRAR & BALL, LLP

By:/s/ Mark D. Bankston (by permission)
Mark D. Bankston
Texas Bar No. 24071066
mark@fbtrial.com
William R. Ogden
Texas Bar No. 24073531
bill@fbtrial.com
1117 Herkimer Street
Houston, TX 77008
Tel: (713) 221-7008
Fax: (713) 221-8301

ATTORNEYS FOR PLAINTIFFS


                                                 3
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                                CERTIFICATE OF CONFERENCE

        I hereby certify that I conferred with opposing counsel regarding this motion for
withdrawal of counsel, and counsel for Plaintiffs has indicated they are unopposed to and consent
to this withdrawal.


                                          /s/ Bradley J. Reeves              _
                                       Bradley J. Reeves




                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on February 17, 2022.

Mark Bankston                                       via electronic service
William Ogden
KASTER LYNCH FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                               /s/ Bradley J. Reeves
                                            Bradley J. Reeves




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                                CAUSE NO. D-1-GN-18-001835

  NEIL HESLIN,                               §          IN THE DISTRICT COURT OF
                                             §
                   Plaintiff,                §
                                             §
  v.                                         §             TRAVIS COUNTY, TEXAS
                                             §
  ALEX E. JONES, INFOWARS, LLC,              §
  FREE SPEECH SYSTEMS, LLC, AND              §
  OWEN SHROYER                               §
                                             §
                  Defendants,                §               459th JUDICIAL DISTRICT


                                CAUSE NO. D-1-GN-18-006623

 SCARLETT LEWIS,                             §            IN THE DISTRICT COURT OF
                                             §
                  Plaintiff,                 §
                                             §
 v.                                          §                TRAVIS COUNTY, TEXAS
                                             §
 ALEX E. JONES, INFOWARS, LLC, AND           §
 FREE SPEECH SYSTEMS, LLC,                   §
                                             §
                 Defendants,                 §                459th JUDICIAL DISTRICT

                                CAUSE NO. D-1-GN-18-001842

 LEONARD POZNER AND                          §            IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA,                       §
                                             §
                  Plaintiff,                 §
                                             §
 v.                                          §                TRAVIS COUNTY, TEXAS
                                             §
 ALEX E. JONES, INFOWARS, LLC, AND           §
 FREE SPEECH SYSTEMS, LLC,                   §
                                             §
                 Defendants,                 §                459th JUDICIAL DISTRICT

  ORDER GRANTING UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

       CAME ON for consideration the Unopposed Motion for Withdrawal of Counsel filed by

Bradley Reeves of REEVES LAW, PLLC seeking to withdraw as counsel of record for Defendants
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in the above-captioned matters, and the Court, after considering the motion, is of the opinion that

the motion should be GRANTED. It is therefore,

       ORDERED, ADJUDGED, and DECREED that Bradley J. Reeves of the law firm of

REEVES LAW, PLLC is permitted to withdraw as an attorney of record for Defendants in each of

the above-captioned matters.



       SIGNED ON _______________________, 2022.




                                      ___________________________________________
                                      HONORABLE JUDGE MAYA GUERRA GAMBLE




                                                2
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APPROVED AS TO FORM
AND ENTRY REQUESTED:

REEVES LAW, PLLC

By:    /s/ Bradley J. Reeves
Bradley J. Reeves
Texas Bar No. 24068266
brad@brtx.law
702 Rio Grande St., Suite 203
Austin, TX 78701
Telephone: (512) 827-2246
Facsimile: (512) 318-2484

WITHDRAWING ATTORNEY FOR DEFENDANTS


KASTER LYNCH FARRAR & BALL, LLP

By:/s/ Mark D. Bankston (by permission)
Mark D. Bankston
Texas Bar No. 24071066
mark@fbtrial.com
William R. Ogden
Texas Bar No. 24073531
bill@fbtrial.com
1117 Herkimer Street
Houston, TX 77008
Tel: (713) 221-7008
Fax: (713) 221-8301

ATTORNEYS FOR PLAINTIFFS




                                          3
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                                                                                                  Velva L. Price
                                                                                                  District Clerk
                                                                                                 Travis County
                                  NO. D-1-GN-18-001835                                        D-1-GN-18-001835
                                                                                              Victoria Benavides
     NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                       Plaintiff,            §
     v.                                      §            TRAVIS COUNTY, TEXAS
     ALEX E. JONES, INFOWARS, LLC,           §
     FREE SPEECH SYSTEMS, LLC, and           §
     OWEN SHROYER,                           §
                       Defendants.           §             345th JUDICIAL DISTRICT


                                   D-1-GN-18-001842
     LEONARD POZNER AND                     §                  IN THE DISTRICT COURT OF
     VERONIQUE DE LA ROSA                   §
                       Plaintiffs,          §
     v.                                     §                      TRAVIS COUNTY, TEXAS
     ALEX E. JONES, INFOWARS, LLC,          §
     and FREE SPEECH SYSTEMS, LLC,          §
                       Defendants.          §                      345th JUDICIAL DISTRICT


                                   D-1-GN-18-006623
     SCARLETT LEWIS                         §                  IN THE DISTRICT COURT OF
                       Plaintiff,           §
     v.                                     §                      TRAVIS COUNTY, TEXAS
     ALEX E. JONES, INFOWARS, LLC,          §
     and FREE SPEECH SYSTEMS, LLC,          §
                       Defendants.          §                      345th JUDICIAL DISTRICT

                MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE

         Applicant Mr. Norman A. Pattis, a nonresident attorney licensed in another state but not in

Texas, and movant Ms. Jacquelyn W. Blott, an attorney licensed in Texas, file this motion for

admission of counsel pro hac vice in the above action. In support of this motion, applicant and

movant show the court as follows:

1.       The defendants in the above cases, Alex E. Jones, Infowars, LLC, Free Speech Systems,

LLC, and Owen Shroyer, desire that applicant Attorney Pattis provide counsel and be permitted to
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appear in any and all proceedings in the above cases in association with Attorney Blott, of the

Texas law firm of the Law Office of Jacquelyn W. Blott, 200 University Boulevard, Suite 225

#251 Round Rock, Texas 78665.

2.     Accordingly, applicant Attorney Pattis seeks permission to participate in the above case.

In accordance with Rule XIX of the Rules Governing Admission to the State Bar of Texas,

applicant files this sworn motion requesting permission to participate.

3.     Applicant is an attorney duly admitted to practice law in the State of Connecticut. Applicant

is not licensed to practice law in Texas.

4.     Applicant is a member of the law firm of Pattis & Smith, LLC, with offices at 383 Orange

St, 1st floor New Haven, CT 06511, telephone (203) 393-3017, facsimile (203) 393-9745, e-mail

address NPattis@pattisandsmith.com.

5.     Applicant has not appeared or sought leave to appear or participate in any cases or causes

in Texas courts within the past two years. Concurrent herewith, a Motion for Admission Pro Hac

Vice was filed on even-date herewith in Cause No. D-1-GN-18-001605; Marcel Fontaine v. Alex

E. Jones, Infowars, LLC, Free Speech Systems, LLC and Kit Daniels; In the 345th Judicial District

Court of Travis County, Texas.

6.     Applicant is a licensed and active member in good standing, in the following jurisdictions

and courts:

       a. Connecticut, 1993-present;
       b. United States District Court for the District of Connecticut, 1994-present;
       c. United States Court of Appeals for the Second Circuit, 1995-Present;
       d. United States Court of Appeals for the Sixth Circuit, 1997-Present;
       e. United States Supreme Court, 1997-Present;
       f. United States District Court, Southern District of New York, 2012-Present;
                                                                                                  2
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       g. United States District Court, District of Columbia, 2012-Present;
       h. United States District Court, Eastern District of New York, 2013-present;
       i. United States Federal Court of Claims, 2016-Present;
       j. United States Court of Appeals for the D.C. Circuit, 2016-Present; and
       k. United States Court of Appeals for the Ninth Circuit, 2018-Present.

7.     Applicant was subject to a disciplinary hearing regarding an affidavit submitted in

Connecticut in litigation related to the above captioned matters. After a full evidentiary hearing,

the case was dismissed. A copy of the decision dismissing the action is attached as “Exhibit A.”

The Applicant has not been the subject of any other disciplinary action by the Bar or by courts of

any jurisdiction in which applicant is licensed.

8.      Applicant has not been denied admission to the courts of any state or to any federal court

during the preceding five years.

9.     Applicant is familiar with the State Bar Act, the State Bar Rules, and the Texas Disciplinary

Rules of Professional Conduct governing the conduct of members of the State Bar of Texas and

will at all times abide by and comply with those provisions as long as the above captioned cases

are pending and said applicant has not withdrawn as counsel herein.

10.    On the granting of this motion, applicant will be associated with movant Attorney Blott,

State Bar Number 07473250, of the Law Office of Jacquelyn W. Blott, 200 University Boulevard,

Suite 225 #251 Round Rock, Texas 78665, telephone (512) 639-9904, facsimile (888) 377-0087,

e-mail address jblott@jblottlaw.com.

11.    Movant Attorney Blott finds Attorney Pattis to be a reputable attorney and recommends

that Attorney Pattis be granted permission to participate in the captioned cases.




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12.    This motion is based on the sworn statement of Attorney Pattis, which is attached as

“Exhibit B” and is incorporated by reference.

13.    This motion is also based on the sworn statement of Attorney Blott, which is attached as

“Exhibit C” and is incorporated by reference. Attorney Blott is the resident practicing Texas

attorney with whom the applicant will be associated in the above cases.

14.    Before filing this motion, applicant filed with the Texas Board of Law Examiners the fee

required by Section 82.0361 of the Texas Government Code, along with the required application

for admission pro hac vice promulgated by the Board. A copy of the Board’s Acknowledgement

Letter of the filing of the fee and application form is attached as “Exhibit D” and is incorporated

by reference.

Therefore, applicant Attorney Pattis and Attorney Blott respectfully request that this motion for

admission of counsel pro hac vice be granted, that Attorney Pattis be permitted to participate in all

proceedings in the above cases pro hac vice, and for any other relief to which the above captioned

defendants, Attorney Pattis, and Attorney Blott may be justly entitled.

                                              Respectfully submitted,

                                              LAW OFFICE OF JACQUELYN W. BLOTT
                                              200 University Boulevard, Suite #225 250
                                              Round Rock, Texas 78665
                                              Telephone: (512) 639-9904



                                              Jacquelyn W. Blott
                                              SBN: 07473250
                                              Email: jblott@jblottlaw.com




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                            CERTIFICATE OF CONFERENCE

I certify that I have spoken with Mark D. Bankston, counsel for Neil Heslin, Leonard Pozner,
Veronique de La Rosa, and Scarlett Lewis, on February 15, 2022, and he is opposed to this Motion.

                                                    _______________ ____________________
                                                    Jacquelyn W. Blott

                               CERTIFICATE OF SERVICE

I certify that a true and correct copy of this Motion has been forwarded to all counsel of record
pursuant to Rule 21a of the Texas Rules of Civil Procedure on this the 22nd day of February 2022
as follows:

Mark Bankston                               Email: mark@fbtrial.com
William Ogden                               Email: bill@fbtrial.com
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, Texas 77008
                                                    ____________________________________
                                                    Jacquelyn W. Blott




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                               NO. D-1-GN-18-001835
  NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                    Plaintiff,            §
  v.                                      §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §
  OWEN SHROYER,                           §
                    Defendants.           §             345th JUDICIAL DISTRICT


                                D-1-GN-18-001842
  LEONARD POZNER AND                     §         IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
                    Plaintiffs,          §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT


                                D-1-GN-18-006623
  SCARLETT LEWIS                         §         IN THE DISTRICT COURT OF
                    Plaintiff,           §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT

            MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE




                EXHIBIT A
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                               NO. D-1-GN-18-001835
  NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                    Plaintiff,            §
  v.                                      §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §
  OWEN SHROYER,                           §
                    Defendants.           §             345th JUDICIAL DISTRICT


                                D-1-GN-18-001842
  LEONARD POZNER AND                     §         IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
                    Plaintiffs,          §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT


                                D-1-GN-18-006623
  SCARLETT LEWIS                         §         IN THE DISTRICT COURT OF
                    Plaintiff,           §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT

            MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE




                EXHIBIT B
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                               NO. D-1-GN-18-001835
  NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                    Plaintiff,            §
  v.                                      §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §
  OWEN SHROYER,                           §
                    Defendants.           §             345th JUDICIAL DISTRICT


                                D-1-GN-18-001842
  LEONARD POZNER AND                     §         IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
                    Plaintiffs,          §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT


                                D-1-GN-18-006623
  SCARLETT LEWIS                         §         IN THE DISTRICT COURT OF
                    Plaintiff,           §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT

            MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE




                EXHIBIT C
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                               NO. D-1-GN-18-001835
  NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                    Plaintiff,            §
  v.                                      §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §
  OWEN SHROYER,                           §
                    Defendants.           §             345th JUDICIAL DISTRICT


                                D-1-GN-18-001842
  LEONARD POZNER AND                     §         IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
                    Plaintiffs,          §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT


                                D-1-GN-18-006623
  SCARLETT LEWIS                         §         IN THE DISTRICT COURT OF
                    Plaintiff,           §
  v.                                     §            TRAVIS COUNTY, TEXAS
  ALEX E. JONES, INFOWARS, LLC,          §
  and FREE SPEECH SYSTEMS, LLC,          §
                    Defendants.          §            345th JUDICIAL DISTRICT

            MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE




               EXHIBIT D
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                                        Board of Law Examiners
                                Appointed by the Supreme Court of Texas

                                               January 11, 2022



 Norman A. Pattis
 Via: E-Mail



                                            Acknowledgment Letter
                                          Non-Resident Attorney Fee

According to Texas Government Code §82.0361, "a nonresident attorney requesting permission to participate in
proceedings in a court in this state shall pay a fee of $250 for each case in which the attorney is requesting
to participate."

This Acknowledgement Letter serves as proof that the Board of Law Examiners has received $250 in
connection with the following matter:
           Non-resident attorney: Norman A. Pattis
           Case: D-1-GN-001835, D-1-GN-18-001842, D-1-18-00623, 1-GN-001605
           Texas court or body: In the District Court of Travis County


After satisfying the fee requirement, a non-resident attorney shall file a motion in the Texas court or body in which
the non-resident attorney is requesting permission to appear. The motion shall contain the information and statements
required by Rule 19(a) of the Rules Governing Admission to the Bar of Texas. The motion must be accompanied
by this Acknowledgment Letter and by a motion from a resident practicing Texas attorney that contains the
statements required by Rule 19(b).
The decision to grant or deny a non-resident attorney's motion for permission to participate in the proceedings in
a particular cause is made by the Texas court or body in which it is filed.
For more information, please see Rule 19 of the Rules Governing Admission to the Bar of Texas and §82.0361, of
the Texas Government Code, which can be found on the Board's website.




MAILING ADDRESS                     TELEPHONE: 512- 463-1621 - FACSIMILE: 512- 463-5300    STREET ADDRESS

Post Office Box 13486                           WEBSITE: www.ble.texas.gov                 205 West 14th Street, Ste.500

Austin,Texas 78711-3486                                                                    Austin, Texas 78701
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                              NO. D-1-GN-18-001835
 NEIL HESLIN,                            §         IN THE DISTRICT COURT OF
                   Plaintiff,            §
 v.                                      §            TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,           §
 FREE SPEECH SYSTEMS, LLC, and           §
 OWEN SHROYER,                           §
                   Defendants.           §             261st JUDICIAL DISTRICT


                               D-1-GN-18-001842
 LEONARD POZNER AND                     §                 IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA                   §
                   Plaintiffs,          §
 v.                                     §                     TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,          §
 and FREE SPEECH SYSTEMS, LLC,          §
                   Defendants.          §                     345th JUDICIAL DISTRICT


                               D-1-GN-18-006623
 SCARLETT LEWIS                         §                 IN THE DISTRICT COURT OF
                   Plaintiff,           §
 v.                                     §                     TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,          §
 and FREE SPEECH SYSTEMS, LLC,          §
                   Defendants.          §                       98th JUDICIAL DISTRICT


             ORDER ON NORMAN PATTIS’ MOTION PRO HAC VICE


After considering Norman A. Pattis’ and Jacquelyn W. Blott’s motion pro hac vice, the Court:
   o DENIES the motion

   o GRANTS the motion and declares that Norman A. Pattis is admitted to this Court pro hac
     vice with all the rights and privileges of an attorney in the State of Texas.

SIGNED ___________________________, 2022.

                                                   ____________________________________
                                                   PRESIDING JUDGE
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                                                                                    Velva L. Price
                                                                                    District Clerk
                                                                                   Travis County
                                                                                D-1-GN-18-001835
                              D-1-GN-18-001835                                    Nancy Rodriguez

 NEIL HESLIN and                          §                 IN DISTRICT COURT OF
 SCARLETT LEWIS                           §
                                          §                 TRAVIS COUNTY, TEXAS
 VS.                                      §
                                          §                  261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,            §
 FREE SPEECH SYSTEMS, LLC, and            §
 OWEN SHROYER                             §

                              D-1-GN-18-001842
 LEONARD POZNER AND                       §                 IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                     §
                                          §                 TRAVIS COUNTY, TEXAS
 VS.                                      §
                                          §                  345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,            §
 and FREE SPEECH SYSTEMS, LLC             §


              NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL


       COME NOW, Plaintiffs Neil Heslin, Scarlett Lewis, Leonard Pozner, and

Veronique De La Rosa, and give notice of the appearance of the following as additional

counsel:

                          Cordt C. Akers
                          THE AKERS FIRM, PLLC
                          TBN: 24080122
                          3401 Allen Parkway, Suite 101
                          Houston, TX 77019
                          Phone: (713) 877-2500
                          Fax: (713) 583-8662
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                                                   Respectfully submitted,

                                            THE AKERS FIRM, PLLC

                                                   /s/ Cordt C. Akers
                                                   Cordt C. Akers
                                                   TBN: 24080122
                                                   3401 Allen Parkway, Suite 101
                                                   Houston, TX 77019
                                                   Phone: (713) 877-2500
                                                   Fax: (713) 583-8662
                                                   cca@akersfirm.com


                           CERTIFICATE OF SERVICE

      I hereby certify that on February 25, 2022, the forgoing document was served
upon all counsel of record via electronic service.

                                      /s/ Cordt C. Akers
                                      Cordt C. Akers
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                                                                                    District Clerk
                                                                                   Travis County
                                                                                D-1-GN-18-001835
                              D-1-GN-18-001835                                    Nancy Rodriguez

 NEIL HESLIN and                          §                 IN DISTRICT COURT OF
 SCARLETT LEWIS                           §
                                          §                 TRAVIS COUNTY, TEXAS
 VS.                                      §
                                          §                  261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,            §
 FREE SPEECH SYSTEMS, LLC, and            §
 OWEN SHROYER                             §

                              D-1-GN-18-001842
 LEONARD POZNER AND                       §                 IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                     §
                                          §                 TRAVIS COUNTY, TEXAS
 VS.                                      §
                                          §                  345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,            §
 and FREE SPEECH SYSTEMS, LLC             §


              NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL


       COME NOW, Plaintiffs Neil Heslin, Scarlett Lewis, Leonard Pozner, and

Veronique De La Rosa, and give notice of the appearance of the following as additional

counsel:

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                                      Respectfully submitted,

                                      MCDOWELL HETHERINGTON LLP

                                      By:   /s/ Avi Moshenberg
                                            Avi Moshenberg
                                            Texas Bar No. 24083532
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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 25, 2022, the forgoing document was served
upon all counsel of record via electronic service.

                                      /s/ Avi Moshenberg
                                      Avi Moshenberg
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                                 D-1-GN-18-001605                                          Chloe Jimenez

 MARCEL FONTAINE                             §                   IN DISTRICT COURT OF
                                             §
 VS.                                         §
                                             §                  TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,               §
 FREE SPEECH SYSTEMS, LLC, and               §
 KIT DANIELS                                 §                    459th DISTRICT COURT

                                 D-1-GN-18-001835
 NEIL HESLIN and                             §                   IN DISTRICT COURT OF
 SCARLETT LEWIS                              §
                                             §                  TRAVIS COUNTY, TEXAS
 VS.                                         §
                                             §                    261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,               §
 FREE SPEECH SYSTEMS, LLC, and               §
 OWEN SHROYER                                §

                                 D-1-GN-18-001842
 LEONARD POZNER and                          §                   IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                        §
                                             §                  TRAVIS COUNTY, TEXAS
 VS.                                         §
                                             §                    345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,               §
 and FREE SPEECH SYSTEMS, LLC                §


                 PLAINTIFFS’ RESPONSE TO NORMAN PATTIS’
               MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE


       For over three years, Mr. Jones has made a mockery of this litigation while exercising

his right to choose his counsel on no less than nine occasions. Mr. Jones was initially

represented by Austin attorney Randall Wilhite. Mr. Jones was next represented by Dallas



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attorney Mark Enoch. This was followed by Austin attorneys Michael Burnett and Scott

Nytiray. Mr. Jones then received permission for California attorney and InfoWars host Robert

Barnes to appear pro hac vice. Mr. Barnes was then replaced by Austin attorney T. Wade

Jefferies. Mr. Jefferies was then replaced by Austin attorney Brad Reeves. Defendants had

been represented in the Fontaine matter by Austin attorney Eric Taube, but Mr. Taube

withdrew for ethical reasons and was also replaced by Mr. Reeves. Next, attorney Jacquelyn

Blott made an appearance earlier this year. Soon thereafter, Mr. Reeves moved to withdraw,

also citing ethical issues. Now, after nine attorneys have appeared in a set of cases riddled

with sanctions and bizarre misconduct, Mr. Jones seeks to add controversial Connecticut

attorney and InfoWars personality Norm Pattis, who has already wreaked havoc and

incurred sanctions for his misconduct in the parallel Lafferty lawsuit.

        Given the prior history of this case, this Court should not take a chance on granting

the privilege of pro hac vice admission on the eve of trial to “Connecticut’s most colorful and

controversial lawyer.” 1 This is especially true given Mr. Pattis’ pattern of disruptive and

disobedient actions in the Lafferty lawsuit. This Court need not risk “the cavalier actions

and willful misconduct” that the Lafferty court has been forced to endure. (See Ex. 1, August

5, 2021 Lafferty Order).

        This Court’s first introduction to Mr. Pattis was a video from 2019 which he was co-

hosting InfoWars with Mr. Jones, laughing and joking while Mr. Jones made violent and

disgusting threats against the life of opposing counsel. Since that time, his representation of



1 Sai Rayala. “Qinxuan Pan retains controversial New Haven-based defense attorney Norm Pattis.” Yale Daily

News. October 15, 2021. Available at:

https://yaledailynews.com/blog/2021/10/15/qinxuan-pan-retains-controversial-new-haven-based-
defense-attorney-norm-pattis/


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the Defendants has been a disaster of disobeyed orders and bizarre misconduct. Judge

Barbara Bellis called his actions “frightening” and noted that others should be “rightfully

concerned” about his conduct in the future. (See Ex. 1, August 5, 2021 Lafferty Order). In

Lafferty, Mr. Pattis has routinely botched discovery, has been sanctioned for his cavalier

disclosure of Plaintiffs’ confidential information during a deposition, has submitted an

affidavit he knew had not been signed by Mr. Jones, and insists on endless gamesmanship,

much to the consternation of Judge Bellis. Mr. Pattis also engages in improper extrajudicial

commentary during his regular appearances as an InfoWars commentator, and his

propensity for theatrics and outrageous conduct is a risk that should not be countenanced,

especially on the eve of trial.

       Appearing pro hac vice is a privilege, and it should be denied where a court has reason

to believe an applicant may be detrimental to the fair or efficient administration of justice.

Here, Mr. Pattis’ history puts the Plaintiffs at risk of further sanctionable misconduct,

especially when combined with Defendants’ existing history of misconduct in this Court. For

the reasons discussed below, Plaintiffs pray the Court denies Mr. Pattis’ application.

                                     LEGAL STANDARD

I.     There is a Lower Standard for Application than for Revocation.

       Once an attorney is admitted pro hac vice, the standard for revocation is high, and it

is difficult for a court to rid itself of a recalcitrant out-of-state attorney. Revocation requires

finding “the non-resident attorney engage[d] in professional misconduct as that term is

defined by the State Bar Act.” In re Golden Peanut Company, LLC, 2018 WL 6616894, at *2

(Tex.App.-Dallas, 2018), quoting Tex. R. Governing Admission to the Bar XIX(e). But when an

application is first submitted to a court, the standard is much lower. Not only can the court



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deny the application if it believes “the non-resident attorney is not a reputable attorney who

will observe the ethical standards required of Texas attorneys,” but it can also deny the

application if “other good cause exists to deny the motion.” Id., quoting Tex. R. Governing

Admission to the Bar XIX(d).

II.    Trial Courts have Wide Discretion to Assess Good Cause.

       Assessing reputability of a non-resident attorney is addressed to the discretion of the

trial court. See State Bar v. Belli, 382 S.W.2d 475, 476 (Tex. 1964) (noting “the matter of

[applicant’s] qualification as ‘A reputable nonresident attorney’ under Rule X(i) will be

addressed to the discretion of the court in which the case is pending.”). In denying pro hac

vice applications, courts may consider conduct which may not rise to the level of revocation,

including “unlawyerlike conduct” or “past inappropriate and unprofessional behavior by

counsel in other matters.” Kampitch v. Lach, 405 F.Supp.2d 210, 215-16 (D.R.I. 2005). The

court may also consider delays, disruptions, and sanctions in prior matters, especially

related matters. In sum, the discretionary privilege of pro hac vice admission should be

denied where the Court believes it “may be detrimental to the prompt, fair and efficient

administration of justice.” See ABA Model Rule on Pro Hac Vice Admission. 2

                                         ARGUMENT

I.     Mr. Pattis was Sanctioned for Alarming Misconduct in Disobeying the
       Lafferty Protective Order.

       On August 5, 2021, the Lafferty court issued sanctions after Mr. Pattis flagrantly

violated the Protective Order under bizarre circumstances. Mr. Pattis was attending the first



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https://www.americanbar.org/groups/professional responsibility/committees commissions/commission o
n_multijurisditional_practice/mjp_comm_iadc3/


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deposition of a Sandy Hook parent, which had been designated confidential at the start of the

deposition. During the deposition, Mr. Pattis inserted information from the confidential

testimony into a motion and filed it with the Court while the deposition was still underway.

The motion filed by Mr. Pattis was an outlandish request to compel the deposition of Hillary

Clinton. At a later hearing in this case, Mr. Reeves tried to distance himself from Mr. Pattis’

strange actions:

           MR. REEVES: About this filing that occurred in the midst of a
           deposition, Mr. Pattis, who filed that thing in Connecticut…[H]e wasn't
           even in the deposition, that was kind of his thing that he did, he wasn't
           even the one doing that. But more importantly, I had nothing to do --

           THE COURT: You just said he wasn't -- “That was his thing that he did,
           he didn't even do that.” That's literally what just came out of your
           mouth.

           MR. REEVES: No, I'm sorry, I didn't mean that. He -- he did not -- Mr.
           Pattis was not taking the deposition. He did not file the motion as he
           was taking the deposition. Another lawyer for the defendants was
           taking the deposition and he just, in the midst of this, filed it…But
           really overall, the overarching point here is that there's nothing in
           Connecticut that has anything to do with these cases as far as the
           discovery is concerned. (See Ex. 2, August 31, 2021 Heslin Transcript,
           p. 81-82).

       The Lafferty plaintiffs brought the issue to Judge Bellis’ attention in a motion for

sanctions. In an exhaustive order, Judge Bellis explained the court’s “grave concerns” with

the “frightening” positions taken by Mr. Pattis:

           The Jones defendants filed no less than three versions of a proposed
           protective order for the court’s approval…The order…set forth simple
           procedures by which the designation of “confidential” could be
           subsequently challenged, and how confidential information could be
           filed with the court…

           In the midst of taking the first deposition of a plaintiff, the defendants
           Free Speech Systems LLC, Infowars LLC, Infowars Health LLC, and
           Prison Planet TV LLC (Infowars), filed a motion to depose Hillary
           Clinton, using deposition testimony that had just been designated as


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          “Confidential-Attorneys Eyes Only,” and completely disregarding the
          court ordered procedures. At no point prior to filing the Clinton
          motion did Infowars profess ignorance of the procedures they had
          proposed and which were court ordered to be followed, nor have they
          since taken any steps to correct their improper filing.

          If Infowars was of the opinion that the plaintiffs’ designation was
          unreasonable and not made in good faith, the solution was to follow
          the court ordered procedure to challenge the designation, not to
          blatantly disregard it and make the confidential information available
          on the internet by filing it in the court file. The court rejects Infowars’
          baseless argument that there was no good cause to issue the
          protective orders, where both sides recited, in writing, detailed
          justification for a good cause basis.

          In short, Infowars, having advocated for a court ordered protective
          order, filing no less than three versions, having recited in writing the
          good cause bases for the issuance of the protective order, and having
          no objection to the plaintiffs’ proposed modification, now takes the
          absurd position that the court ordered protective order circumvents
          the good cause requirements of Practice Book 13-5, did not need to
          be complied with, and should not be enforced by the court. This
          argument is frightening. Given the cavalier actions and willful
          misconduct of Infowars in filing protected deposition information
          during the actual deposition, this court has grave concerns that their
          actions, in the future, will have a chilling effect on the testimony of
          witnesses who would be rightfully concerned that their confidential
          information, including their psychiatric and medical histories, would
          be made available to the public. (Ex. 1, August 5, 2021 Lafferty Order
          on Confidentiality) (emphasis added).

      Judge Bellis set a sanctions hearing regarding this misconduct and a variety of other

sanctionable issues. In her November 21, 2021 ruling on default sanctions, Judge Bellis

explained how Mr. Pattis’ subsequent arguments highlighted the potential danger of future

cavalier misconduct:

          So I'll first address the Clinton deposition issue and the conduct of July
          1, 2021. In the July 19, 2021 court filing by the defendants Infowars,
          LLC, Free Speech Systems, LLC, Infowars Health, LLC and Prison
          Planet, LLC, they described how in the motion to depose Hillary
          Clinton, testimony designated by the plaintiffs as highly confidential
          was filed in the Clinton deposition motion. They explained that this
          was done because in their opinion, the plaintiffs did not have a good-


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           faith basis to designate the deposition as highly confidential before
           the deposition had commenced, despite the fact that the Jones
           defendants had previously done so themselves.

           And it is not lost on the Court that the highly confidential information
           was improperly filed in the middle of the first deposition of a plaintiff.
           The July 19, 2021 filing is in sharp contrast to the Jones defendants'
           position at the October 20, 2021 sanctions ' hearing where the Court
           addressed what, if any, sanctions should enter. At the October 20
           hearing, the Jones defendants claim they could publish confidential
           information as long as they did not reveal the name of the witness.
           That is, they argued unconvincingly that they didn't understand the
           very protective order that they themselves drafted and asked the
           Court to approve as a Court order, which the Court did.

           The position of the Jones defendants at the October 20, 2021
           sanctions hearing did nothing but reinforce the Court's August 5th,
           2021 order and findings that the cavalier actions on July 1st, 2021
           constituted willful misconduct and violated the Court's clear and
           unambiguous protective order. (Ex. 3, November 15, 2021 Sanctions
           Ruling, p. 3-4).

       These events alone provide ample good cause to “find that the admission of an out of

state attorney pro hac vice is fraught with potential abusive misconduct.” Collins v. Collins,

2020 OK CIV APP 65, ¶ 32, 481 P.3d 270, 277. Further aggravating the concerns with Mr.

Pattis is that his misconduct was driven by his desire to politicize these suits and spin wild

conspiracy theories. This theme will reappear throughout this Response.

II.    Mr. Pattis’ Participation in Mr. Jones’ Threatening Broadcast was
       Unlawyerlike, Unprofessional, and Harmful to Reputability of our
       Profession.

       In a prior hearing, this Court viewed portions of a broadcast of Mr. Pattis and Mr.

Jones on InfoWars discussing the discovery of child pornography in their discovery

documents. The broadcast was a 20-minute profane and disturbing tirade from Mr. Jones in

which he repeatedly threatened the life of Plaintiff’s counsel Chris Mattei, interspersed with

commentary from Mr. Pattis. As Judge Bellis noted, the June 14 video was "indefensible,


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unconscionable, despicable, and possibly criminal behavior." (June 18, 2019 Lafferty

Hearing, p. 50). The Connecticut Supreme Court noted that the broadcast was “a threat to the

administration of justice” with “genuine potential to influence the fairness of the

proceedings.” Lafferty v. Jones, 336 Conn. 332, 366 (2020), cert. denied, 141 S. Ct. 2467

(2021). The Connecticut Supreme Court noted that the broadcast featured “threats to those

involved in the case and created a hostile atmosphere that could discourage individuals from

participating in the litigation,” including Mr. Jones offering “a one million dollar bounty on

the head of opposing counsel.” Id. at 370.

        Mr. Pattis’ participation in this broadcast, and his jocular reactions to Mr. Jones’

statements, raise doubts about his character and his potential future acts in Texas. Under our

disciplinary rules, “[a] lawyer shall not counsel or assist another person” in making “an

extrajudicial statement that a reasonable person would expect to be disseminated by means

of public communication if the lawyer knows or reasonably should know that it will have a

substantial likelihood of materially prejudicing an adjudicatory proceeding.” Tex.

Disciplinary R. Prof. Conduct 3.07. Additionally, “[i]f a particular statement would be

inappropriate for a lawyer to make, however, the lawyer is as readily subject to discipline

for counseling or assisting another person to make it as he or she would be for doing so

directly.” Id. at cmt 2.

        Even after sanctions were issued, and despite the obvious threat to Mr. Mattei, Mr.

Pattis continued to breathe life into the conspiracy theory that Mr. Mattei was somehow

involved in malfeasance. Mr. Pattis stated in a later affidavit that the circumstances

surrounding the child pornography and subsequent investigation were “especially suspect




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given that Attorney Mattei worked for the United States Attorney's Office from 2007 through

2015.” (Ex. 4, Affidavit of Norm Pattis, p. 15).

       These kinds of public statements are typical for Mr. Pattis, who has embraced his

conspiratorial mindset and need for attention by becoming a regular InfoWars on-air

personality. They have also caused Mr. Pattis to indulge Mr. Jones’ worst instincts and

paranoias, leading to one fiasco after another in the Lafferty case.

III.   Mr. Pattis has been at the Center of the Non-Stop Debacles in Lafferty.

       As the Court has gleaned from prior pleadings, the proceedings in Lafferty have been

extraordinarily chaotic and bizarre. Most importantly, those proceedings have been plagued

by constant failures to litigate in good faith. As the Lafferty court first explained back in 2019:

            Putting aside the fact that the documents the Jones defendants did
            produce contained child pornography, putting aside the fact that the
            Jones defendants filed with the Court a purported affidavit from Alex
            Jones that was not in fact signed by Alex Jones, the discovery in this
            case had been marked with obfuscation and delay on the part of the
            defendants, who, despite several court ordered deadlines as recently
            as yesterday, they continue in their filings to object to having to, what
            they call affirmatively gather and produce documents which might
            help the plaintiffs make their case. (Ex. 5, June 18, 2019 Lafferty
            Transcript, p. 46-47).

       The Lafferty court explained how much of this discovery obstruction has been

attorney-driven:

            By way of one example, on June 10th, counsel for the Jones defendants
            stated in their filing that Alex Jones’ cellphone had only been searched
            for emails, not for text messages or other data. In their June 17 filing,
            defendants still try to argue with respect to the text messages that
            there is little to no personal nexus between the text messages and the
            litigation, and that the plaintiffs are simply prying into the Alex Jones
            defendants’ personal affairs. But the discovery objections were ruled
            on by the Court months ago and the defendants still have not fully and
            fairly complied…




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               So in short, we’ve held approximately a dozen discovery status
               conferences. The Court’s entered discovery deadlines, extended
               discovery deadlines, and discovery deadlines have been disregarded
               by the Jones defendants, who continue to object to their discovery and
               failed to produce that which is within their knowledge, possession, or
               power to obtain. And again, among the documents that they did
               produce contained images of child pornography. (Id., p. 47-49)

          The Lafferty court’s frustration with Mr. Pattis has been clear throughout its many

orders and hearings. A review of the 699 docket entries in Lafferty shows judicial resources

constantly devoted to collateral issues. 3 In particular, Mr. Pattis’ gamesmanship has been

improper, as Judge Bellis explained in her November 21, 2021 ruling on default sanctions:

               The history of the attorneys who have appeared for the defendants,
               Alex Jones, Infowars, LLC, Free Speech Systems, LLC, Infowars Health,
               LLC and Prison Planet TV, LLC is a convoluted one, even putting aside
               the motions to withdraw appearance, the claims of conflict of interest
               and the motions for stay advanced by these five defendants. As the
               record reflects, on June 28, 2018, Attorney Wolman appeared for all
               five of the Jones defendants. Eight months later, on March 1st, 2019,
               Attorney Wolman is out of the case and Pattis & Smith filed an in-lieu-
               of appearance for all five defendants. On February 24, 2020, Attorney
               Latonica also appeared for all five defendants. Five months later on
               July 7, 2020, Attorney Latonica and Pattis & Smith is now out of the
               case and Attorney Wolman is back in the case for all five defendants.
               Then on June 28, 2020, Pattis & Smith is back in the case, but now only
               appears for the four LLC defendants.

               But what is perhaps more significant is the transparent attempt to
               cloud the issues by Pattis & Smith, for example, by listing the names
               of only three of the four clients they represent when filing the motion
               to take the deposition of Hillary Clinton and then listing all four clients
               in the July 19, 2021 filing relating to the issue. And by Attorney
               Wolman who then argued in his October 20, 2021 filing that Infowars,
               LLC had no involvement in the motion for commission because their
               lawyer did not list their name on the motion. It is simply improper
               under our rules of practice for an attorney to do so. (Ex. 3, November
               15, 2021 Sanctions Ruling, p. 4-5) (emphasis added).




3   See http://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S


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       The Lafferty court also noted that the “disregard for the discovery process and

procedure and for Court orders is a pattern of obstructive conduct.” (Id., p. 15). In the same

order, the Lafferty court also chastised recent misrepresentations made in pleadings

regarding social media analytics, noting, “They represented in court filings that they did not

rely on social media analytics and this, too, is false.” (Ex. 3, November 15, 2021 Sanctions

Ruling, p. 12). The court that damning evidence was later discovered which “totally

contradict[s] the Jones defendants’ misrepresentations to the Court that, quote: There is no

evidence to suggest that Mr. Jones or Free Speech Systems ever used these analytics to drive

content, end quote.” (Id.). Most importantly, it became clear that analytics had been withheld:

            I would note that regardless of this reliance on social media analytics,
            the concept is simple. The defendants were ordered to produce the
            documents and our law requires them to produce information within
            their knowledge, possession or power. Discovery is not supposed to
            be a guessing game. What the Jones defendants have produced by way
            of analytics is not even remotely full and fair compliance required
            under our rules. The Court finds that the Jones defendants have
            withheld analytics and information that is critical to the plaintiff's
            ability to conduct meaningful discovery and to prosecute their claims.
            (Id., p. 14).

       Despite immense patience by Judge Bellis through these endless discovery debacles,

Mr. Pattis also insists on causing delay and interruption with his stubborn exchanges with

the court, particularly as it concerns his conspiracy theories about the litigation itself:

          THE COURT:          I'll take that up on the papers.
          ATTY. PATTIS:       And then also we'd like to have them be directed to
                              find out who's financing this because --
          THE COURT:          Right. I read -- Attorney Pattis, I read it. No right to
                              argument on that issue. I don't need help on that issue.
                              And I'll issue that --
          ATTY. PATTIS:       My client would like me to be heard today for these
                              purposes because --
          THE COURT:          All right. Attorney Pattis, listen to me carefully. I'm
                              trying to be polite.
          ATTY. PATTIS:       I always do.


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          THE COURT:          Okay. I'm going to take that issue on the papers.
                              There's no right to argument on that issue and I will
                              rule today on that issue for you. Okay? But you can tell
                              your client that there's no right to argument on that
                              issue and I'm not extending -- I'm denying your
                              request for argument, politely.
          ATTY. PATTIS:       And I will politely tender his objection on the grounds
                              that when his --
          THE COURT:          All right. Attorney Pattis --
          ATTY. PATTIS:       -- information on the business finds itself --
          THE COURT:          -- I think we're done.
          ATTY. PATTIS:       -- in the press to his economic detriment --
          THE COURT:          We're done for the day.

(Ex. 4, Affidavit of Norm Pattis).

       It is telling that Mr. Pattis later submitted this exchange as part of his affidavit seeking

to recuse Judge Bellis in Lafferty. Indeed, it is nearly certain that Mr. Pattis would pursue the

same course in this case and seek recusal. In his Lafferty recusal motion, Mr. Pattis already

stated that “the Texas judge presiding over similar Sandy Hook-related matters” is “not

impartial.” (Ex. 6, Motion to Recuse, p. 7). Yet regardless of what course of action Mr. Pattis

takes, it is certain to be disruptive given his frustrating history in the Lafferty case.

IV.    Mr. Pattis’ Handling of an Affidavit in Lafferty Raises Concerns about his
       Judgment.

       As noted above, Mr. Pattis submitted an affidavit from Alex Jones that he knew was

not signed by Alex Jones. Judge Bellis described the problem as follows:

            I reviewed the transcripts and the affidavit and I do want to put a
            statement on the record, and I think I'm going to proceed a certain
            way. So on March 22nd, 2019, Defense Counsel filed the affidavit that
            indicated it was signed by Alex Jones under oath, and the e-filing
            description referred to a March 22nd, 2019, affidavit of A. Jones. That
            was the e-file description. And the attestation clause indicates that the
            affidavit was sworn to and subscribed to on March 22nd, 2019; and
            we learned on that same date that Attorney Pattis -- I'm sorry, we
            learned subsequently on April 10th that Attorney Pattis had taken the
            signature and that the signature was not that of Mr. Jones but of an



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            authorized representative who didn't want to be named because he
            didn't want to be harassed. But on March 22nd, 2019, on the record
            Attorney Pattis referred to the document as an affidavit from Jones.
            The affidavit is devoid of any language that would reveal that Mr.
            Jones' agent or employee or authorized representative signed his
            name to the document. There's no attempted power of attorney
            language or acknowledgement or anything at all to show that some
            other person signed Alex Jones' name to the affidavit. So in the Court's
            opinion, the affidavit is invalid and is a false affidavit. Affidavits are
            supposed to be signed by the author, not surreptitiously by some
            other unknown, although authorized, person. So I am going to refer
            this matter to Disciplinary Counsel.

(Ex. 4, Affidavit of Norm Pattis, p. 8-9).

       After reviewing the referral, the Disciplinary Counsel pursued action, and Mr. Pattis

appeared before the Connecticut Grievance Committee. The Committee found that

Disciplinary Counsel had not proven an offense rising to an ethical violation, but,

“[n]otwithstanding, we are critical of the Respondent’s level of diligence in researching how

to handle an affidavit involving an attorney-in-fact acting under a Texas power of attorney

in a Connecticut civil proceeding.” (Ex. 7, Committee Grievance Complaint #19-0367

Decision, p. 3). Further, “[i]t [was] the opinion of this reviewing committee that the

Respondent’s practice was sloppy with regard to the execution of the affidavit and that he

exercised bad judgment.” (Id.). Finally, the Committee found “it was inappropriate not to

request the power of attorney document for review.” (Id.).

       While Mr. Pattis will defend himself on the basis that no ethical violation was proven,

his conduct nonetheless provides additional basis to deny the privilege of pro hac vice

admission. As noted in Kohlmayer, sloppy actions and bad judgment “may not constitute a

technical violation of the ethical rules,” but such conduct “often delays the judicial process.”

Kohlmayer, 124 F.Supp.2d at 879. “Where a court is made aware of a pattern of ... behavior

by an attorney, bordering on the unethical, which has resulted in the waste of judicial time


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                under these court orders because, you know, the Sandy Hook
                Plaintiffs are given, uh, privileged treatment in this. 6

        Attorneys should not state conclusions of fact by citing special knowledge allegedly

gained through access to confidential materials. The public places great emphasis on the

statements of attorneys based on their access to judicial materials. In essence, Mr. Pattis

stated that confidential information exists disproving any suffering by the Lafferty plaintiffs.

In doing so, he has purported to disclose the nature and content of that confidential

information. When making pretrial statements, “[a] lawyer ordinarily will violate [the

Rule]…when the statement refers to…the expected testimony of a party or witness.” Rule

3.07(b)(1). By contrast, “a lawyer ordinarily will not violate [the Rule]” when the statement

is based on “information contained in a public record.” Rule 3.07(c)(2). Given the confidential

nature of the information allegedly cited by Mr. Pattis (and thus no reasonable method to

combat it through counter-speech), Mr. Pattis knew these statements could prejudice the

proceedings.

        Mr. Pattis co-hosted an episode with Mr. Jones on October 1, 2021 in which they

discussed the recent default judgments in Texas while denigrating this Court:

                PATTIS: Some states elect judges. I know they elect them down
                in Texas. I think that’s a horrible idea. Because then you get
                judges racing to the bottom and pandering to the lowest
                common denominator.

                JONES: I mean, George Soros has put in all the new judges in
                Travis County, put in the City Attorney, the County Attorney.
                And they’re literally bomb-throwing maniacs.




6“Deep State Launches Martial Law Through Judicial Tyranny.” The Alex Jones Show. November 16, 2021.
(Quotation at 1:40). Available at: https://www.banned.video/watch?id=61944580d741df5018565b4c



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                    PATTIS: Well, Travis County, they ought to sell it to Northern
                    California and let Texans be Texans. Elected judges are a
                    horrible idea. 7

           Mr. Pattis’ routine encouragement of Mr. Jones’ inflammatory rhetoric is also

concerning, such as the following exchange:

                    JONES: Let’s just say it, you’ve been doing a lot of stuff, and
                    you’ve been really good about these. And they know they don’t
                    have the case they claim, so I don’t get to have a jury. I don’t
                    think America is going to put up with that.

                    PATTIS: I hope you’re right. But I think we’ve have thus far. I
                    think it’s time for we the people to stand up and say we’re mad
                    as hell and we’re not going to take it anymore. 8

           On the January 12, 2022 episode, Mr. Pattis continued to spin his conspiracy theories

about a cover-up of some shadowy funding of these lawsuits for nefarious purposes:

                    PATTIS: What reporter is going to sit down, study the data, and
                    ask the hard questions in this case. Who is funding the litigation?
                    Why are they funding it? What is their objective? And why is it
                    that the plaintiffs seem hell bent to avoid having these cases
                    tried on the merits?9

           Mr. Pattis also made ominous comments about how the Plaintiffs should be worried

about what Mr. Jones will say about them at trial:

                    PATTIS: The downside of a defamation lawsuit, and I’ve often
                    said to folks who want to bring them, be careful what you wish
                    for. If you think somebody’s opinion of you hurt you before,
                    what are you going to do when the trial is televised?




7“Dem Governors Mobilize National Guard for COVID Tyranny.” The Alex Jones Show. October 1, 2021, at
12:00. Available at: https://www.banned.video/watch?id=6157a3d373e088289566833c

8   Id. at 15:20.
9“The Enemy Has Become Our Government Run by Self Righteous Bullies Seizing Our Rights, says Norm
Pattis.” The Alex Jones Show. January 12, 2022. (Quotation at 19:48) Available at:
https://www.banned.video/watch?id=61df6e59ae95bf6e8f3a7386


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                     JONES: Hold on, let’s talk about that. That’s why the judges and
                     everybody feel they can’t let me have a real trial. Because they
                     did this. 10

           Thus, in addition to the concerns relating to Mr. Pattis’ prior conduct in litigation, Mr.

Pattis also poses a substantial risk of prejudice through his extra-judicial statements. As the

parties approach trial, this risk grows more acute, as does the likelihood of outrageous

theatrics from Mr. Pattis. As shown below, Mr. Pattis’ judgment and character in this respect

leave much to be desired.

VI.        Mr. Pattis’ Racist and Insensitive Commentary Raises Further Concerns
           about his Reputability.

           The Connecticut Post reported in 2019 that:

                 Local attorney Norm Pattis posted Monday a photo depicting three
                 white-hooded beer cans around a brown beer bottle hanging by the
                 neck from a refrigerator rack to his Facebook page. The caption read
                 “Ku Klux Coors.” 11

           The Post noted that Pattis “defended the initial post with another later Monday night,

that read, ‘Let’s face it: If you’re white, you can’t be right.’” 12 The Post also reported that

“[w]hen newly elected Rep. Rashida Tlaib — the first Palestinian-American woman to serve

in Congress — said on Twitter that she would ‘always speak truth to power,’ Pattis replied,

‘No suicide bombing?’” 13 Plaintiffs’ counsel are vigorous advocates of political speech, but

this is not about politics. It is vile, bigoted non-sense. Mocking a Palestinian-American in this

way is deeply racist and childish. It does not reflect well on Mr. Pattis’ character. While


10   Id. at 25:01.

11 Fenster, Jordan. “NAACP condemns lawyer Norm Pattis over 'racist' image.” Connecticut Post. January 8, 2019.

Available at:

 https://www.ctpost.com/local/article/NAACP-condemns-lawyer-Norm-Pattis-over-racist-13518133.php
12 Id.
13 Id.




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behaving in racist, brutish ways may not violate ethical rules, it is a stain on our profession,

and it is a matter of character which is fairly considered when granting the privilege of pro

hac vice admission.

         The Connecticut Post also reported that Mr. Pattis made unlawyerlike statements

about mass shootings which are especially worrisome given the sensitivities necessary in

this case. The Post reported that in response to a video game in which the player shoots

school classmates, Pattis said it “sort of looks like fun.” 14 In response to the question, “What

do you think about…Louis CK mocking Parkland, FL shooting survivors?”, Mr. Pattis

responded, “Much needed. Thank you, Louis CK.” 15 Again, this is not about politics or political

speech. This is about cheap and performative callousness. Yet this is what can be expected

from Mr. Pattis. When interviewed by the Post, Mr. Pattis stated, “I enjoy being provocative

for the sake of provocation.” 16 He stated, “It’s more than blood sport. I suppose I like the

attention.” 17 The last thing this case needs on the eve of trial is an attention-seeking InfoWars

commentator who spins conspiracy theories and provokes situations for fun, all while

dragging the heavy baggage of his misconduct and misadventures in the Lafferty suit.

         Courts “can, and must, consider the character of an applicant and his or her record of

civility when determining whether to grant pro hac vice status.” Kohlmayer, 124 F.Supp.2d

at 882-83. Denial of the application in such circumstances is especially appropriate when the

party has already shown the ability to secure other representation. See, e.g., Meschi v. Iverson,

805 N.E.2d 72, 75, 60 Mass.App.Ct. 678, 682 (2004) (Application properly denied where out-




14 Id.
15 Id.
16 Id.
17 Id.




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of-state counsel’s past conduct had “skated perilously close to the line” of violating an ethical

rule, and where in-state counsel had already appeared); Mike Woods v. On Baldwin Pond, LLC,

2014 WL 12625077, at *2 (M.D.Fla. 2014) (Noting that although “the Court [did] not find that

the conduct here amounts to an ethical violation,” it was nonetheless proper to deny the

application, especially “in view of the appearance of existing counsel.”); PCG Trading, LLC v.

Seyfarth Shaw, LLP, 460 Mass. 265, 276, 951 N.E.2d 315, 322 (2011) (Finding that “adequate

representation by existing counsel, when combined with the already extended procedural

history of this case, may have reasonably prompted the judge to deny the motion.”). Here, 1)

Defendants are represented by in-state counsel, 2) they already exercised the opportunity

to choose their counsel on nine prior occasions including an attorney admitted pro hac vice,

and 3) the case is on the eve of trial after an extended procedural history.

                                        CONCLUSION

       Given the troubling and bizarre history up to this point, these cases need a Texas

lawyer invested in practicing in this state, or at the very least, an out of state lawyer without

a questionable record or a history of outrageous and sanctionable conduct in the parallel

Sandy Hook case. A contrary ruling risks substantial eleventh-hour prejudice to Plaintiffs and

endangers their trials. For these reasons, Plaintiffs pray that this Court denies pro hac vice

admission.

                                            Respectfully submitted,

                                            KASTER LYNCH FARRAR & BALL, LLP


                                            ____________________________________
                                            MARK D. BANKSTON
                                            State Bar No. 24071066
                                            WILLIAM R. OGDEN


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                                      State Bar No. 24073531
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                                      Houston, Texas 77008
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                                      713.221.8301 Fax



                          CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2022 the forgoing document was served upon
all counsel of record via electronic service.




                                      ____________________________________
                                      MARK D. BANKSTON




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                                 D-1-GN-18-001605
 MARCEL FONTAINE                              §                   IN DISTRICT COURT OF
                                              §
 VS.                                          §
                                              §                  TRAVIS COUNTY, TEXAS
 ALEX E. JONES, INFOWARS, LLC,                §
 FREE SPEECH SYSTEMS, LLC, and                §
 KIT DANIELS                                  §                   459th DISTRICT COURT

                                 D-1-GN-18-001835
 NEIL HESLIN and                              §                   IN DISTRICT COURT OF
 SCARLETT LEWIS                               §
                                              §                  TRAVIS COUNTY, TEXAS
 VS.                                          §
                                              §                    261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                §
 FREE SPEECH SYSTEMS, LLC, and                §
 OWEN SHROYER                                 §

                                 D-1-GN-18-001842
 LEONARD POZNER and                           §                   IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                         §
                                              §                  TRAVIS COUNTY, TEXAS
 VS.                                          §
                                              §                   345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                §
 and FREE SPEECH SYSTEMS, LLC                 §


                 PLAINTIFFS’ RESPONSE TO NORMAN PATTIS’
               MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE


       On this day, the Court considered Norman Pattis’ Motion for Admission of Counsel

Pro Hac Vice. After considering the pleadings, and the arguments of counsel, if any, the Court

finds there is good cause to deny pro hac vice admission to Mr. Pattis.



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      The Court therefore DENIES the Motion for Admission of Counsel Pro Hac Vice.


      Dated ___________________________, 2022.



                                                     _____________________________________
                                                     Hon. Maya Guerra Gamble




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                                                                                          ORDER       421277
DOCKET NO: UWYCV186046436S                                  SUPERIOR COURT

LAFFERTY, ERICA Et Al                                       JUDICIAL DISTRICT OF WATERBURY
  V.                                                          AT WATERBURY
JONES, ALEX EMRIC Et Al
                                                            8/5/2021



                                                  ORDER


ORDER REGARDING:
07/06/2021 394.00 MOTION FOR ORDER

The foregoing, having been considered by the Court, is hereby:

ORDER:

By written stipulation, and unless the court orders otherwise, parties can agree to modify discovery
procedures. See Connecticut Practice Book Section 13-32. In these consolidated cases, the defendants
Alex Jones, Free Speech Systems, LLC, Infowars, LLC, Infowars Health, LLC, and Prison Planet TV,
LLC (“the Jones defendants”) did just that. Additionally, they took their agreement with the plaintiffs a
step further and asked the court to issue a protective order pursuant to Practice Book Section 13-5 and
approve their joint discovery stipulation. The Jones defendants filed no less than three versions of a
proposed protective order for the court’s approval, see entry numbers 177,181,183, and 185, asserting
that they were asking for the same discovery protection that would have been in place in federal court
had the cases not been remanded back to state court. They indicated, correctly, that discovery materials
are not filed with the court and as such are not ordinarily available to the public. The court ultimately
approved the stipulation of the parties, which complied with all relevant requirements of the Connecticut
Practice Book and which, inter alia, set forth the procedure by which sensitive confidential information
obtained through pretrial discovery would be handled and, if necessary, filed with the court. The order
provided that of all or part of a deposition transcript could be designated as confidential by counsel for
the deponent or designated party, by requesting such treatment on the record at the deposition or in
writing no later than thirty days after the date of the deposition. It set forth simple procedures by which
the designation of “confidential” could be subsequently challenged, and how confidential information
could be filed with the court. Importantly for the purposes of this motion, the protective order clearly
prohibited discovery information designated as confidential from being filed with the court until such
time that the court had ruled on the designating party’s motion under Practice Book Section 11-20A.
The Jones defendants did not oppose the plaintiffs’ June 8,2021 motion to modify the protective order,
which recited a good cause basis for the modification and which added a “Confidential- Attorneys Eyes
Only” designation to the above mentioned procedures. Based upon the written motions filed by the
plaintiffs and the Jones defendants, the court, in entering the protective orders, found good cause for
both the issuance of the original protective order and its modification. In support of the motion for
protective order, the Jones defendants identified their privacy interests in sensitive proprietary
information including proprietary business, financial, and competitive information that they maintain as
trade secrets, proprietary business and marketing plans, marketing data, web analytics, sales analytics,
and/or other web traffic data, and marketing data or analytics. They referred to the “unique” business
model that makes them competitive and successful. The plaintiffs, in support of the modification to the
protective order, identified their privacy interests in their medical histories, psychiatric records,and
private social media accounts. In the midst of taking the first deposition of a plaintiff, the defendants
Free Speech Systems LLC, Infowars LLC, Infowars Health LLC, and Prison Planet TV LLC
(Infowars),filed a motion to depose Hillary Clinton, using deposition testimony that had just been
designated as “Confidential-Attorneys Eyes Only,” and completely disregarding the court ordered
procedures. At no point prior to filing the Clinton motion did Infowars profess ignorance of the
procedures they had proposed and which were court ordered to be followed, nor have they since taken
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any steps to correct their improper filing. If Infowars was of the opinion that the plaintiffs’ designation
was unreasonable and not made in good faith, the solution was to follow the court ordered procedure to
challenge the designation, not to blatantly disregard it and make the confidential information available
on the internet by filing it in the court file. The court rejects Infowars’ baseless argument that there was
no good cause to issue the protective orders, where both sides recited, in writing, detailed justification
for a good cause basis. In short, Infowars, having advocated for a court ordered protective order, filing
no less than three versions, having recited in writing the good cause bases for the issuance of the
protective order, and having no objection to the plaintiffs’ proposed modification, now takes the absurd
position that the court ordered protective order circumvents the good cause requirements of Practice
Book 13-5, did not need to be complied with, and should not be enforced by the court. This argument is
frightening. Given the cavalier actions and willful misconduct of Infowars in filing protected deposition
information during the actual deposition, this court has grave concerns that their actions, in the future,
will have a chilling effect on the testimony of witnesses who would be rightfully concerned that their
confidential information, including their psychiatric and medical histories, would be made available to
the public. The court will address sanctions at a future hearing.

Judicial Notice (JDNO) was sent regarding this order.

                                                              421277

                                                              Judge: BARBARA N BELLIS
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court E-Services
Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf), section 51-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




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     1                                  REPORTER'S RECORD
                                      VOLUME 1 OF 1 VOLUME
     2

     3     NEIL HESLIN,                                 )   IN THE DISTRICT COURT
                                                        )
     4           Plaintiff                              )   TRAVIS COUNTY, TEXAS
                                                        )
     5     VS.                                          )   459TH JUDICIAL DISTRICT
                                                        )
     6     ALEX E. JONES, INFOWARS,                     )
           LLC, ET AL.,                                 )   TRIAL COURT CAUSE NO.
     7                                                  )   D-1-GN-18-001835 AND
                 Defendant                              )   D-1-GN-19-004651
     8

     9     LEONARD POZNER AND                           )   IN THE DISTRICT COURT
           VERONIQUE DE LA ROSA,                        )
    10                                                  )   TRAVIS COUNTY, TEXAS
                 Plaintiff                              )
    11                                                  )   459TH JUDICIAL DISTRICT
           VS.                                          )
    12                                                  )
           ALEX E. JONES, INFOWARS,                     )   TRIAL COURT CAUSE NOS.
    13     LLC, ET AL.,                                 )   D-1-GN-18-001842
                                                        )
    14           DEFENDANTS                             )

    15
           SCARLETT LEWIS,                              )   IN THE DISTRICT COURT
    16                                                  )
                 Plaintiff                              )   TRAVIS COUNTY, TEXAS
    17                                                  )
           VS.                                          )   459TH JUDICIAL DISTRICT
    18                                                  )
           ALEX E. JONES, INFOWARS,                     )
    19     LLC, ET AL.,                                 )   TRIAL COURT CAUSE NO.
                                                        )   D-1-GN-18-006623
    20           DEFENDANTS                             )

    21
          -------------------------------------------------------
    22

    23
                      MOTION TO COMPEL; MOTION FOR SANCTIONS
    24

    25

                      Alicia DuBois, Texas CSR 5332 - 459th District Court, Travis County
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     1    corporate rep. depositions for the TCPA motion to

     2    dismiss that Mr. Bankston was unhappy about the

     3    answers, and he brought those to Judge Jenkins's

     4    attention and Judge Jenkins entered an order of

     5    contempt and a $500 fine on that.

     6                  But there's been no missed depositions.                             I

     7    haven't received any requests for additional

     8    depositions.         There's been no pushback from me on him

     9    saying he's not entitled to depositions.                              So I don't

    10    know where that comes from.

    11                  You know, and the last thing about this

    12    filing that occurred in the midst of a deposition,

    13    Mr. Pattis, who filed that thing in Connecticut, first

    14    of all, he didn't identify the plaintiff, he didn't

    15    actually provide quotes to transcription of the

    16    statements, but he wasn't even in the deposition, that

    17    was kind of his thing that he did, he wasn't even the

    18    one doing that.

    19                  But more importantly, I had nothing to do --

    20                  THE COURT:           You just said he wasn't -- that

    21    was his thing that he did, he didn't even do that.

    22    That's literally what just came out of your mouth.

    23                  MR. REEVES:           No, I'm sorry, I didn't mean

    24    that.

    25                  He -- he did not -- Mr. Pattis was not taking

                      Alicia DuBois, Texas CSR 5332 - 459th District Court, Travis County
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     1    the deposition.           He did not file the motion as he was

     2    taking the deposition.                Another lawyer for the

     3    defendants was taking the deposition and he just, in

     4    the midst of this, filed it.                     And that was, you know.

     5    But he didn't actually do anything as far as

     6    identifying the plaintiff or anything like that.

     7                  But really overall, the overarching point

     8    here is that there's nothing in Connecticut that has

     9    anything to do with these cases as far as the discovery

    10    is concerned.         I know Mr. Bankston wants to draw

    11    corollaries between them, but the discovery stuff that

    12    is at issue in Connecticut is far broader, far more

    13    encompassing than the discovery issue here.                                And so

    14    it's not a one-to-one correlation to what's there

    15    versus what should be here.

    16                  Mr. Bankston also fails to mention that

    17    there's also a Virginia case where there has been no

    18    discovery issues because, frankly, Mr. Randazza is part

    19    of that case now and discovery has proceeded orderly

    20    there.     There's no issues there.                     There's been some

    21    slight disagreements, but there's been none of this --

    22    you know, Connecticut and here, there's a lot of puff

    23    up over discovery, lots of motions for sanctions and

    24    lots of issues there, but that's, you know.

    25                  Again, I can't -- I'm here to live in the

                      Alicia DuBois, Texas CSR 5332 - 459th District Court, Travis County
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       SHERLACH, WILLIAM                      :   JUDICIAL DISTRICT
                                                  OF FAIRFIELD
       v.                                     :   AT BRIDGEPORT, CONNECTICUT
       JONES, ALEX, ET AL.                    :   JUNE 18, 2019
       NO: UWY-CV18-6046438 S                 :   SUPERIOR COURT
       LAFFERTY, ERICA, ET AL.                :   JUDICIAL DISTRICT
                                                  OF FAIRFIELD
       v.                                     :   AT BRIDGEPORT, CONNECTICUT
       JONES, ALEX EMRIC, ET AL.              :   JUNE 18, 2019
       NO: UWY-CV18-6046436 S                 :   SUPERIOR COURT
       SHERLACH, WILLIAM, ET AL.              :   JUDICIAL DISTRICT
                                                  OF FAIRFIELD
       v.                                     :   AT BRIDGEPORT, CONNECTICUT
       JONES, ALEX EMRIC, ET AL.              :   JUNE 18, 2019


                   BEFORE THE HONORABLE BARBARA N. BELLIS, JUDGE

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               ATTORNEY WILLIAM BLOSS
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           TV, LLC:
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   1            litigation, the parties before it, and the processes

   2            before it.     This exceeds any kind of sanctionable

   3            conduct that the Connecticut Courts have ever

   4            considered.     And really exceeds sanctionable conduct

   5            in some of the federal cases that we’ve cited to Your

   6            Honor.

   7                  So I think unless Your Honor has any questions,

   8            I’ll --

   9                  THE COURT:     Thank you, Attorney Bloss.         Did you

  10            want to respond briefly, Counsel, or are you all set?

  11                  ATTY. REILAND:      Your Honor, we’ll -- we’ll stand

  12            on Attorney Pattis’s argument.          I would just say, I

  13            guess reasonable minds could disagree, because of all

  14            the sanctions and all the, hate to say, grandstanding

  15            that we’re seeing here reading from the transcript,

  16            I’m not seeing any threats to Attorney Mattei here.

  17            You know, it’s -- it’s not great language.             It’s bad

  18            language in some points.         But it’s not an apparent

  19            threat.    So thank you, Judge.

  20                  THE COURT:     So I’ll take a two-minute recess.

  21                  (THE COURT RECESSED AND RETURNED WITH THE

  22            FOLLOWING)

  23                  THE COURT:     All right.     So I’m going to start

  24            with the discovery issues.

  25                  Putting aside the fact that the documents the

  26            Jones defendants did produce contained child

  27            pornography, putting aside the fact that the Jones
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   1            defendants filed with the Court a purported affidavit

   2            from Alex Jones that was not in fact signed by Alex

   3            Jones, the discovery in this case has been marked

   4            with obfuscation and delay on the part of the

   5            defendants, who, despite several Court-ordered

   6            deadlines as recently as yesterday, they continue in

   7            their filings to object to having to, what they call

   8            affirmatively gather and produce documents which

   9            might help the plaintiffs make their case.             Despite

  10            over approximately a dozen discovery status

  11            conferences and several Court-ordered discovery

  12            deadlines, the Jones defendants have still not fully

  13            and fairly complied with their discovery obligations.

  14                  By way of one example, on June 10th, counsel for

  15            the Jones defendants stated in their filing that Alex

  16            Jones’ cellphone had only been searched for emails,

  17            not for text messages or other data.           In their June

  18            17 filing, defendants still try to argue with respect

  19            to the text messages that there is little to no

  20            personal nexus between the text messages and the

  21            litigation, and that the plaintiffs are simply prying

  22            into the Alex Jones defendants’ personal affairs.

  23            But the discovery objections were ruled on by the

  24            Court months ago and the defendants still have not

  25            fully and fairly complied.

  26                  Also, as another example, the Google Analytics

  27            data was ordered to be produced.          And this is a
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   1            Google Analytics account that had to be created and

   2            set up by and utilized, according to the testimony,

   3            by some of the Jones defendants.          Only a 35-page

   4            report was produced.        In their June 17 filing, the

   5            Jones defendants apparently say that they don’t

   6            possess the data themselves and they should not have

   7            to get it from Google because Google holds Alex Jones

   8            in contempt.      And anything that Google generated

   9            would be, and I quote, inherently unreliable,

  10            unquote.     And again, the Jones defendants miss the

  11            mark.    They were ordered to produce that data.

  12                    Our rules of practice require a party to produce

  13            materials and information, quote, within their

  14            knowledge, possession, or power; and it is clearly

  15            within the power of the Jones defendants to obtain

  16            the information from Google if, as they claim, they

  17            don’t possess it themselves.          So their objection is

  18            too late and their failure to fully and fairly comply

  19            is inexcusable.

  20                    So in short, we’ve held approximately a dozen

  21            discovery status conferences.          The Court’s entered

  22            discovery deadlines, extended discovery deadlines,

  23            and discovery deadlines have been disregarded by the

  24            Jones defendants, who continue to object to their

  25            discovery and failed to produce that which is within

  26            their knowledge, possession, or power to obtain.              And

  27            again, among the documents that they did produce
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   1            contained images of child pornography.

   2                  I also note that the Jones defendants have been

   3            on notice from this Court both on the record and in

   4            writing in written orders that the Court would

   5            consider denying them their opportunity to pursue a

   6            special motion to dismiss if the continued

   7            noncompliance continued.

   8                  Now with respect to the plaintiffs’ request for

   9            immediate review and the Jones defendants’ objections

  10            thereto, as I’ve said, I’ve reviewed the -- both

  11            broadcasts several times.         The law is clear in

  12            Connecticut and elsewhere, for that matter, that the

  13            Court has authority to address out-of-court bad-faith

  14            litigation misconduct where there is a claim that a

  15            party harassed or threatened or sought to intimidate

  16            counsel on the other side.         And indeed, the Court has

  17            the obligation to ensure the integrity of the

  18            judicial process and functioning of the Court.

  19                  So if Mr. Jones truly believed that Attorney

  20            Mattei or anyone else in the Koskoff firm planted

  21            child pornography trying to frame him, the proper

  22            course of action would be to contact the authorities

  23            and/or to have your attorney file the appropriate

  24            motions in the existing case.          Just by way as an

  25            example, the Jones defendants here could have filed a

  26            motion asking that the lawsuits be dismissed for that

  27            reason.
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   1                  What is not appropriate, what is indefensible,

   2            unconscionable, despicable, and possibly criminal

   3            behavior is to accuse opposing counsel, through a

   4            broadcast, no less, of planting child pornography,

   5            which is a serious felony.         And to continue with the

   6            accusations in a tirade or rant for approximately 20

   7            minutes or so.

   8                  Now, because I want to make a good record for

   9            appeal, I’m going to refer to certain portions of the

  10            transcript of the website.         And I would note that Mr.

  11            Jones refers to Attorney Mattei as a Democratic-

  12            appointed US attorney, holds up on the camera

  13            Attorney Mattei’s Wikipedia page which indicates that

  14            he is a Democrat, and puts the camera on the website

  15            page, which looks like it’s from the law firm.

  16                  Alex Jones states: what a nice group of

  17            Democrats.     How surprising, what nice people.           Chris

  18            Mattei, Chris Mattei.        Let’s zoom in on Chris Mattei.

  19             Oh, nice, little Chris Mattei.          What a good

  20            American.     What a good boy.      You’ll think you’ll put

  21            me on.

  22                  Now, the transcript doesn’t reflect this, but

  23            when I listened to the broadcast, I heard, I’m going

  24            to kill.     Now, that’s not in the transcript, but that

  25            is my read and understanding and what I heard in the

  26            broadcast.

  27                  He continues to say: anyways, I’m done.            Total
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   1            war.    You want it, you got it.        I’m not into kids

   2            like your Democratic Party, you cocksuckers, so get

   3            ready.

   4                   And during this particular tirade, he slammed

   5            his hand on Attorney Mattei’s picture, which was on

   6            the camera at that point.

   7                   He continues on shortly thereafter: the point

   8            is, I’m not putting up with these guys anymore, man,

   9            and their behavior because I’m not an idiot.             They

  10            literally went right in there and found this hidden

  11            stuff.    Oh, my god, oh, my god, and they’re my

  12            friends.     We want to protect you now, Alex.          Oh,

  13            you’re not going to get into trouble for what we

  14            found.    F you, man, F you to hell.         I pray God, not

  15            anybody else, God visit vengeance upon you in the

  16            name of Jesus Christ and all the saints.            I pray for

  17            divine intervention against the powers of Satan.

  18                   I literally would never have sex with children.

  19             I don’t like having sex with children.            I would

  20            never have sex with children.          I am not a Democrat.

  21            I am not a Liberal.       I do not cut children’s genitals

  22            off like the left does.

  23                   Further on, referring to the person who sent the

  24            child porn, he says: I wonder who the person of

  25            interest is.      Continues to say: oh, no.        Attorney

  26            Pattis says: look, are you showing Chris Mattei’s

  27            photograph on here; and the record should reflect
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   1            that when Alex Jones said I wonder who the person of

   2            interest is, Attorney Mattei’s photo was on the

   3            camera.    Again, referring to who planted the child

   4            pornography.      Then Alex Jones says: oh, no, that was

   5            an accidental cut.       He’s a nice Obama boy.        He’s a

   6            good -- then Attorney Pattis cuts him off.             Attorney

   7            -- Alex Jones goes on to say: he’s a white Jew-boy

   8            that thinks he owns America.

   9                  Later on in the broadcast, Alex Jones says,

  10            quote, the bounty is out, bitches.           And you know your

  11            feds, they’re going to know you did it.            They’re

  12            going to get your ass you little dirt bag.             One

  13            million, bitch, it’s out on your ass.

  14                  Shortly thereafter, he says: a million dollars

  15            is after them.      So I bet you’ll sleep real good

  16            tonight, little jerk, because your own buddies are

  17            going to turn you in and you’re going to go to

  18            prison, you little white Jew-boy jerk-off son of a

  19            bitch.    I mean, I can’t handle them.         They want more,

  20            they’re going to get more.         I am sick of these

  21            people, a bunch of chicken-craps that have taken this

  22            country over that want to attack real Americans.

  23                  And those are just portions of the transcript

  24            that the Court relied on.         The Court has no doubt

  25            that Alex Jones was accusing Plaintiffs’ Counsel of

  26            planting the child pornography.

  27                  Again, these are just a few examples where Jones
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   1            either directly harasses or intimidates Attorney

   2            Mattei, repeatedly accuses Plaintiffs’ Counsel of

   3            requesting the metadata so they could plant the child

   4            pornography, continues to call him a bitch, a sweet

   5            little cupcake, a sack of filth, tells him to go to

   6            hell, and the rant or tirade continues with frequent

   7            declarations of war against Plaintiffs’ Counsel.

   8                  I reject the Jones defendants’ claim that Alex

   9            Jones was enraged.       I disagree with Attorney Pattis’s

  10            representation here.        I find based upon a review of

  11            the broadcast clips that it was an intentional,

  12            calculated act of rage for his viewing audience.              So

  13            -- and I note as Plaintiffs’ Counsel pointed out,

  14            that Alex Jones was the one who publically brought

  15            the existence of the child pornography to light on

  16            his Infowars show.

  17                  But putting that aside, putting aside whether it

  18            was -- he was in a real rage or whether he was acting

  19            out rage, it doesn’t really matter for the purposes

  20            of the discussion whether he was truly enraged or

  21            not, because the 20-minute deliberate tirade and

  22            harassment and intimidation against Attorney Mattei

  23            and his firm is unacceptable and sanctionable.              And

  24            the Court will sanction here.

  25                  So for all these reasons, the Court is denying

  26            the Alex Jones defendants the opportunity to pursue

  27            their special motions to dismiss and will award
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   1            attorney’s fees upon further hearing and the filing

   2            of affidavits regarding attorney’s fees.            I would

   3            note that the attorney’s fees will be related only to

   4            the conduct relating to the child pornography issue

   5            and not for the discovery failures.

   6                  At this point, I decline to default the Alex

   7            Jones defendants, but I will -- I don’t know how

   8            clearly I can say this.        As this case progresses, and

   9            we will get today before you leave a trial date in

  10            the case now and a scheduling order.           As the

  11            discovery in this case progresses, if there is

  12            continued obfuscation and delay and tactics like I’ve

  13            seen up to this point, I will not hesitate after a

  14            hearing and an opportunity to be heard to default the

  15            Alex Jones defendants if they from this point forward

  16            continue with their behavior with respect to

  17            discovery.

  18                  So I’m going to call other matters now.            I’m

  19            going to ask that you -- that there not be any

  20            conversations in the courtroom because I do have

  21            other matters to call.        I’m going to ask Counsel to

  22            work on a scheduling order, pick a trial date.              I am

  23            going to need to see it before you leave.             So if you

  24            could maybe do that in another room, and then I’ll

  25            come back on the record for that.

  26                  (THE COURT PROCEEDED WITH OTHER MATTERS AND

  27            RETURNED WITH THE FOLLOWING)
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   1                  THE COURT:     Were you able to complete a

   2            scheduling order and pick a trial date?

   3                  ATTY. MATTEI:      Yes, Your Honor, we have.         The

   4            completed scheduling order here is signed by Counsel

   5            --

   6                  THE COURT:     Can I take a --

   7                  ATTY. MATTEI:      -- with a proposed trial date of

   8            November, 2020.

   9                  THE COURT:     Okay.    Can I take a look at it?        Do

  10            you mind?

  11                  ATTY. MATTEI:      Yes.

  12                  THE COURT:     Thank you very much.        What about

  13            summary judgment motions?

  14                  ATTY. MATTEI:      Your Honor, you’ll note that we

  15            left that blank because certain defendants in the

  16            case still have their Anti-SLAPP motion pending.                 And

  17            so we thought it best to leave that date open at

  18            least for now.      Attorney Brown and Attorney Jakiela

  19            obviously both want to reserve their right, if

  20            necessary, to file a motion for summary judgment.

  21            But because they still have motions to dismiss

  22            pending, the timing of that was uncertain.

  23                  THE COURT:     All right.     And the Court Officer in

  24            Waterbury is on vacation this week anyway.             So I’m

  25            not -- unlike Bridgeport where we can put 20 cases

  26            down for trial in the same day, I’m not sure that

  27            they’ll be able to accommodate this exact trial date.
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   1             So I’ll give this over to him.          At some point, we’re

   2            going to need summary judgment deadlines, though,

   3            because what I can’t have is the summary judgments

   4            argued, you know, two weeks before the trial date.               I

   5            definitely want the 120 days.

   6                  ATTY. MATTEI:      Correct, Your Honor.

   7                  THE COURT:     Okay.     Anything else today?

   8                  ATTY. MATTEI:      No.     Thank you very much, Your

   9            Honor.

  10                  ATTY. REILAND:      No, Your Honor.

  11                  THE COURT:     Thank you, Counsel.

  12

  13                                    ******

  14                  (END OF TRANSCRIPT)

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                                                  OF FAIRFIELD
       v.                                     :   AT BRIDGEPORT, CONNECTICUT
       JONES, ALEX EMRIC, ET AL.              :   JUNE 18, 2019




                               C E R T I F I C A T I O N




                I hereby certify the foregoing pages are a true and

       correct transcription of the audio recording of the above-

       referenced case, heard in Superior Court, Judicial District of

       Fairfield, at Bridgeport, Connecticut, before the Honorable
       Barbara N. Bellis, Judge, on the 18th day of June, 2019.




                Dated this 19th day of June, 2019, in Bridgeport,

       Connecticut.




                                              _______________________________
                                              Colleen Birney
                                              Court Recording Monitor
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                                                                                           Velva L. Price
                                                                                           District Clerk
                                                                                          Travis County
                                                                                       D-1-GN-18-001835
                                 D-1-GN-18-001835                                          Chloe Jimenez

 NEIL HESLIN and                              §                  IN DISTRICT COURT OF
 SCARLETT LEWIS                               §
                                              §                 TRAVIS COUNTY, TEXAS
 VS.                                          §
                                              §                   261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                §
 FREE SPEECH SYSTEMS, LLC, and                §
 OWEN SHROYER                                 §

                                 D-1-GN-18-001842
 LEONARD POZNER and                           §                  IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                         §
                                              §                 TRAVIS COUNTY, TEXAS
 VS.                                          §
                                              §                   345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                §
 and FREE SPEECH SYSTEMS, LLC                 §


       PLAINTIFFS’ RESPONSE TO MOTION FOR CONTEMPT AND SANCTIONS


        Defendants allege that the public filing of Plaintiffs’ December 27, 2021 Motion for

Sanctions violated the Protective Order. In truth, Defendants’ counsel is simply ill-informed

about the details of the Protective Order and the history of the case. As shown below,

Plaintiffs’ public filing was mandatory under the Protective Order, and the same series of

events has occurred multiple times with no complaint from Defendants.

                                      BACKGROUND

I.      The Protective Order has Requirements for Pleadings with “Attorneys’
        Eyes Only” Material.

        There is no dispute that materials at issue in Defendants’ Motion for Sanctions were

considered “Attorneys’ Eyes Only.” Under the Protective Order, all deposition transcripts are

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              Today the Plaintiff has served InfoWars with a copy of her
              Motion for Sanctions for Discovery Abuse…The motion cites
              evidence designated as confidential. Under the terms of the
              protective order, Plaintiff has served this motion, but has not yet
              filed it pending Defendants’ action on a Temporary Sealing
              Order…Plaintiff would also be happy to provide a courtesy copy
              of the motion, but was not sure if courtesy service on the Court
              was intended by the Protective Order. (See Ex. 2, March 20, 2019
              email discussion with Court).

       The Court responded:

              Please provide the Court with a courtesy copy of plaintiff’s
              motion. I will be back in touch regarding your request for a
              hearing. (Id.).

       Eight days following service, after the period for temporary sealing had elapsed with

no request from the Defendants, Ms. Lewis publicly filed her motion unsealed with the Clerk

on March 28, 2019. The “Attorneys’ Eyes Only” materials, including the depositions of Mr.

Jones and Free Speech Systems, entered the public domain. Mr. Jones’ deposition became the

subject of intense public interest and media scrutiny after that public filing.

       Later that fall, following Mr. Jones’ second deposition on November 26, 2019, Plaintiff

followed the same procedure, and a pleading containing his deposition was filed publicly on

December 12, 2019 after Defendants again chose not to seek a Temporary Sealing Order. On

neither of those occasions did Defendants allege that the Protective Order had been violated.

                       PLAINTIFFS’ DECEMBER 27, 2021 FILING

       These same events were repeated in December 2021. Plaintiffs took depositions of

Alex Jones and Free Speech Systems on December 3-4, 2021. During those depositions,

Defendants designated the transcripts as confidential. Additionally, under the Protective

Order, those transcripts were to be considered “Attorneys’ Eyes Only” for thirty days

following the deposition. (Ex. 1, Protective Order, para. 12). Defendants also provided


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answers to net worth discovery on December 7, 2021. Those materials were likewise

designated “Attorneys’ Eyes Only” at the time of production.

       Plaintiffs’ Motion for Sanctions Regarding Corporate Representative Deposition cites

these “Attorneys’ Eyes Only” materials. As noted above, when a party seeks to file a pleading

which includes materials designated “Attorneys’ Eyes Only,” the party must follow the

procedure laid out in paragraph 21 of the Protective Order. As such, on December 15th, 2021,

Plaintiffs served a copy of their motion, but did not file it with Clerk, informing the Court and

opposing counsel that:

              Today, the Sandy Hook plaintiffs have brought a motion alleging
              the failure to prepare a corporate representative for the
              company’s December 3rd deposition on compensatory and
              punitive damages issues. Plaintiffs’ brief contains materials
              designated by Defendants as confidential. Therefore, Plaintiffs
              are serving the Court but not filing this brief with the Clerk
              pursuant to the Protective Order. (See Ex. 3, December 15, 2021
              email to Court).

       During the following week, Defendants did not ask the Court to enter a Temporary

Sealing Order as set forth in paragraph 21 of the Protective Order. The following Monday

after that period expired, on December 27th, 2021, Plaintiffs filed their pleading unsealed

with the clerk as directed by paragraph 21. This series of events transpired exactly as it had

on two prior occasions in this case.

       That same day, Defendants’ counsel wrote to Plaintiffs after the motions were filed,

asking for an explanation. Plaintiffs’ counsel advised that “the motion was filed with the clerk

unsealed today pursuant to Paragraph 21 of the Protective Order.” (See Ex. 4, December 27,

2021 email between counsel).

       On December 29, 2021, Defendants’ counsel wrote advising of his intention to seek

sanctions for violation of the Protective Order. Plaintiffs’ counsel responded: “Regarding the
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unsealed motion we filed, I need you to explain how our filing an unsealed pleading pursuant

to paragraph 21 breaches the Protective Order. You did not respond to my email earlier this

week, so my assumption is that you recognized that it was consistent with the order.” (See

Ex. 5, December 29, 2021 email between counsel). More than a week passed with no

response from Defendants.

           On January 7, 2022, the Huffington Post published a story regarding InfoWars’

revenue, citing a copy of Plaintiffs’ pleading which they obtained from the District Clerk.

Plaintiffs’ counsel was contacted by the reporter but declined to comment, as noted in the

article.

           On January 8, 2022, Defendants filed a Response to Plaintiffs’ Motion for Sanctions in

which they alleged Plaintiffs’ Motion had violated the Protective Order. On January 10, 2022,

Plaintiffs’ counsel wrote: “Since you have now publicly accused me in a pleading of violating

the Court’s protective order, I am once again asking you to specify exactly how you contend

our filing on December 27th violated the order. I have asked this question multiple times, and

you have refused to respond.” (See Ex. 6, January 10, 2022 email between counsel).

           Defendants’ counsel responded, identifying three alleged violations:

              •   “[Y]ou have breached the protective order in filing the deposition
                  transcripts and exhibits to the deposition without allowing the
                  requisite period of time under the order to designate confidential
                  materials.”

              •   “[W]hen you submitted the original filing, you provided it to the Court
                  instead of just the parties, which violates the protective order in and
                  of itself.”

              •   “[O]verall your filings of confidential private AEO materials,
                  particularly the net worth documentation, violates the protective
                  order and the spirit of the designations themselves.” (Id.).



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        On January 12, 2022, Defendants filed their Motion for Sanctions, though now

Defendants also argue that Plaintiffs violated the Protective Order by not moving for a

Temporary Sealing Order themselves. (Def. Motion, p. 5). All these arguments are baseless.

                                               ARGUMENT

I.      The Transcripts were Designated Confidential and Treated as Such by
        Plaintiffs.

        Defendants first complain that Plaintiffs filed their motion without allowing the

period of time under the Protective Order to designate confidential materials to expire. Yet

the transcripts had already been designated confidential, both during the depositions and

automatically by the Protective Order itself. In paragraph 12, the Protective Order states:

                 Testimony and information disclosed at a deposition of a Party
                 or any other witness may be designated “CONFIDENTIAL” or
                 “ATTORNEYS' EYES ONLY” during the deposition, and within
                 thirty (30) days following the depositions, any Party may
                 designate any information disclosed during a deposition as
                 “CONFIDENTIAL” or “ATTORNEYS' EYES ONLY.” For the thirty
                 (30) days following any deposition, the Parties must treat all of
                 the deposition testimony and exhibits and other documents
                 produced at any deposition as “ATTORNEYS' EYES ONLY.”

        Thus, a party may designate the transcript as confidential on the day of the deposition

or within thirty days. Here, Defendants designated the transcript confidential on the day of

the deposition. Even if they had not, all transcripts are automatically considered “Attorneys’

Eyes Only” for thirty days. In short, Plaintiffs do not dispute that the deposition transcripts

were required to be treated as “Attorneys’ Eyes Only” under the Protective Order. 1




1Defendants’ Motion also claims that “Plaintiffs violated the Protective Order by filing the depositions within
thirty (30) days following the deposition of the Corporate Representative and Defendant Jones.” (Def. Motion,
p. 7). Yet there is nothing in the Protective Order to support that proposition. The Protective Order merely
requires that all deposition transcripts be treated as “Attorneys’ Eyes Only” during that thirty-day period.
Plaintiffs did exactly that. The Protective Order does not limit when pleadings may be filed.

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         Because the transcripts were considered “Attorneys’ Eyes Only,” Plaintiffs were

obligated to follow the Protective Order when bringing any motion which contained those

transcripts. For this reason, Plaintiffs followed paragraph 21 of the Protective Order.

Plaintiffs served the motion without filing the brief with the Clerk. Plaintiffs then took no

action during the period in which Defendants were allowed to request a Temporary Sealing

Order. When no order was requested, Plaintiffs filed the brief unsealed as required by

paragraph 21 of the Protective Order. This same process had already occurred multiple

times in this lawsuit. Any complaint by Defendants is due purely to their own lack of diligence

under a Protective Order which they proposed.

II.      The Court Previously Instructed Plaintiffs to Serve the Court in Addition
         to Opposing Counsel.

         Defendants next complain that when serving the motion, Plaintiffs “provided it to the

Court instead of just the parties, which violates the protective order in and of itself.” (January

10 email). This is untrue. Plaintiffs served a courtesy copy to chambers because the Court

had previously confirmed that service to chambers was contemplated by the Protective

Order.

         The first time Ms. Lewis brought a motion with confidential information in 2019,

Plaintiffs’ counsel noticed that the Protective Order directs parties to serve their opponent,

and it forbids filing with the Clerk for the next seven days, but it was silent on whether the

Court should be served. For this reason, Ms. Lewis asked the Court on March 20, 2019 for

clarification as to whether “courtesy service on the Court was intended by the Protective

Order.” (Ex. 2, March 20, 2019 discussion with Court). In response, the Court advised that

the Plaintiff should “provide the Court with a courtesy copy.” (Id.). Later that fall, Mr. Heslin



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followed the same procedure when he served opposing counsel and the Court with a motion

containing Mr. Jones’ second deposition, and then filed the motion publicly after the

Temporary Sealing period expired. Plaintiffs likewise followed the same procedure with

their latest filing.

        In short, Plaintiffs were following a well-established process which they had

previously confirmed with the Court. Moreover, Defendants cannot identify any prejudice

from serving a courtesy copy directly to chambers in addition to the opposing party.

Paragraph 21 of the Protective Order exists to allow an opportunity for a party to prevent an

unsealed filing with the Clerk, thereby limiting public dissemination. The Court and its staff,

on the other hand, will obtain an unsealed copy in either case.

III.    Plaintiffs were not Obligated to Request a Temporary Sealing Order.

        Defendants next argue that Plaintiffs violated the Protective Order because after

serving their motion, “Plaintiffs filed no motion for Temporary Sealing Order.” (Def. Motion,

p. 5). In reality, there is no requirement in the Protective Order that any party move for a

Temporary Sealing Order. The window for seeking a Temporary Sealing Order exists so that

the party who owns the designated material can seek enhanced protection over a court

record which would otherwise be presumptively public. Plaintiffs are not responsible for

protecting the interests of their adversaries, and there is nothing in the Protective Order

which forces them to bring such a motion on behalf of Defendants. Plaintiffs are merely

required to allow for a window for Defendants to request a Temporary Sealing Order if they

choose. This procedure is further borne out by the multiple times in which Plaintiffs

previously filed material which had been designated as “Attorneys’ Eyes Only.” (See Ex. 2,




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March 20, 2019 email discussion with Court) (Noting Plaintiff “has not yet filed [the motion]

pending Defendants’ action on a Temporary Sealing Order.”).

       When the Defendants chose not to request a Temporary Sealing Order, Plaintiffs had

no choice but to file the document publicly, as it was mandatory under the Protective Order.

(Ex. 1, Protective Order, para. 21) (“Immediately thereafter, if no motion for a Temporary

Sealing Order has been granted, the party who served the pleading or other paper shall file

it unsealed with the Clerk.”). Defendants’ complaint lies solely with their own lack of

diligence.

IV.    Plaintiffs can only be Sanctioned for Violating the Order, not a Subjective
       Complaint about the “Spirit of the Designations.”

       In their meet and confer letter, Defendants argued that Plaintiffs’ “filings of

confidential private AEO materials, particularly the net worth documentation, violates…the

spirit of the designations themselves.” (See Ex. 6, January 10, 2022 email). It is unclear

whether Defendants’ Motion also adopts this position. The argument suggests that even if

Plaintiffs complied with the terms of the Protective Order, and even if Defendants slept on

their rights, sanctions should issue.

       Defendants’ contempt motion cannot be granted based on some subjective “spirit” of

the designations. To find Plaintiffs in contempt of the order, “the order allegedly violated

‘must spell out the details of compliance in clear, specific and unambiguous terms so that

such person will readily know exactly what duties or obligations are imposed upon him.’ The

order's interpretation may ‘not rest upon implication or conjecture.’ Rather, the alleged

violation ‘must be directly contrary’ to the order's express terms. If the order's

‘interpretation requires inferences or conclusions about which reasonable persons might



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differ,’ it cannot support a contempt judgment.” In re Janson, 614 S.W.3d 724, 727 (Tex. 2020)

(citations omitted).

       The text of the Protective Order places obligations on the party filing a pleading, all of

which were followed by the Plaintiffs. Plaintiffs included the confidential materials in their

motion to support their legitimate argument that Defendants possessed the resources to

properly prepare their corporate representative. Defendants may be displeased with the

public disclosure of their confidential information, but the fault lays at the feet of their own

counsel, who failed to take the available action under a Protective Order which Defendants

proposed.

                                        CONCLUSION

       Plaintiffs complied with the requirements in paragraph 21 of the Protective Order

when bringing their Motion for Sanctions, and they followed the same procedure they have

always followed when filing confidential materials. These same procedures have been

confirmed with the Court, and they have resulted in the prior public release of materials

designated as confidential with no complaint from the Defendants. Defendants’ Motion has

been brought solely for strategic purposes by counsel who are ill-informed about the history

of this case and the details of the Protective Order. In truth, the Protective Order specifically

provides a mechanism for Defendants to avoid the harm they now claim. Through lack of

diligence, Defendants failed to utilize that mechanism. When the Defendants failed to utilize

that mechanism, the Protective Order required Plaintiffs to file the pleading and exhibits

unsealed with the Clerk, just as they have on every prior occasion. Under these facts, there is




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no basis to find that Plaintiffs violated any terms of the Protective Order, Defendants’ motion

should be denied. 2

                                                Respectfully submitted,

                                                KASTER LYNCH FARRAR & BALL, LLP


                                                ____________________________________
                                                MARK D. BANKSTON
                                                State Bar No. 24071066
                                                WILLIAM R. OGDEN
                                                State Bar No. 24073531
                                                1117 Herkimer
                                                Houston, Texas 77008
                                                713.221.8300 Telephone
                                                713.221.8301 Fax




2
 Defendants make a passing allegation that Plaintiffs “surreptitiously permitted a podcaster to
attend the confidential deposition of Alex Jones.” In truth, the individual in question is consulting
expert Dan Friesen, and his signed acknowledgement of the Protective Order identifying him as a
consulting expert was provided to Defendants’ counsel at the time of the deposition.

Mr. Friesen is chiefly known “for his unparalleled knowledge of Alex Jones.” (See Robert Evans.
“How Coronavirus Disinformation Gets Past Social Media Moderators.” Bellingcat. April 3, 2020.
Available at: https://www.bellingcat.com/news/2020/04/03/how-coronavirus-disinformation-
gets-past-social-media-moderators/). Mr. Friesen is the creator and host of “Knowledge Fight,” a
podcast which critically examines InfoWars and deconstructs their news stories. Mr. Friesen has
been widely recognized in the media for “perform[ing] the invaluable public service of debunking
some of Jones’s wilder theories in a conversational podcast.” (See Tim Adams. “QAnon and on: Why
the fight against extremist conspiracies is far from over.” The Guardian. June 20, 2021. Available at:
https://www.theguardian.com/us-news/2021/jun/20/qanon-conspiracy-theories-pizzagate-
infowars-storm-is-upon-us-mike-rothschild). Mr. Friesen’s encyclopedic knowledge of InfoWars
makes him an invaluable consultant to the Plaintiffs.

In nearly all previous depositions, Plaintiffs’ counsel has been accompanied by a consulting expert,
most frequently Brooke Binkowski, a similar online debunker of InfoWars. Plaintiffs reminded
Defendants of all these facts, yet Defendants still included this false allegation in their Motion.


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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 1, 2022 the forgoing document was served
upon all counsel of record via electronic service.




                                     ____________________________________
                                     MARK D. BANKSTON




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 SCARLETT LEWIS                                   §
                                                  §                   TRAVIS COUNTY, TEXAS
 VS.                                              §
                                                  §                     261st DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                    §
 FREE SPEECH SYSTEMS, LLC, and                    §
 OWEN SHROYER                                     §

                                   D-1-GN-18-001842
 LEONARD POZNER and                               §                    IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                             §
                                                  §                   TRAVIS COUNTY, TEXAS
 VS.                                              §
                                                  §                     345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                    §
 and FREE SPEECH SYSTEMS, LLC                     §


       ORDER ON DEFENDANTS’ MOTION FOR CONTEMPT AND SANCTIONS


       On this day, the Court considered Defendants Motion for Contempt and Sanctions.

After reviewing the pleadings, and considering the arguments of counsel, if any, the Court

finds that the Motion should be in all respects DENIED.


       Dated ___________________________, 2022.



                                                      _____________________________________
                                                      Hon. Maya Guerra Gamble




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 From:            Mark Bankston
 To:              fly63rc@verizon.net; millig@gpm-law.com
 Cc:              Bill Ogden; Yvonne Maund
 Subject:         Fwd: Lewis v Jones, GN-18-6623 - Motion for sanctions
 Date:            Monday, March 25, 2019 3:45:52 PM


 April 3rd at 2pm works for me.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP


 Begin forwarded message:


        From: Elissa Hogan <Elissa.Hogan@traviscountytx.gov>
        Date: March 25, 2019 at 3:37:31 PM CDT
        To: Mark Bankston <mark@fbtrial.com>, "fly63rc@verizon.net"
        <fly63rc@verizon.net>, "robertbarnes@barneslawllp.com"
        <robertbarnes@barneslawllp.com>
        Cc: Melanie Illig <MIllig@gpm-law.com>, Bill Ogden <bill@fbtrial.com>,
        Tiffaney Gould <Tiffaney.Gould@traviscountytx.gov>, Yvonne Maund
        <ymaund@fbtrial.com>
        Subject: Lewis v Jones, GN-18-6623 - Motion for sanctions


        Counsel,
        Judge Jenkins can be available for a hearing on plaintiff’s motion for sanctions on April
        3 at 2 pm or April 4 at 9 am. Please confer and let me know which of those options is
        preferable. Please also let me know when we will receive defendants’ response.
        From: Yvonne Maund [mailto:ymaund@fbtrial.com]
        Sent: Monday, March 25, 2019 12:00 PM
        To: Elissa Hogan
        Cc: Mark Bankston; fly63rc@verizon.net; robertbarnes@barneslawllp.com; Melanie Illig; Bill
        Ogden
        Subject: RE: Cause No. D-1-GN-18-006623
        Ms. Hogan,
        Attached please find a courtesy copy of Plaintiff’s Motion for Sanctions, per your
        request. Thank you for your assistance regarding our request for a hearing on same.
        Should you have any questions, concerns or comments, please feel free to contact at
        the number below.
        Kindest regards,
        Yvonne Maund, Paralegal
        FARRAR & BALL, LLP
        1010 Lamar, Suite 1600
        Houston, TX 77002
        Tel: 713-221-8300
        Fax: 713-221-8301
        ymaund@fbtrial.com
        From: Elissa Hogan <Elissa.Hogan@traviscountytx.gov>
22-01023-tmd Doc#1-16 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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      Sent: Monday, March 25, 2019 10:50 AM
      To: Yvonne Maund <ymaund@fbtrial.com>; Tiffaney Gould
      <Tiffaney.Gould@traviscountytx.gov>
      Cc: fly63rc@verizon.net; robertbarnes@barneslawllp.com; Bill Ogden
      <bill@fbtrial.com>; Mark Bankston <mark@fbtrial.com>
      Subject: RE: Cause No. D-1-GN-18-006623
      Ms. Maund,
      Please provide the Court with a courtesy copy of plaintiff’s motion. I will be back in
      touch regarding your request for a hearing.
      Elissa Hogan
      Staff Attorney for Judge Jenkins
      From: Yvonne Maund [mailto:ymaund@fbtrial.com]
      Sent: Wednesday, March 20, 2019 12:04 PM
      To: Elissa Hogan; Tiffaney Gould
      Cc: fly63rc@verizon.net; robertbarnes@barneslawllp.com; Bill Ogden; Mark Bankston
      Subject: Cause No. D-1-GN-18-006623
      CAUTION: This email is from OUTSIDE Travis County. Links or attachments
      may be dangerous. Click the Phish Alert button above if you think this email is
      malicious.

      Today the Plaintiff has served InfoWars with a copy of her Motion for Sanctions for
      Discovery Abuse. Plaintiff has filed this motion for a variety of reasons, including
      Defendants’ total failure to produce any further documents under the Court’s Orders,
      which forced Plaintiff to take depositions with no meaningful discovery. Defendants
      also failed to produce complete video evidence, failed to prepare their corporate
      representative to give any testimony whatsoever, spoliated evidence, and more.
      The motion cites evidence designated as confidential. Under the terms of the
      protective order, Plaintiff has served this motion, but has not yet filed it pending
      Defendants’ action on a Temporary Sealing Order. Nonetheless, given the urgency of
      the relief requested, the gravity of the allegations made in the motion, and the time
      constraints of the TCPA, Plaintiff would like to request a hearing with the Court as its
      earliest available opportunity to avoid any further expense and effort in a TCPA process
      which has been thoroughly disrupted by discovery abuse.
      Plaintiff would also be happy to provide a courtesy copy of the motion, but was not
      sure if courtesy service on the Court was intended by the Protective Order.
      Kindest regards,
      Yvonne Maund, Paralegal
      FARRAR & BALL, LLP
      1010 Lamar, Suite 1600
      Houston, TX 77002
      Tel: 713-221-8300
      Fax: 713-221-8301
      ymaund@fbtrial.com


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 From:            Mark Bankston
 To:              459 Submission; Keri Ward
 Cc:              Bradley Reeves; Bill Ogden
 Subject:         Request for Hearing on Motions in Alex Jones / Sandy Hook / Parkland Cases
 Date:            Wednesday, December 15, 2021 1:00:00 PM
 Attachments:     2021-12-15 Pltfs Mt for Sanctions Regarding Corp Deposition.pdf
                  2021-12-15 Proposed Order on Pltfs Mt for Sanctions Regarding Corp Deposition.docx
                  2021-12-15 Fontaine Motion to Compel.pdf
                  2021-12-15 Proposed Order on Fontaine Motion to Compel.docx


 After conferring with Defendants’ counsel, I am writing to request potential dates for a hearing on
 two discovery motions.

 1. Heslin/Lewis/Pozner Motions for Sanctions Regarding Corporate Deposition

         Today, the Sandy Hook plaintiffs have brought a motion alleging the failure to prepare a
         corporate representative for the company’s December 3rd deposition on compensatory and
         punitive damages issues. Plaintiffs’ brief contains materials designated by Defendants as
         confidential. Therefore, Plaintiffs are serving the Court but not filing this brief with the Clerk
         pursuant to the Protective Order.

 2. Fontaine Motion to Compel and Motion for Sanctions

         Today, Mr. Fontaine filed a motion alleging Defendants are again resisting his requests for
         production. Two weeks ago, Mr. Reeves informed Plaintiff’s counsel that he has taken over
         representation after withdrawal of prior counsel, so this matter can be set for the same
         hearing.

 Courtesy copies of both motions are attached, and paper copies will be mailed to the court today. I
 have attached Word copies of the proposed orders for the convenience of the court staff.

 The parties have conferred about a hearing, and they agree they will need no more than two hours
 total for both sides to argue these motions. Due to the gravity and nature of the relief sought in
 these motions as it relates to imminent discovery in February, Plaintiffs ask the Court to
 accommodate a hearing before the end of January.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP
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 From:            Mark Bankston
 To:              Bradley Reeves
 Subject:         RE: Motion filings
 Date:            Monday, December 27, 2021 3:59:00 PM


 We’ll supplement with final copies of the deposition transcripts prior to the hearing next month, and
 as far as confidentiality, the motion was filed with the clerk unsealed today pursuant to Paragraph 21
 of the Protective Order.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP


 From: Bradley Reeves <brad@brtx.law>
 Sent: Monday, December 27, 2021 3:32 PM
 To: Mark Bankston <mark@fbtrial.com>
 Subject: Motion filings

 Mark:

 I am unclear as to why you have filed the transcripts of depositions that are not certified or anything
 I’m clear violation of our protective order. Can you please explain?

 Best regards,

 Brad Reeves

 Reeves Law, PLLC
 702 Rio Grande St., Suite 203
 Austin, TX 78701
 T: (512) 827-2246
 F: (512) 318-2484
 E: brad@brtx.law
 https://link.edgepilot.com/s/b9a76e7e/Thx1MVH6CUeiRObepmtzOA?u=http://www.brtx.law/
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 From:            Mark Bankston
 To:              Bradley Reeves
 Cc:              Bill Ogden
 Subject:         RE: Heslin/Lewis/Pozner/De La Rosa - Conference on Motion for Sanctions
 Date:            Thursday, December 30, 2021 3:14:00 PM
 Attachments:     image001.jpg


 So I’m pretty confused by your email. As you know Dan is our consulting expert, and we’ve long had
 an agreement in these cases since 2019 to be able to bring an expert to depositions. In nearly every
 prior deposition in these cases, we’ve had either our retained expert Fred Zipp or more frequently
 our consulting expert Brooke Binkowski in the deposition. And I do not understand your email
 because I did announce Dan’s presence and made sure his name appears on the record of those
 present, and I provided you a copy of his protective order acknowledgement in the documents I
 gave you at Ms. Karpova’s deposition. I certainly felt like you understood he was there as my
 consultant. I even jokingly teased Dan at one point by saying “What do you know, you’re only the
 expert,” which you chuckled at (though I’m guessing now only out of politeness). This feels like
 maybe it’s really coming from Mr. Randazza, who was only there for the final deposition? In any
 case, I’m not sure what the basis for your motion would be. Maybe I’m not understanding how you
 contend you were harmed?

 Regarding the unsealed motion we filed, I need you to explain how our filing an unsealed pleading
 pursuant to paragraph 21 breaches the Protective Order. You did not respond to my email earlier
 this week, so my assumption is that you recognized that it was consistent with the order.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP



 From: Bradley Reeves <brad@brtx.law>
 Sent: Wednesday, December 29, 2021 4:44 PM
 To: Mark Bankston <mark@fbtrial.com>
 Subject: Heslin/Lewis/Pozner/De La Rosa - Conference on Motion for Sanctions

 Mark:

 I am preparing to file a motion for sanctions due to you having Dan Friesen at the prior
 depositions without announcing him or otherwise indicating he was not someone from your
 office, in addition to you breaching the protective order by filing the uncertified transcript of the
 corporate rep deposition.

 My clients will be seeking monetary sanctions as a result in excess of $50K, but I obviously need
 to confer with you prior to filing such a motion.

 Please let me know by COB tomorrow if possible. Thank you.

 Best regards,

 Brad Reeves
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 From:            Bradley Reeves
 To:              Mark Bankston
 Subject:         RE: Protective Order
 Date:            Monday, January 10, 2022 5:22:38 PM


 Mark:
 It is our position that you have breached the protective order in filing the deposition transcripts
 and exhibits to the deposition without allowing the requisite period of time under the order to
 designate confidential materials.
 In addition, when you submitted the original filing, you provided it to the Court instead of just
 the parties, which violates the protective order in and of itself, and overall your filings of
 confidential private AEO materials, particularly the net worth documentation, violates the
 protective order and the spirit of the designations themselves.
 Seeing as you will certainly not agree to withdraw these filings and that the damage has been done,
 we will be moving for severe sanctions, including dismissal of the claims. This shall serve as the
 requisite certificate of conference prior to the filing of such motions.
 Thank you for your attention to this.


 Best regards,

 Brad Reeves


 From: Mark Bankston <mark@fbtrial.com>
 Sent: Monday, January 10, 2022 4:01 PM
 To: Bradley Reeves <brad@brtx.law>
 Subject: Protective Order

 Since you have now publicly accused me in a pleading of violating the Court’s protective order, I am
 once again asking you to specify exactly how you contend our filing on December 27th violated the
 order. I have asked this question multiple times, and you have refused to respond.

 Mark Bankston
 Kaster Lynch Farrar & Ball, LLP
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